    Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 1 of 116




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DAMON ATKINS,
                 Plaintiff,              C.A. No. 5:23-CV-02732-JMG

                v.

CITY OF READING, et al.,
                Defendants.

 PLAINTIFF’S APPENDIX ON MOTION FOR PARTIAL SUMMARY JUDGMENT




                                 CORNERSTONE LAW FIRM, LLC

                                 Joel A. Ready, Esquire
                                 PA Attorney I.D. # 321966
                                 8500 Allentown Pike, Suite 3
                                 Blandon, PA 19510
                                 (610) 926-7875




                                    1
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 2 of 116




 MP4 Video File, Bates No. Atkins 000055
   (approx. 43.0 MB) submitted to Judge
Gallagher’s Chambers via Thumb Drive and
               DropBox Link




                                               Plaintiff's App. 001
     Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 3 of 116



                                                                       Page 1

 1                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2
 3         DAMON ATKINS,                           : Civil No.
           Plaintiff                               : 5:23-cv-02732-JMG
 4                                                 :
 5                       vs.                       :
 6                                                 :
 7         CITY OF READING, EDDIE                  :
 8         MORAN, RICHARD TORNIELLI,               :
 9         BRADLEY T. MCCLURE, and                 :
10         COURTNEY DUPREE,                        :
11         Defendants                              :
12
13                                           - - -
14
15                               Friday, March 22, 2024
16
17                                           - - -
18
19
20                       Deposition of DAMON ATKINS taken in the
21            Law Offices of Cornerstone Law Firm, LLC, 8500
22            Allentown Pike, Suite 3, Blandon, Pennsylvania,
23            on the above date, commencing at 12:32 p.m.
24            before Lauren A. Buchak, Registered Merit
25            Reporter and Certified Realtime Reporter.

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                                                        Plaintiff's App. 002
     Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 4 of 116


                                                          Page 2                                                 Page 4
 1       APPEARANCES:                                               1         DEPOSITION SUPPORT INDEX
 2          CORNERSTONE LAW FIRM, LLC                               2 Directions to Witness Not to Answer
            By: JOEL A. READY, ESQUIRE                              3 PAGE          LINE
 3          8500 Allentown Pike, Suite 3                            4
            Blandon, PA 19510                                       5
 4          610-926-7875                                              Request for Production of Documents
            joel@cornerstonelaw.us
                                                                    6
 5          -- For the Plaintiff
                                                                      PAGE          LINE
 6          MacMAIN LEINHAUSER, P.C.
            By: BRIAN C. CONLEY, ESQUIRE                            7
 7          433 West Market Street, Suite 200                       8
            West Chester, PA 19382                                  9 Stipulations
 8          484-318-7106                                           10 PAGE          LINE
            bconley@macmainlaw.com                                 11
 9          -- For the Defendants                                  12
10                                                                    Questions Marked
11                                                                 13
12                                                                    PAGE          LINE
13                                                                 14
14                                                                 15
15                                                                 16
16                                                                 17
17
                                                                   18
18
                                                                   19
19
20                                                                 20
21                                                                 21
22       ALSO PRESENT                                              22
23                                                                 23
24                                                                 24
25               Bradley McClure                                   25
                                                          Page 3                                                 Page 5
 1              INDEX TO WITNESSES                                  1            DAMON ATKINS, after having been
 2
     WITNESS                       PAGE                             2       affirmed, was examined and testified as
 3                                                                  3       follows:
     DAMON ATKINS
 4                                                                  4                 ***
      By Mr. Conley                5, 194                           5              EXAMINATION
 5
      By Mr. Ready                 178                              6 BY MR. CONLEY:
 6                                                                  7       Q. Mr. Atkins, my name is Brian
 7
 8                                                                  8 Conley. I am counsel for the defendants in this
                INDEX TO EXHIBITS                                   9 lawsuit that you filed. I am here to take your
 9
10                          PAGE                                   10 deposition today. I'm going to go into some
     EXHIBIT         DESCRIPTION                 MARKED            11 instructions, but before I do that, I want to ask
11
     Atkins-1      Complaint                25                     12 if you've ever had your deposition taken before
12                                                                 13 in any circumstance?
     Atkins-2      Police Criminal Complaint      90
13                                                                 14       A. No.
     Atkins-3      Article Bates Stamp                             15       Q. So I've got some instructions for
14              Atkins000007 and
                Atkins000008           97
                                                                   16 you about how this is going to be conducted and
15                                                                 17 what to expect. As you can see, we have a court
     Atkins-4       Plaintiff's Responses to
16              Defendants' First Set of
                                                                   18 reporter here to my right, your left. She is
                Interrogatories          144                       19 taking down everything that you and I say and
17
18
                                                                   20 what your counsel may say. Her job is a
19                                                                 21 difficult one, so to make it easier and to make
20
21
                                                                   22 the transcript clearer, I ask a couple things.
22                                                                 23            First, I'm going to ask you some
23
24
                                                                   24 questions, and you'll be giving me answers. It's
25                                                                 25 normal conversation for you to either anticipate
                                                                                                       2 (Pages 2 - 5)
                                               Veritext Legal Solutions Plaintiff's App. 003
                             215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 5 of 116


                                               Page 6                                                    Page 8
 1 what I'm going to say or maybe you know what the      1 welcome to do that at any time.
 2 question is going to be already and to kind of        2       A. All right.
 3 jump in.                                              3       Q. Are you on any substances or
 4            Normal conversation in a                   4 using any alcohol or any medications that would
 5 deposition is kind of tough. It doesn't come          5 prevent you from testifying truthfully today?
 6 across well in the transcript. So I'm going to        6       A. No, sir.
 7 ask you to let me finish my question and then         7       Q. Okay. Is there any reason that
 8 provide your answer. Your counsel also may            8 you wouldn't be able to understand and respond to
 9 object. If he does so, you know, a little bit of      9 my questions?
10 a gap helps him to do that so we're not all          10       A. No, sir.
11 talking over each other.                             11       Q. Okay. Just some background
12            I ask that you listen to the              12 stuff. Let's start with your full legal name.
13 question that I ask and answer that question.        13       A. Damon Frederick Atkins.
14 Your answers have to be verbal. Nods of the          14       Q. And any other names that you go
15 head, shoulder shrugs, uh-huh, nuh-uh, things        15 by?
16 like that, they don't come across clearly on the     16       A. Well, when I was in a foster home
17 transcript. Okay?                                    17 I applied for a credit card in the name of my
18       A. Okay.                                       18 foster family which is Lafferty.
19       Q. I ask that if at any point you              19       Q. Lafferty?
20 can't hear me or, like, I normally don't speak       20       A. Yeah.
21 softly, but if you can't hear me or you don't        21       Q. Do you go by Lafferty?
22 understand my question, please just let me know.     22       A. No. I never used it since. It
23       A. Yes.                                        23 was just that name, and my brother used my name
24       Q. And I can clarify it or speak               24 before, so I have his name attached to mine with
25 louder. I'm not asking for guesses from you. I       25 my name.
                                               Page 7                                                    Page 9
 1 want to know what you know. So if you don't know   1       Q. So your brother used your name --
 2 something, I don't know is a perfectly acceptable  2       A. When he got in trouble.
 3 answer. It's okay to estimate. For example, if     3       Q. Okay. So he told the wrong
 4 you have to estimate the length of this table,     4 name --
 5 that's fine. You can do so. Please just be         5       A. Yes.
 6 clear that it's an estimate. That way it comes     6       Q. -- to authorities or something
 7 across better on the transcript. Okay?             7 like that?
 8       A. Yes.                                      8       A. Yes.
 9       Q. All right. If you need to take a          9       Q. Okay. And just to remind you,
10 break at any point, you're welcome to do that.    10 let me finish my question before you answer.
11 Just let me know, and that's fine. The one        11 You're jumping just a little bit.
12 caveat to that is that if I have asked you a      12       A. All right.
13 question and that question is pending, i.e., it   13            MR. READY: Damon, the reason we
14 hasn't been answered --                           14       got to do that is she has to write
15       A. Yes.                                     15       down --
16       Q. -- just answer that question             16            THE WITNESS: I understand.
17 first and then we can take a break. All right?    17            MR. READY: So just anybody
18       A. Okay.                                    18       talking, let them finish.
19       Q. If at any point you need to go           19            THE WITNESS: This is awkward, so
20 back and correct your testimony or you feel that  20       it might take me a little bit to --
21 you need to add something, please just let me     21 BY MR. CONLEY:
22 know, and I'm happy to do that for you. I say     22       Q. I understand. It's your first
23 that I'll try to give you an opportunity to do    23 deposition. I completely understand that. If
24 that after we take breaks, but I'm not the best   24 you need to take a break and kind of recenter
25 at doing that. I'll try, but you're more than     25 yourself, perfectly acceptable. Also, you don't
                                                                                              3 (Pages 6 - 9)
                                   Veritext Legal Solutions Plaintiff's App. 004
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 6 of 116


                                                Page 10                                                  Page 12
 1 have to answer my question immediately. You             1 in your lifetime?
 2 can -- if you want to take a couple beats --            2       A. Well, I broke my neck at work,
 3       A. Okay.                                          3 and we settled, but yeah. Yeah. That's filing,
 4       Q. -- that's fine. It's not a race,               4 right? Yeah.
 5 and it's not going to come across any different         5       Q. Was it a workers' compensation
 6 on the transcript.                                      6 claim?
 7            Okay. So you don't go by any                 7       A. Yeah.
 8 other names actively?                                   8       Q. I'm sorry to hear that.
 9       A. No.                                            9       A. That's okay.
10       Q. What's your current address?                  10       Q. Are you recovered?
11       A. 128 North 4th Street, Reading, PA             11       A. Yeah. I still have neck problems
12 19601.                                                 12 and sometimes my back, but the doctors said I
13       Q. How long have you resided there?              13 should have came to him in a wheelchair, so I'm
14       A. I have a healthy fear of not                  14 doing fine compared to that.
15 telling the truth, so I want to say four years,        15       Q. When was that, the injury?
16 maybe.                                                 16       A. I'm not -- it was a while ago.
17       Q. Okay. I understand that, and I                17 '18, I want to say.
18 don't want you to guess, so it's okay to               18       Q. Okay. And how old are you today?
19 estimate.                                              19       A. I'm 42 years old.
20       A. I've been there for a few years.              20       Q. What's your birthday?
21       Q. Okay. That's fine. Do you live                21       A. 8/8/81.
22 with anybody at that address?                          22       Q. Easy to remember. Okay. Other
23       A. Yes.                                          23 than that workers' compensation issue, any other
24       Q. Who is that?                                  24 lawsuits that you have been involved in either as
25       A. My friend Sara.                               25 a plaintiff, the person filing the lawsuit, or as
                                                Page 11                                                  Page 13
 1       Q. What's Sara's name?                            1 a defendant?
 2       A. Sara McCleery.                                 2       A. No, sir.
 3       Q. Can you spell that?                            3       Q. Are you working currently?
 4       A. M-C-C-L-E-E-R-Y.                               4       A. Yes, sir.
 5       Q. Thank you.                                     5       Q. Where do you work?
 6       A. I'm not a hundred percent sure.                6       A. McDonald's.
 7 I think that's how you spell it.                        7       Q. And what's your position there?
 8       Q. Okay. Are you in a romantic                    8       A. Maintenance.
 9 relationship with her?                                  9       Q. How long have you been at
10       A. No.                                           10 McDonald's?
11       Q. Have you been married at any                  11       A. I just started.
12 point?                                                 12       Q. Like, in the past week? Past
13       A. No.                                           13 month?
14       Q. Do you have any children?                     14       A. The past week. Yeah. I've been
15       A. No.                                           15 four days, I believe.
16       Q. How long have you lived with Ms.              16       Q. Were you working at the time of
17 McCleery at that address?                              17 the incident on June 3rd, 2023?
18       A. The entire time.                              18       A. No, sir.
19       Q. Okay. We're here to discuss an                19       Q. Starting -- let's just start with
20 event -- well, we're here to discuss your lawsuit      20 2020, January 1, 2020. Can you walk me through
21 which concerns an event on June 3rd, 2023. Were        21 chronologically your employment since that time?
22 you living at that 128 North 4th Street address        22       A. I don't remember. I can give you
23 at that time?                                          23 my last three jobs. So McDonald's is present
24       A. Yes, sir.                                     24 one. Before that I worked at Walmart. Before
25       Q. Have you filed any other lawsuits             25 that I worked at Reading Steel.

                                                                                            4 (Pages 10 - 13)
                                    Veritext Legal Solutions Plaintiff's App. 005
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 7 of 116


                                              Page 14                                              Page 16
 1      Q. Do you know the time frames when          1       Q. More than a month?
 2 you worked at Walmart or Reading Steel and/or     2       A. Not a month. Kind of like in the
 3 Reading Steel?                                    3 middle.
 4      A. No, sir. Walmart was, I think,            4       Q. Okay.
 5 November and December of this year, and the       5       A. So more than a week but not quite
 6 Reading Steel place, I'm not sure.                6 a month.
 7      Q. When you say November and                 7       Q. Okay.
 8 December of this year, I assume you mean November 8       A. It seemed like forever, so that's
 9 and December of 2023?                             9 why I'm not sure exactly.
10      A. Yeah. I'm sorry.                         10       Q. Understood. About what time
11      Q. Aside from the incident on June          11 frame was that second arrest where you spent some
12 3, 2023, have you ever been arrested?            12 time in jail?
13      A. Yes.                                     13       A. 2004. The first arrest was '98,
14      Q. Okay. What other times have you          14 '99, I want to say.
15 been arrested?                                   15       Q. Okay. And between 2004 and 2023,
16      A. I was in a foster home. I was            16 no other arrests?
17 young. I got arrested for simple possession of   17       A. Uh-uh.
18 marijuana.                                       18       Q. Any other arrests since June 3,
19      Q. Was that in Pennsylvania?                19 2023?
20      A. Yes.                                     20       A. No, sir.
21      Q. Whereabouts in Pennsylvania?             21       Q. I don't want to put words in your
22      A. I don't know exactly, but my             22 mouth, so what would you call your activities
23 foster home was in Norwood, PA, so it was around 23 outside the Reading City Hall on June 3, 2023?
24 there. Delaware County.                          24       A. Evangelizing.
25      Q. Other than the simple possession,        25       Q. Evangelizing. Okay. Have you
                                              Page 15                                              Page 17
 1 and you said that that was when you were in a    1 ever used the term "street preaching"?
 2 foster home, any other criminal -- any other     2       A. What do you mean? Like, do I
 3 arrests aside from the June 3rd, 2023 incident?  3 call myself a street preacher?
 4       A. Yeah. There was one other time I        4       Q. Either call yourself a street
 5 was at a house party, and the neighbor called    5 preacher or say that you have been street
 6 'cause she smelled marijuana, and I was arrested 6 preaching?
 7 that time, but they gave me time served. I was   7       A. Well, yeah. I mean, in a sense
 8 in jail for, like, a couple days and then they   8 that's what you are doing. You're street
 9 let me go.                                       9 preaching, evangelizing, spreading the gospel.
10       Q. You were in jail from the              10       Q. Can you use those terms
11 original arrest from that incident?             11 interchangeably?
12       A. No. From the house party I was         12       A. Well, yeah. They all go
13 at. It got dropped to a disorderly conduct, the 13 together, I believe, for me.
14 first arrest. I was a young kid. I was just,    14       Q. Okay. I don't want to, again,
15 you know, doing things I shouldn't have been    15 put words in your mouth, but if you're
16 doing. The first time I was inside a car, that  16 evangelizing and you're inside a building, I
17 got dropped, I believe. And then the second     17 guess it's not technically street preaching.
18 time, the neighbor called the cops on us, and I 18 Would that be fair?
19 went to jail for that one.                      19       A. Yes, sir.
20       Q. About how long were you in jail?       20       Q. Okay. But if it's outside on the
21       A. I don't want to misspeak, so it        21 street on a public roadway or something like
22 was a little bit. I got time served when I got  22 that, you would consider that street preaching?
23 to the judge.                                   23       A. Yeah. Any time you're lifting,
24       Q. Was it more than a week?               24 raising your voice up, that would be street
25       A. I would say yeah.                      25 preaching to me.
                                                                                       5 (Pages 14 - 17)
                                   Veritext Legal Solutions Plaintiff's App. 006
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 8 of 116


                                               Page 18                                                   Page 20
 1       Q. How long have you been doing                  1        Q. When did you become a follower of
 2 that, the evangelizing?                                2 Jesus Christ?
 3       A. Well, evangelizing I've been                  3        A. My whole life, really, I felt his
 4 doing for probably three years, I would say.           4 presence, but I didn't really know. When I
 5 That's telling people about Lord Jesus Christ.         5 really became a follower is when I opened up the
 6 Street preaching, probably about two years, I          6 Bible and began to read because I would do verses
 7 believe.                                               7 of the day and little videos here and there, but
 8       Q. All right. I'm going to jump                  8 I did not expect what happened when I opened up
 9 back just a little bit. Please excuse me with          9 the Bible and read it.
10 the cough. I'm getting over some bronchitis, so       10        Q. When did that happen?
11 I want to ask you about your education. What's        11        A. It was about two and a half,
12 the highest level of education you have?              12 three years ago. Maybe even less than that.
13       A. I left school at 11th grade.                 13        Q. So earlier you told me that you
14       Q. What school was that?                        14 had been evangelizing for about three years?
15       A. Interboro High School.                       15        A. Yeah.
16       Q. Is that in Norwood?                          16        Q. Is that about the time that you
17       A. Norwood, PA. Yes.                            17 started becoming really a follower of Jesus
18       Q. In your complaint you allege that            18 Christ?
19 you have sincerely held religious beliefs. Can        19        A. Well, when I broke my neck and
20 you describe to me your religious affiliation?        20 the doctor told me I should be in a wheelchair,
21       A. To Jesus Christ.                             21 it felt like I landed on a pillow, so that's what
22       Q. However you want to describe it.             22 started it. Something was there, I felt, because
23       A. I have a relationship with Jesus             23 there's just -- how does that happen? It
24 Christ of Nazareth, and he's changed my life.         24 literally felt like I landed on a mattress. I
25       Q. Are you a member of any church or            25 had blood coming down off of me, and they were
                                               Page 19                                                   Page 21
 1 congregation?                                          1 like, yo, what's wrong with you?
 2      A. I attend church, but I'm not                   2           And at first I just shook it off
 3 really a member.                                       3 because I never had a work injury nor did I want
 4      Q. Okay. Of what church do you                    4 to get hurt at work. That wasn't my intent. I
 5 attend?                                                5 didn't want to lose the job, so I didn't want to
 6      A. I just found, I think it's St.                 6 say anything, but there was blood all over me, so
 7 James Church because I try to keep the Sabbath,        7 I had to say something.
 8 which is Friday sundown to Saturday sundown, so I      8           Then they took me to urgent care,
 9 always like to find a church to go to on the           9 and that's when I found out I broke my vertebrae,
10 Sabbath, so I just found one. It's St. James in       10 but I knew when I left that building that
11 Reading.                                              11 something helped me and then I began to look into
12      Q. And you said you keep a Sabbath               12 what it was.
13 of Friday sundown to Saturday sundown?                13       Q. So is it fair to say that that
14      A. Yes, sir.                                     14 neck injury was kind of an impetus for your
15      Q. My understanding is that would be             15 beliefs?
16 an Old Testament of the Bible Sabbath?                16       A. It started it. Yep.
17      A. Yes, sir. And New Testament,                  17       Q. I'm going to go back and come
18 too.                                                  18 back forward. You were in foster care. How long
19      Q. I think from what you told me I               19 were you in foster care?
20 know the answer to this question, but I'm going       20       A. I was put in foster home when I
21 to ask you, do you consider yourself a member of      21 was 12.
22 any denomination of Christianity?                     22       Q. What happened that placed you in
23      A. No.                                           23 foster care?
24      Q. Okay.                                         24       A. My mom. She wasn't really -- she
25      A. Just a follower of Jesus Christ.              25 was trying, but she wasn't really doing what she

                                                                                            6 (Pages 18 - 21)
                                   Veritext Legal Solutions Plaintiff's App. 007
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 9 of 116


                                                 Page 22                                                   Page 24
 1 needed to do, I guess. She was struggling with           1 address.
 2 drugs. I think one year in fourth grade I went,          2       A. Yeah. All right. If I knew it,
 3 like, three days, so they came to my house to            3 I would tell you. I don't have a problem. My
 4 find out why and then it just spiraled out of            4 main concern now when I talk to them is I want to
 5 control from there.                                      5 read the Bible, so I'm not really -- you know, I
 6       Q. Do you need a break?                            6 just try and help them.
 7       A. No.                                             7       Q. Have any of your sisters agreed
 8       Q. I understand these are sensitive                8 with you and read the Bible with you?
 9 questions.                                               9       A. Oh, yeah. Yeah.
10       A. I just haven't thought about that              10       Q. All three of them?
11 in a while. She tried, though.                          11       A. I just read the Bible with my
12       Q. Was it because your mother                     12 sister last night. My oldest sister, I'm trying
13 couldn't care for you or did something happen to        13 to get my other sister to bring her a Bible
14 her? Did she pass away?                                 14 today, so yeah. They agree with me. The
15       A. She did pass after I was put in a              15 one -- two of them do. One of them feels like,
16 foster home, but that wasn't the reason. I felt         16 you know, she's not ready yet. So I just kind of
17 the reason was because she was just so                  17 give her her space and let her know I'm there.
18 overwhelmed. I have six brothers and sisters,           18       Q. You filed a lawsuit against my
19 and she was trying, but she had her first kid at        19 clients, the City of Reading, Mayor Eddie Moran,
20 16, so, you know, I just feel she was                   20 Sergeant McClure over here to my left, Courtney
21 overwhelmed. That, and she loved us.                    21 Dupree and Richard Tornielli. Do you recall
22       Q. And your father, did you have a                22 filing that lawsuit?
23 relationship with him? Was he involved?                 23       A. Yeah. I contacted a lawyer.
24       A. No. I seen him once or twice.                  24 Yeah.
25 He came to my foster home one time and passed out       25       Q. Okay. I don't want to know what
                                                 Page 23                                                   Page 25
 1 in my driveway. That was pretty embarrassing,            1 you discussed with your lawyer. I'm just asking
 2 but I never really met him.                              2 if -- I guess I should clarify that question.
 3       Q. Did he have a drug problem?                     3            To start the lawsuit we received
 4       A. He had an alcohol and a drug                    4 something that's called a complaint. Do you
 5 problem. Yeah. One time when he called me, he            5 recall drafting or crafting that complaint with
 6 called me Damian. That kind of hurt because              6 the assistance of an attorney?
 7 that's not even my name, so that just lets you           7        A. Yes. Yes, sir.
 8 know.                                                    8        Q. Thank you. Did you review that
 9       Q. I'm sure.                                       9 complaint before it was submitted?
10       A. Again, I believe he tried. It's                10        A. Unless I got an email that I'm
11 just he was from that, like, generation of using        11 not aware of, I want to say no, sir.
12 drugs. I wish he would have met Jesus Christ.           12        Q. Okay. I'm going to show you a
13       Q. Your six brothers and sisters, do              13 document then.
14 they live around the area? Do you have                  14            MR. CONLEY: Can I have this
15 relationships with them?                                15        marked as Atkins-1?
16       A. I only speak to two, three                     16            (A document was marked for
17 sometimes of my sisters. My two brothers, I             17        identification as Atkins Exhibit No. 1.)
18 don't know where they're at. I plan on -- I'm           18 BY MR. CONLEY:
19 trying to pursue them. And my three sisters I           19        Q. Mr. Atkins, I have provided you a
20 try to talk to daily because I want them to Bible       20 document that I've marked as Atkins-1 in this
21 study with me, so I -- and they live in -- I            21 deposition. It's a copy -- or I'm representing
22 don't want to misspeak. I'm not even sure.              22 to you it's a copy of the complaint that you
23       Q. Are they in Pennsylvania?                      23 filed that initiated this lawsuit. Have you had
24       A. Yeah.                                          24 a chance to look through that?
25       Q. I'm not going to ask for their                 25        A. Yeah. I mean, do you want me to
                                                                                              7 (Pages 22 - 25)
                                    Veritext Legal Solutions Plaintiff's App. 008
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 10 of 116


                                               Page 26                                                  Page 28
 1 read the whole thing?                                  1       Q. Okay. Does this paragraph
 2       Q. I don't need you to read the                  2 accurately reflect your beliefs, your religious
 3 whole thing. Do you recognize that document?           3 beliefs?
 4       A. I don't remember seeing this, but             4       A. Yes, but it's all sin.
 5 I would refer to my lawyer.                            5       Q. What's all sin?
 6       Q. Well, respectfully your lawyer                6       A. All sin is offensive to God.
 7 can't answer the question. It's your answers to        7       Q. Okay.
 8 the question. If you would like to read through        8       A. Not just sexual because I feel
 9 the whole thing, I can certainly give you that         9 like that kind of puts some people in a corner
10 leeway. I just didn't want to take the time, but      10 when you just -- you know, it's all sin.
11 if you would like to read the whole thing before      11       Q. All right. So you agree with me
12 answering that question, you're more than welcome     12 that where it says -- let's start with the first
13 to do so.                                             13 phrase after the first semicolon. It reads that
14       A. Yeah. So the question is, am I               14 the practice and promotion of homosexuality is
15 aware of this?                                        15 sinful and highly offensive to God. Do you agree
16       Q. My question is: Do you recognize             16 with that statement?
17 it?                                                   17       A. Yeah, but it's all sexual conduct
18       A. Yes.                                         18 in general. It's not just specifically
19       Q. Okay.                                        19 homosexuality.
20       A. Yes, sir.                                    20       Q. Okay.
21       Q. And the second part of that                  21       A. If you're not married to a woman,
22 question is: Does this accurately reflect -- let      22 it's highly offensive to God.
23 me strike that.                                       23       Q. So this paragraph might reflect
24           Is this a copy of the -- have you           24 your beliefs, but it's not the complete
25 seen a copy of this document before today?            25 reflection of your beliefs. Is that fair?
                                               Page 27                                                  Page 29
 1       A. No, sir.                                      1       A. Yes, sir.
 2       Q. So how do you recognize it?                   2       Q. Okay. But you do believe that
 3       A. I recognize from the police                   3 the practice and promotion of homosexuality is
 4 report.                                                4 sinful and highly offensive to God, correct?
 5       Q. What police report? What are you              5       A. Yes, sir.
 6 referring to?                                          6       Q. Okay. And the next phrase that
 7       A. The police report that when I was             7 all persons are created in God's image, but as
 8 reading this looks like it explains what               8 binary, quote, male and female he created them,
 9 happened.                                              9 end quote. Is that an accurate reflection of
10       Q. Okay. I'm not asking about the               10 your beliefs?
11 police report. I'm asking if you recognize this       11       A. Yes, sir.
12 document that I've presented in front of you?         12       Q. And the final phrase there after
13       A. No, sir.                                     13 the last semicolon, that all sexual conduct
14       Q. Okay. I'll represent to you that             14 outside of a monogamous marriage between one man
15 this is the complaint that you filed in this          15 and one woman is sin. Do you believe that?
16 matter. I'm going to direct your attention to         16       A. Yes, sir.
17 paragraph 20. It's on page 3 of 13.                   17       Q. Okay. And the next paragraph,
18       A. Okay.                                        18 paragraph 21, I'm going to quote it here for you.
19       Q. Can you read that paragraph 20 to            19 Quote: Atkins believes that those who commit sin
20 yourself, please?                                     20 should be warned of the dangers of sin which
21       A. This I remember. I remember                  21 Atkins believes he learned, quote, the hard way,
22 reading this somewhere, so I just -- it was like      22 end quote, through life experience rather than
23 a whirlwind after this happened, so I remember        23 through teaching and where the ultimate
24 reading this which maybe I got in an email, but       24 punishment for unrepented sin is eternal
25 okay, after reading it.                               25 punishment in the afterlife, period, end quote.

                                                                                            8 (Pages 26 - 29)
                                   Veritext Legal Solutions Plaintiff's App. 009
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 11 of 116


                                                Page 30                                                   Page 32
 1           Is that an accurate reading of                1 my path might not have been taught the way
 2 paragraph 21?                                           2 someone else's path is going to be taught, but
 3       A. Yes, sir. I also feel that you                 3 that only comes from reading.
 4 can be born again so then that helps with the           4       Q. So somebody's personal
 5 sin.                                                    5 relationship with God and understanding of
 6       Q. Can you explain to me what born                6 religious beliefs may be different than yours?
 7 again means to you?                                     7       A. Well, I can't -- I can just say
 8       A. It means you have a change of                  8 my relationship. I don't try to push it on
 9 heart, and you don't know how that happened, and        9 someone. My main thing is to try to get people
10 the Bible calls it a circumcision of your heart,       10 to read the Bible. That's one of the signs I
11 and your desires, the things you used to want to       11 hold when I street preach. It says please read
12 do, leave you, and they just go away.                  12 the Bible, because I know if you do read the
13           Like, for example, I was addicted            13 Bible, then you're going to go on your walk with
14 to marijuana, and I just stopped. Nobody forced        14 God.
15 me. I didn't go to rehab. I didn't take                15       Q. And if somebody reads the Bible
16 anything for it. I just stopped, and that's why        16 and has a different interpretation than your
17 I want to help people and tell them that there is      17 interpretation of the Bible, would that be okay
18 a way, that you can stop sinning because you           18 with you?
19 won't want these desires.                              19       A. Yeah.
20       Q. How did you come to hold these                20       Q. Okay. So if they read the Bible
21 religious views?                                       21 and they were to say, well, I read the Bible, and
22       A. By experience. I'm blown away.                22 I don't think that, quote, the practice and
23 I never expected this to happen to me, and it          23 promotion of homosexuality is sinful, end quote,
24 happened when I started reading the Bible. I           24 would that be okay with you?
25 used to do my verse of the day, and I would watch      25       A. I would like to talk about it.
                                                Page 31                                                   Page 33
 1 some videos. I would go to church. I was around         1       Q. Why is that?
 2 it only till I opened the Bible. I am a                 2       A. Well, because I would like to see
 3 different person. All I know is that I was one          3 where they saw that and where they came from,
 4 way. Then I met Jesus Christ of Nazareth, and           4 like, where they're coming from and then I would
 5 now I'm a completely different way.                     5 like to show them. Like, it's not a pushing or
 6        Q. So the beliefs that you hold, and             6 an aggressive because I look at -- when I see
 7 you indicated to me that you're not a member of a       7 people, I try to see Jesus Christ of Nazareth.
 8 congregation or you don't identify with any sect        8 So everyone I speak to and I encounter, I try to
 9 of Christianity. Would it be fair to say that           9 have that approach, and I'm open to sitting down
10 your beliefs, your religious beliefs are your own      10 and going back and forth. I can't force you to
11 interpretations of the Bible and your personal         11 see it one way, but I can ask if you want to sit
12 experiences?                                           12 down and Bible study.
13        A. Well, it's not my interpretation.            13       Q. If somebody sees it a different
14 It's just -- it's just what it says. Like, I           14 way than you, are they wrong?
15 don't -- I don't interpret it. I just read what        15       A. Well, according to the Bible and
16 the Bible says and then what comes after that is       16 what it says, it depends on how they feel about
17 change.                                                17 it. If they don't see the way I do, it's
18        Q. So is it your belief that there's            18 not -- I can't force them to see it. The best I
19 only one way to interpret the Bible?                   19 can do is evangelize, talk to them, ask if they
20        A. No, sir.                                     20 want to sit and read the Bible together.
21        Q. Okay. So if there are different              21       Q. Okay. Fair enough. Are there
22 ways, can different people interpret it                22 any specific passages in the Bible that condemn
23 differently?                                           23 homosexuality in your view?
24        A. Well, the Bible says that the                24       A. Well, the Bible in general, God
25 Holy Ghost will come and teach you all things, so      25 tells us to go and reproduce and fill the world

                                                                                             9 (Pages 30 - 33)
                                    Veritext Legal Solutions Plaintiff's App. 010
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 12 of 116


                                                Page 34                                                  Page 36
 1 so that, you know, if you don't do that, then how       1       Q. How do you get the funds to pay
 2 can you, you know, fill the world? Like, when I         2 for these supplies?
 3 street preach, I ask the Holy Ghost to help me.         3       A. Through my job.
 4 So when I go out, I just -- it's almost like off        4       Q. Okay. I guess my question to
 5 the cuff. Like, I just see what verses, you             5 that would be, it looks like there hasn't been a
 6 know, come to me, but I'm not -- I'm not there to       6 lot of consistent employment. Are the jobs that
 7 push anyone down or push them away because I'm          7 you've had sufficient to pay for those supplies
 8 going to have to give an account for everything I       8 and your housing?
 9 say, do and think.                                      9       A. Yes.
10           So I try to stick to three H's.              10       Q. Do you get any other sort of
11 If you're homeless, I'll let you live in my house      11 monetary assistance?
12 rent free. It doesn't matter who you are, what         12       A. No, sir.
13 you're doing, anything. I'll help you get a job        13       Q. No Social Security or anything
14 so you can get your own place. This can be a           14 like that?
15 homosexual or someone that doesn't exactly agree       15       A. No, sir. My roommate helps me
16 with me. Are you hungry? I will get you                16 big time, so she kind of helps me get -- you
17 something to eat. It doesn't matter who you are,       17 know, after I leave a job, my intent is to, you
18 where you're from. Do you need help reading the        18 know, find another one.
19 Bible? That's my main -- that's what I try to do       19       Q. And was there -- you mentioned
20 when I'm out there.                                    20 that there was a settlement in that workers' comp
21       Q. So I may have counted four H's.               21 case?
22       A. No. Three. Homeless. Do you                   22       A. Yes. Yes, sir.
23 need somewhere to stay? Are you hungry? I will         23       Q. Is that part of your financial
24 get you something to eat. And do you need help         24 stability?
25 with reading the Bible?                                25       A. It was for a little bit. Yeah.
                                                Page 35                                                  Page 37
 1       Q. Okay. Understood. Thank you.                   1       Q. Did that money run out?
 2 I'm going to ask you some general questions about       2       A. I gave a lot of it away.
 3 your evangelizing and/or street preaching. I            3       Q. To whom?
 4 promise I will get to the event. I guess                4       A. To whoever. I just walked up to
 5 generally when you got involved in evangelizing         5 random people and gave them money.
 6 and street preaching, did you do it alone or did        6       Q. Okay.
 7 you do it as part of a group?                           7       A. Like, I would walk through
 8       A. Alone.                                         8 Walmart and walk up to strange people and hand
 9       Q. When you do that alone, do you                 9 them hundred-dollar bills because I was beginning
10 come with any supplies or literature that you          10 to change. I thought the money was going to make
11 like to bring?                                         11 me happy, and instead I was miserable.
12       A. Yes. I usually have -- I had a                12       Q. The money didn't make you happy?
13 sign shop make me cards that I hold. I usually         13       A. Not at all.
14 have a Bible with me, gospel tracts, food and          14       Q. Did it make you happy to give the
15 water in case anyone is hungry or thirsty. I           15 money away?
16 usually have an amplification, something that          16       A. That did, yes.
17 goes on my belt, and it wraps around like a            17       Q. Approximately how often do you
18 microphone.                                            18 evangelize and/or street preach? If you want to
19       Q. So the amplification -- go ahead.             19 do it by, like, a weekly, that's fine.
20 I'm sorry.                                             20       A. Well, I like to -- it goes in
21       A. And Bibles, too. I really enjoy               21 waves. Sometimes I go more towards Bible
22 handing someone a Bible.                               22 studying with people and then when I do and when
23       Q. Do you pay for these supplies                 23 I am out there, I like to do Friday, Saturday and
24 yourself?                                              24 Sunday if I can and then if I can do it during
25       A. Yes, sir.                                     25 the week for a few hours, I will. My main days

                                                                                           10 (Pages 34 - 37)
                                    Veritext Legal Solutions Plaintiff's App. 011
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 13 of 116


                                                Page 38                                                Page 40
 1 are those days normally. Definitely Saturday and        1 before, you know. No matter where -- if you go
 2 Sunday if I'm able to.                                  2 to any city, you're going to have, you know,
 3        Q. Are there any specific locations              3 people that are struggling, and I just -- I feel
 4 that you like to go to to evangelize and/or             4 that -- I feel the presence of struggle in
 5 street preach?                                          5 Reading.
 6        A. Yes.                                          6       Q. Do you believe that people that
 7        Q. Can you describe those to me?                 7 are homosexual are struggling?
 8        A. Yeah. 5th and Penn Street.                    8       A. Well, I feel we all struggle, so
 9        Q. That's in Reading?                            9 I have to --
10        A. Yes. And the Queen City Diner                10       Q. My question is specifically to
11 which is closed on Lancaster Ave. and then I'll        11 homosexuals or the LGBTQ community. I apologize.
12 go to 5th Street a few streets up from Penn            12 I cut you off.
13 Street and then I'll work, kind of like                13       A. It's okay. I think if anyone
14 walk -- I'll work each corner. Like, I'll start        14 doesn't know Jesus Christ of Nazareth, they're
15 a few streets up and then I'll preach there for a      15 struggling.
16 little bit, go to the next corner, preach there        16       Q. And is it your opinion that
17 for a little bit and then I usually stop at 5th        17 people that are homosexual or LGBTQ don't know
18 and Penn Street.                                       18 Jesus Christ?
19        Q. Okay. Is there any reason in                 19       A. Well, I can't speak for everyone.
20 particular why you chose or why you choose these       20 That's why I try to get one-on-one with people so
21 locations to street preach?                            21 that I can, you know, figure it out.
22        A. It's right next to my house.                 22       Q. When you street preach, do you
23        Q. So convenience?                              23 ever choose specific events to street preach
24        A. Well, no. I feel like if                     24 and/or evangelize?
25 you -- sometimes even when I first started, I          25       A. Not normally, no.
                                                Page 39                                                Page 41
 1 want to just go and just tell the world, but if         1       Q. Can you explain when you might do
 2 you start in your own town, then I feel like, you       2 that outside of your normal practice?
 3 know, you start street preaching on your corner         3       A. One time I was street preaching,
 4 and then see where it goes from there.                  4 and this young man pulled up to me, and he's
 5        Q. Do you have an intent to spread               5 saying things to me like a man says to another
 6 the breadth of where you street preach?                 6 man as if he wanted, you know -- he was
 7        A. Like, grow and get, like, wider?              7 complimenting me in an uncomfortable way for me.
 8        Q. Yes.                                          8 So as I was standing there street preaching, I
 9        A. I mean, I try to follow, you                  9 didn't engage him. He rolled down his window and
10 know, if the Lord wants me to do that. Sometimes       10 started making comments towards me.
11 I'll feel like I need to move down when I was          11       Q. Sexual comments?
12 just standing there and then that's when I move,       12       A. Yes. And he said, I was born
13 but as of right now, I feel like he put me there       13 this way. And I said, sir, did it ever occur to
14 for a certain reason because Reading really does       14 you that you can be born again? And I saw the
15 need evangelizing.                                     15 color in his face change. He stopped talking to
16        Q. Why is that?                                 16 me. He rolled up his window, and he drove away.
17        A. Well, I think everywhere it does,            17           That moment right there is when I
18 but there's a lot of -- there's a lot of, and to       18 knew. I was never a pride preacher. I never
19 me, homeless people and people that are lost and       19 sought out to go to that, but after I spoke to
20 might not know that there is a way to combat           20 that young man, I knew if I can tell someone who
21 this.                                                  21 feels that they were born this way that they can
22        Q. Do you find that those issues are            22 be born again, there's no better -- there's no
23 more prevalent or worse in Reading than other          23 better saying. So it wasn't my intent to seek
24 places?                                                24 out anyone. I want to talk to everyone. Anyone
25        A. No, because I've lived in Philly             25 who wants to sit down with me and talk, I'm open

                                                                                          11 (Pages 38 - 41)
                                    Veritext Legal Solutions Plaintiff's App. 012
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 14 of 116


                                                Page 42                                                   Page 44
 1 to discussing it.                                       1       A. The other one was a few days
 2       Q. That event that you described                  2 before that where they raised another flag at a
 3 when the man rolled down his window, that was           3 town hall, and I went to that event as well, but
 4 before June 3, 2023?                                    4 before I went to that event, I street preached
 5       A. Yes. Way before and then that's                5 down the street from that for a little bit. Then
 6 what got me thinking, what if someone else              6 I made my way up there and then I street preached
 7 doesn't know that? What if -- it wasn't like a          7 after that as well. So I didn't set out to go to
 8 rude not talk to me. Like, I saw him. I saw the         8 that event. It was in my -- where I was going.
 9 color in this young man's face completely change,       9       Q. And you're talking about the
10 and he was quiet. He rolled up his window, and         10 event that's not June 3, 2023?
11 he drove off.                                          11       A. Yes, sir.
12       Q. And so how did you interpret that             12       Q. Okay. When was -- you said the
13 when the color in his face changed --                  13 other event was a couple days before?
14       A. That he didn't know he could born             14       A. Yeah, because it opened up pride
15 again.                                                 15 month, so I don't want to misspeak, but it was
16       Q. Again, just --                                16 before June 3rd. A few days before that. I was
17       A. I'm sorry.                                    17 at that event as well.
18       Q. -- wait for my question to be                 18       Q. Okay. And you said it was at
19 finished before you answer.                            19 town hall? Do you know what town?
20       A. I sometimes get excited that, you             20       A. It wasn't City Hall where June
21 know, that could happen.                               21 3rd was. It was at -- I don't know. I just -- I
22       Q. I can tell. Okay. So you                      22 know it's in Reading, and it's a town building.
23 interpret that, his reaction as agreeing with you      23       Q. So it was in Reading?
24 that he could be born again?                           24       A. Yes, sir.
25       A. Yes, sir.                                     25       Q. Have you ever gone to West
                                                Page 43                                                   Page 45
 1        Q. And was it your interpretation                1 Reading to street preach?
 2 that that was a positive for him?                       2       A. Well, isn't West Reading where
 3        A. Yes, sir.                                     3 City Hall is?
 4        Q. A good thing? Okay.                           4       Q. Well, West Reading is a different
 5             And because of your                         5 municipality than the City of Reading. Are you
 6 interpretation of that interaction that then did        6 aware of that?
 7 you seek out more interaction with people of the        7       A. I mean, I'm a little rough when
 8 LGBT community to engender the same reaction in         8 it comes to west, north and east. Like, I just
 9 others?                                                 9 know that I was in Reading.
10        A. Well, it's not that I sought it              10       Q. Okay. I'll try to describe it
11 out, if that's sort of rude to say, excuse me,         11 this way. The City of Reading -- and I guess I
12 it's that I would street preach and then kind of       12 should have clarified this. When you're
13 work my way there. And my intent was to spend a        13 referring to Reading, you're referring to what
14 little time street preaching there and then work       14 you understand is Reading?
15 my way there. Like, it's not like I set out to         15       A. Yes.
16 go to that place.                                      16       Q. Is that fair?
17        Q. Which place?                                 17       A. Yes. Yes.
18        A. Any place. I've only been to two             18       Q. The City of Reading, which is one
19 events.                                                19 of the defendants in this case, has a political
20        Q. Pride events?                                20 and geographic boundary and limit. There is
21        A. Yes.                                         21 another town, municipality that is adjacent to
22        Q. So one was clearly on June 3,                22 the City of Reading which is called West Reading.
23 2023. Is that fair?                                    23 It's West Reading Borough. It's a different
24        A. Yes.                                         24 municipality. It has its own police force,
25        Q. What was the other one?                      25 governing body, things of that nature. Are you

                                                                                            12 (Pages 42 - 45)
                                    Veritext Legal Solutions Plaintiff's App. 013
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 15 of 116


                                                Page 46                                                Page 48
 1 familiar with that? Do you know that West               1 demon. The only time that I can remember calling
 2 Reading exists in that capacity?                        2 anyone a demon was because they were dressed in a
 3       A. No. Excuse me for my ignorance,                3 demon outfit.
 4 but yeah. I just -- I lumped it all within              4      Q. Do you recall somebody at the
 5 Reading, and now that you said that, I'm aware          5 June 3, 2023 Reading pride event -- or do you
 6 of, like, Wyomissing and Sinking Springs and that       6 recall calling somebody or referring to somebody
 7 kind of stuff. It might have been in Wyomissing,        7 as a demon at the Reading June 3, 2023 pride
 8 but I thought I was in Reading before June 3rd at       8 event?
 9 that other event.                                       9      A. If they were dressed in a demon
10       Q. Okay. So is it fair -- would it               10 outfit, I remember calling someone that was
11 be fair to say that you're not quite sure what         11 dressed in a demon outfit.
12 municipality you were in, but you were in an area      12      Q. Okay. I'm asking specifically if
13 that you understood to be Reading which might          13 you remember. You seem to qualify it with the
14 include Wyomissing and other adjacent areas?           14 word "if." If you don't remember, that's fine.
15       A. Yes, sir.                                     15 I'm asking if you remember?
16       Q. Okay. So you're using Reading as              16      A. Yes, sir.
17 kind of a broad area?                                  17      Q. You do remember saying that?
18       A. A broad, yeah.                                18      A. Yes, sir.
19       Q. Okay. Thank you.                              19      Q. Do you recall going onto a news
20       A. You're welcome.                               20 broadcast and being interviewed by the Christian
21       Q. Have you ever obtained a permit               21 News Network. Christian Broadcast News Network?
22 to street preach?                                      22      A. Yes, sir.
23       A. No, sir. I wasn't aware that I                23      Q. Did you review -- during the
24 needed one.                                            24 course of that interview, did you review some
25       Q. I'm not asking that. I'm just                 25 video that was taken by another individual that
                                                Page 47                                                Page 49
 1 asking if you have ever obtained one?             1 was at the pride event?
 2       A. No, sir.                                 2       A. Yes, sir.
 3       Q. Are you aware that there's a             3       Q. Was it within that video that you
 4 process that you can engage in with               4 noted a demon?
 5 municipalities to obtain a permit for events,     5       A. Yes, sir.
 6 public events?                                    6       Q. I know we talked about street
 7       A. No, sir.                                 7 preaching, evangelizing individually, and you
 8       Q. The pride event on June 3, 2023,         8 said that you started that way. Have you ever
 9 were you aware that they had a permit to have     9 joined a group to street preach and/or
10 their event outside of the Reading City Hall on 10 evangelize?
11 that day?                                        11       A. Not a group. Another person.
12       A. No, sir.                                12       Q. Okay. Who's that other person?
13       Q. Have you ever referred to a             13       A. I call him Brother Jose, and I
14 person dressed in drag as a demon?               14 street preach with him sometimes at Queen City
15       A. If I see a demon, then I refer to       15 Diner on Lancaster Ave.
16 it, but I've never called someone -- the only    16       Q. Is that the only location that
17 time I can recall calling anyone a demon is they 17 you street preach with him?
18 were -- they looked like a demon.                18       A. Yes, sir.
19       Q. What does that mean to you?             19       Q. How often do you street preach
20       A. They had horns, and they looked         20 with Brother Jose?
21 like a demon.                                    21       A. Once in a while. It seems like
22       Q. Horns growing out of their head?        22 in the springtime it's more every week, but over
23       A. They're in a costume that has           23 the winter it's once in a while.
24 horns on them, but I don't -- I don't refer to   24       Q. It's cold outside?
25 someone's attire automatically is that they're a 25       A. Yeah. I mean, I try not to let
                                                                                          13 (Pages 46 - 49)
                                    Veritext Legal Solutions Plaintiff's App. 014
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 16 of 116


                                                Page 50                                                 Page 52
 1 that be the reason, but yeah. He's older, too.          1       A. No, sir.
 2 He's an older gentleman.                                2       Q. Was it your cell phone that you
 3       Q. Okay. Do you know Brother Jose's               3 gave him? Cell phone number?
 4 full name?                                              4       A. Yes, sir.
 5       A. No. Just Jose. He never told                   5       Q. Do you have your cell phone here
 6 me. I just know him as Jose.                            6 with you?
 7       Q. Do you know him as -- do you know              7       A. Yes, sir.
 8 if Jose is his real given name?                         8       Q. Okay. Is it the same cell phone
 9       A. I believe so. Yeah.                            9 that you had at the time that you gave Brother
10       Q. Was Brother Jose present with you             10 Jose -- or that you communicated on a cell phone
11 at the June 3, 2023 pride event?                       11 with Brother Jose?
12       A. No, sir.                                      12       A. Well, Brother Jose wasn't the
13       Q. There was another man that was                13 same guy that was from the June 3rd.
14 there with you, and you had some of his                14       Q. Correct. I apologize.
15 belongings in your backpack. Do you recall that?       15       A. That's okay.
16       A. Yes, sir.                                     16       Q. The man from June 3 --
17       Q. Who was that?                                 17       A. Yes.
18       A. I met him street preaching, and I             18       Q. -- that accompanied you and he
19 want to say his name is Josh.                          19 called you, the cell phone that you have now, is
20       Q. If you don't know, that's okay.               20 that the same cell phone that he called you on?
21       A. Yeah. I don't know.                           21       A. Yes, sir.
22       Q. I don't want you to guess.                    22       Q. What's your cell phone number?
23       A. Yeah. No. I think for some                    23       A. 484-769-0421.
24 reason Josh is sticking out to me, but he moved        24       Q. Do you enter anybody's name into
25 away. I think he's in North Carolina or                25 your cell phone contacts?
                                                Page 51                                                 Page 53
 1 somewhere right now, but I only met him once or         1       A. When I save it?
 2 twice, and he stayed at my house because he was         2       Q. Yes.
 3 homeless, so I said, do you want to come with me        3       A. Yeah. Like, I have names in my
 4 to street preach, and he said yeah.                     4 contacts. His name, I think I had it for a while
 5       Q. How did you meet him?                          5 and then he moved away, and I kind of
 6       A. I met him street preaching.                    6 just -- sometimes I'll just go through and clear
 7       Q. Was he street preaching and then               7 my contacts and then kind of start over.
 8 you were street preaching, and you kind of ran          8       Q. Any reason for that?
 9 into each other?                                        9       A. I just -- I don't know.
10       A. He came up and wanted to keep me              10 Sometimes I feel like if I'm meant to be speaking
11 company, he said, and then he wanted -- because I      11 to this person, they'll come back to me.
12 was out there by myself, and he said he wanted to      12       Q. Do you know Matthew Wear?
13 stand with me. And he sung, like, a gospel song.       13       A. I'm aware of him. Yes, sir.
14 Then I gave him my number and said if you ever         14       Q. Do you have his phone number?
15 need anything, give me a call. And then him and        15       A. He sent me the video when I got
16 his girlfriend were having trouble, and he needed      16 out of jail, and I had his number for a few
17 to stay with me for a few days.                        17 weeks, I want to say, but then I erased it.
18       Q. Did he ever call you?                         18       Q. Why don't you pull up your phone
19       A. After I gave him my number?                   19 and look for his number?
20       Q. Yes.                                          20       A. All right.
21       A. Yeah. When him and his                        21            (A short break was taken.)
22 girlfriend were having trouble, he called and          22 BY MR. CONLEY:
23 stayed with me.                                        23       Q. With either Brother Jose or the
24       Q. Did you save his number in your               24 man who may be Josh that you met and you attended
25 phone?                                                 25 the June 3, 2023 event with, did you ever plan

                                                                                          14 (Pages 50 - 53)
                                    Veritext Legal Solutions Plaintiff's App. 015
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 17 of 116


                                              Page 54                                               Page 56
 1 with either of them attending specific events to 1        Q. Did you end up going to that
 2 street preach?                                    2 Lititz event?
 3       A. Brother Jose, I planned an event,        3       A. Yes, sir.
 4 but he couldn't make it. I didn't end up going    4       Q. And did the gentleman from the
 5 to that event anyway, but Josh, I'm not even sure 5 Patriot come with you?
 6 if that's his name. Excuse me. I just -- he       6       A. Yes, sir.
 7 called me that morning and wanted to stay at my 7         Q. Did he write an article about
 8 house, so I said, I'm going here. Do you want to 8 that?
 9 come with me?                                     9       A. I don't really follow the
10       Q. You're referring to June 3, 2023?       10 Lancaster Patriot, so I'm not sure.
11       A. Yes.                                    11       Q. All right. He didn't tell you
12       Q. Okay. I'm going to stop saying          12 that he wrote an article?
13 June 3, 2023, and I'm going to call it the       13       A. No, sir.
14 Reading pride rally. Is that fair to you?        14       Q. How are you doing? Do you need a
15       A. Yes, sir.                               15 break?
16       Q. Okay. I'm going to go to that           16       A. No.
17 event, the Reading pride rally.                  17       Q. Did you have any plans on June 3,
18       A. And there was -- I planned it           18 2023 other than attending the Reading pride
19 with the guy from the Lancaster Patriot who I    19 event?
20 don't remember his name. I went to the Lititz    20       A. Yes, sir.
21 pride festival with him. That I planned with     21       Q. What were your other plans?
22 him.                                             22       A. Street preaching.
23       Q. Is his name Dan? Does that ring         23       Q. Where were you going to go?
24 a bell?                                          24       A. I was going to go to start there,
25       A. I'm not sure. I haven't talked          25 and I actually evangelized to someone on my way
                                              Page 55                                               Page 57
 1 to him in a while.                                1 there and then from there I was going to go to my
 2       Q. And he was with the Lancaster?           2 normal 5th and Penn Street.
 3       A. Patriot. Yes. Yes, sir. I                3      Q. Okay. So your plan was to go to
 4 think I referred to his name in the video.        4 the Reading pride event and then from there go to
 5       Q. I believe you did as well. I'll          5 the 5th Street location and kind of do your
 6 get to that. I'm going to show you that video     6 rounds, like, up the street?
 7 later. I just don't want to jump around with you 7       A. Yep.
 8 too much.                                         8      Q. Okay. And then on the way to the
 9            Was that Lititz event that you         9 pride event, you met some other individual?
10 planned with this gentleman from the Lancaster 10        A. Yes.
11 Patriot, was that before or after the Reading    11      Q. And that was kind of off the
12 pride event?                                     12 cuff?
13       A. It was after.                           13      A. He was just sitting there, a
14       Q. Do you know when it was?                14 homeless man. I told him about Lord Jesus, and
15       A. No, sir.                                15 he ended up -- we were talking about sin, and he
16       Q. Was it within a month, within a         16 ended up throwing his lighter and saying he
17 week, if you can estimate?                       17 didn't want to do this no more, and that kind of
18       A. I feel like it was a month after,       18 made me smile. I gave him something to eat and
19 but it was a pride month thing, so I'm assuming, 19 something to drink, and I told him if he needs
20 you know, right about a month.                   20 anything and he ever sees me, to let me know.
21       Q. Okay. So you're estimating. You         21      Q. Did you give him your number or
22 don't know specifically?                         22 anything?
23       A. No. No, sir.                            23      A. I'm not sure. I thought I said
24       Q. Was it at least in the same year?       24 I'm around here if you ever see me because I see
25       A. Yes, sir.                               25 the same people, you know, if you stay in the

                                                                                       15 (Pages 54 - 57)
                                   Veritext Legal Solutions Plaintiff's App. 016
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 18 of 116


                                                Page 58                                                Page 60
 1 same spot, and I told him if he ever sees me and        1 pushy. So I was just letting him know of sin in
 2 he needs anything, please let me know.                  2 general, but I wasn't like, what are your sins,
 3       Q. Okay. When he threw away your                  3 you know, like trying to do that.
 4 lighter --                                              4       Q. If somebody uses drugs, would you
 5       A. His lighter.                                   5 consider that -- illegal drugs, would you
 6       Q. His lighter, did you interpret                 6 consider that a sin?
 7 that to mean anything to you?                           7       A. Well, the Bible says that no
 8       A. It just made me smile, you know,               8 drunkard will inherit the Kingdom. So if it's
 9 'cause I don't know if he knew about who Jesus          9 making you intoxicated, I would like to talk to
10 was, but after we were having a good                   10 you about it.
11 conversation, and he was just like, I'm tired of       11       Q. All right. So marijuana use, is
12 sinning and just threw his lighter. And I was,         12 that a sin?
13 like, well, sir, you don't want to litter, you         13       A. I would like to talk to you about
14 know, but I'm appreciating what you're doing, but      14 it.
15 he just -- I saw the passion in someone grow, and      15       Q. Well, that's not my question. Do
16 that to me is just -- you know, I didn't expect        16 you consider it a sin?
17 that. It kind of threw me off.                         17       A. Yes, sir.
18       Q. Sure. And I think I can                       18       Q. Okay. Other illegal drug use,
19 interpret what you're trying to say or what            19 would you consider that a sin?
20 you're saying, but why is throwing away the            20       A. Yes, sir.
21 lighter significant? Why does that mean he             21       Q. And if somebody stopped sinning,
22 doesn't want to do something anymore?                  22 would you forgive them?
23       A. Well, because he's getting rid of             23       A. Well, I forgive them even in
24 it. He's taking the first step. Most people dig        24 their sin. That doesn't stop me. It just makes
25 their heels in and say I'm not doing anything,         25 me want to talk to you because we're all sinners.
                                                Page 59                                                Page 61
 1 but for him to throw his lighter told me that at   1 I struggle with sin every day. My body wants to
 2 least he wants to do something about it.           2 do something that's contrary to what God wants me
 3       Q. Was there something sinful about          3 to do.
 4 a lighter?                                         4       Q. You've sued the City of Reading,
 5       A. Well, it's what he was using the          5 Sergeant McClure, Chief Tornielli, Courtney
 6 lighter for.                                       6 Dupree and Mayor Eddie Moran. If you believe
 7       Q. Okay.                                     7 that they had sinned, would you forgive them?
 8       A. That's what -- I don't know, but          8       A. Yes, sir.
 9 whatever he was telling me was not good.           9       Q. If any of them made a mistake
10       Q. So he didn't tell you                    10 that you would consider a mistake, would you
11 specifically what he was using it for?            11 forgive them that mistake?
12       A. No. He just said I'm tired of            12       A. Yes, sir.
13 sinning, and he threw his lighter, and that's     13       Q. So when you left that morning, I
14 when I was like, well, sir, you might not want to 14 assume it was the morning. You left in the
15 litter, but, you know, whatever is going on, I    15 morning on June 3, correct?
16 can see that at least you're willing to talk      16       A. Yes, sir.
17 about it.                                         17       Q. When you left that morning and
18       Q. Did you believe it might have            18 you started on your day's events, did you tell
19 been drugs or smoking cigarettes, something like 19 somebody that your goal was to spark a
20 that?                                             20 confrontation at the pride event?
21       A. I thought it was a mixture. I            21       A. No, sir.
22 didn't really, you know, get into that because    22       Q. If somebody had said that, would
23 like I said earlier, I don't really -- I just     23 they be incorrect?
24 like to talk about sin in general, not a specific 24       A. Yes, sir.
25 person's sin because then I feel like that gets   25       Q. Did you first go to West Reading?

                                                                                          16 (Pages 58 - 61)
                                    Veritext Legal Solutions Plaintiff's App. 017
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 19 of 116


                                                Page 62                                                    Page 64
 1 I know you might not understand where                   1 Reading pride month that would give you the
 2 specifically that is. Did you go to another             2 impulse to look that up?
 3 municipality before going to the pride event to         3       A. No. The young man gave me the
 4 protest or street preach?                               4 impulse to look it up.
 5       A. Yes, sir.                                      5       Q. Which young man is that?
 6       Q. Where did you go?                              6       A. Remember the young man I was
 7       A. At the flag raising prior to June              7 talking to when I saw his face change, that's
 8 3rd?                                                    8 who -- I didn't even -- I wasn't even aware of it
 9       Q. No. I mean, on June 3rd                        9 until I spoke with him. That made me want to go
10 specifically?                                          10 tell other people.
11       A. No. I went straight to that                   11       Q. Were you aware that other people
12 building.                                              12 would be attending the Reading pride event to
13       Q. Okay. From your current address               13 protest it?
14 on 4th Street in Reading?                              14       A. No, sir.
15       A. Yes, sir.                                     15       Q. When you arrived at the Reading
16       Q. How did you hear about the flag               16 pride event, can you tell me what you saw?
17 raising ceremony on June 3, 2023?                      17       A. I saw an officer.
18       A. Online.                                       18       Q. Okay. I'm asking --
19       Q. Did you stumble across it or were             19       A. That's basically -- it's like it
20 you looking for it?                                    20 almost went foggy. I didn't even see the
21       A. I looked it up.                               21 gentlemen that were on the sidewalk. As soon as
22       Q. Why did you look it up?                       22 I came up, the only thing I saw was this
23       A. Because I wanted to let people                23 gentleman in front of me. I wasn't aware that I
24 know that they can be born again.                      24 was being recorded. I wasn't aware that there
25       Q. Have you looked up other pride                25 were other people standing there.
                                                Page 63                                                    Page 65
 1 events?                                                 1       Q. Go ahead. I'm sorry.
 2       A. Just the two.                                  2       A. The only thing I saw, it was
 3       Q. The two that you --                            3 almost like it was like that. I just saw this
 4       A. That I attended. Yep.                          4 officer coming up to me as soon as I got there.
 5       Q. So that one and the other one                  5       Q. And when you say "like that,"
 6 that we're not quite sure about the date?               6 you're taking your hands, and you're kind of
 7       A. Uh-huh.                                        7 placing them by the side of your head and moving
 8       Q. I guess also the Lititz one?                   8 them forward?
 9       A. I didn't look that up. When I                  9       A. Yes. Yeah.
10 got -- when the Lancaster Patriot interviewed me,      10       Q. Are you trying to describe tunnel
11 I started talking to the owner of that, and he         11 vision?
12 said, we're going to this event. Would you like        12       A. Like, that's what it seemed like.
13 to come with us? And I said yes.                       13 I didn't -- I didn't see anything else but that
14       Q. Understood. So aside from the                 14 officer. Yeah.
15 one prior to the Reading pride event and the           15       Q. Before you saw the officer, did
16 Lititz event, did you attend any other pride           16 you happen to see the people that were
17 events in 2023?                                        17 celebrating the pride event?
18       A. No, sir.                                      18       A. I mean, I think I remember seeing
19       Q. So it would be a total of three,              19 the one guy with the sign step out, but even
20 two of which you looked up?                            20 then, I was nervous walking up to that. I even
21       A. Yes, sir.                                     21 told that gentleman I was with that I just -- I
22       Q. What did you -- what search terms             22 felt really nervous, almost like I had to shake
23 did you use to look it up?                             23 my hands.
24       A. Reading pride month, I believe.               24       Q. Why would you feel nervous
25       Q. Had you heard that there was a                25 walking up --

                                                                                            17 (Pages 62 - 65)
                                    Veritext Legal Solutions Plaintiff's App. 018
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 20 of 116


                                               Page 66                                                  Page 68
 1       A. I don't know because -- I don't               1       A. Yes. Because before that it
 2 know. That never happened to me before.                2 never crossed my mind.
 3       Q. Okay. Wait for my question.                   3       Q. I'm sorry. Go ahead.
 4       A. I'm sorry.                                    4       A. I would even say I had a problem
 5       Q. Why would you feel nervous                    5 with lying.
 6 walking up to a pride event that you intend to         6       Q. These episodes or these events,
 7 street preach at?                                      7 these times when you have memory lapses, how
 8       A. I don't know. I never felt that               8 often do these occur?
 9 way before. I didn't feel that way when I went         9       A. Well, I feel like the longer time
10 to the flag raising event. I just -- I felt like      10 goes by, the more it happens. Like, if it's
11 I needed to shake my arms and then when I walked      11 within a couple days or that, then I'm okay with
12 up, all I saw was the officer.                        12 it, but it seems like it's up and down. It's hit
13       Q. What did you have with you on                13 or miss. Sometimes I can remember things that
14 that day when you arrived at the pride event?         14 happened to me when I was six years old. Other
15       A. I had my bag. I had a sign. I                15 times I can't remember a guy's name I was just
16 had a Bible. I had gospel tracts. I had my            16 standing next to.
17 phone. I don't remember if I had my wallet with       17       Q. And it's worse now than before
18 my license and Social Security card in it. I had      18 the accident?
19 snacks and drinks in case anyone is hungry or         19       A. I didn't notice it before, my
20 thirsty, and in that bag I had the guy, the           20 memory. I thought it was pretty strong. Like, I
21 gentleman I was with, his belongings, too.            21 could remember songs word for word, sports, teams
22       Q. Why were his belongings in your              22 names, numbers, and after that happened, I
23 bag?                                                  23 noticed it wasn't the same. I couldn't remember
24       A. Because he had a few phones,                 24 music like I used to. I don't listen to music
25 which I wasn't sure why, and he had -- because        25 anymore, but when I did, and it just seems like
                                               Page 67                                                  Page 69
 1 him and his girlfriend were splitting up, so he        1 it's spotty. Sometimes I can remember, and
 2 was coming to my house after we got done street        2 sometimes I can't. And the doctor said that
 3 preaching. So I said, do you want to put your          3 could be because you've had a concussion.
 4 stuff in my bag? And he said, yeah.                    4       Q. That was my next question. When
 5       Q. You let him stay at your house,               5 did you see a doctor about the memory issues?
 6 but you didn't know his name?                          6       A. During the whole neck thing. I
 7       A. I knew his name at the time.                  7 went to physical therapy. They evaluated me.
 8       Q. But you forget it now?                        8 They found that I have an aortic valve issue, and
 9       A. Yeah. Now. And I noticed after                9 he said, you know, if you had a concussion, this
10 I broke my neck and I had a concussion, sometimes     10 could be, you know, a direct cause of it.
11 my memory is -- like, it's spotty, it seems like,     11       Q. The aortic valve?
12 because I was diagnosed with a concussion. And        12       A. No. The memory.
13 after that accident I noticed that sometimes my       13       Q. Do you remember the name of that
14 memory, I just draw, like, a blank. And I'm           14 doctor that told you that?
15 severely scared of not telling the truth, so that     15       A. No, sir.
16 prevents me from just saying whatever. So when        16       Q. Does the memory issue affect your
17 we were together, I knew his name.                    17 recollection of the events on June 3, 2023?
18       Q. Why are you severely afraid of               18       A. No. No, sir. Mainly because
19 not telling the truth?                                19 there's a video.
20       A. I don't know. Since I started                20       Q. Does the video help refresh your
21 reading the Bible, I just don't want to misspeak.     21 recollection? And let me explain that. Did it
22 I don't want to say something that isn't the          22 help you fill in gaps in your memory by viewing
23 truth because I'm going to have to answer for it.     23 the video?
24       Q. So that's something that                     24       A. Well, yeah. Like, for example, I
25 developed after the injury?                           25 don't remember exactly what I said to the
                                                                                          18 (Pages 66 - 69)
                                   Veritext Legal Solutions Plaintiff's App. 019
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 21 of 116


                                               Page 70                                                  Page 72
 1 officer, but through the video I can kind of tell  1       A. No, sir.
 2 a little of it, but outside of other things in     2       Q. All right. So your
 3 the video, it's foggy to me.                       3 understanding -- correct me if I'm wrong. I may
 4        Q. Would you agree with me that it's        4 be wrong, but your understanding that those other
 5 hard to tell exactly what you said on the video    5 people were there to preach, was that based upon
 6 of the event?                                      6 information that you learned after the incident?
 7        A. Yes, sir.                                7       A. Well, yeah. At the time I wasn't
 8        Q. When you arrived at the Reading          8 really sure. I didn't know why. Obviously, if I
 9 pride event, you stood on one side of the street. 9 see someone with a sign step out and face me,
10 Do you recall that?                               10 he's probably there to preach, but my -- what I
11        A. Yes, sir.                               11 was thinking is I was going to get to figure out
12        Q. Did you choose that side of the         12 what they're doing, but I didn't know any of
13 street for a reason?                              13 them. I didn't know they were going to be there.
14        A. It's the side I was walking on.         14 So I would have found out if they weren't there
15        Q. Okay. It just happened to be the        15 to preach as soon as I started, they would have
16 side that you were walking on?                    16 probably let me know that they're not there to do
17        A. Yes.                                    17 that.
18        Q. Did you know that when you              18       Q. Do you recognize the gentleman to
19 arrived that you stood next to other individuals 19 my left here?
20 that were there to protest the Reading pride      20       A. Yes, sir.
21 event?                                            21       Q. Okay. Do you know who that is?
22        A. Protest, I don't. Preach maybe          22       A. Officer McClure, I think his name
23 is how I feel because I wasn't there to protest,  23 is.
24 and I hope that they weren't there to protest     24       Q. Sergeant McClure?
25 either, but I was aware that there were people on 25       A. Yeah. Sergeant.
                                               Page 71                                                  Page 73
 1 the sidewalk.                                          1       Q. I'm just asking if you recognize
 2       Q. Okay.                                         2 him visually from looking at him?
 3       A. But like I said, it kind of went              3       A. Yes.
 4 from -- to this.                                       4       Q. Is that the individual that you
 5       Q. And we'll get to that. I want to              5 said approached you?
 6 ask you if you spoke to any of those individuals       6       A. Yes, sir.
 7 that were there, in your words, to preach, did         7       Q. Okay. Before he approached you,
 8 you speak to any of those people?                      8 did you say anything?
 9       A. No, sir.                                      9       A. No, sir.
10       Q. How did you know that they were              10       Q. You didn't say anything?
11 there to preach then?                                 11       A. No, sir.
12       A. Well, I didn't.                              12       Q. You didn't yell anything across
13       Q. Did you assume?                              13 the street?
14       A. No. I just -- I walked up. I                 14       A. No, sir.
15 was going to get to that eventually, I thought,       15       Q. Totally mute. No words
16 but I just thought they were together because I       16 whatsoever?
17 saw the one guy step with his sign and face me.       17       A. Well, it happened so quick. When
18 So I just assumed that they were there to preach,     18 I walked up, me and him started talking, so I
19 but I didn't have any contact with them because       19 didn't say anything before he approached me. As
20 you can see in the video he approached me as soon     20 soon as I got to the edge of that street, we
21 as I...                                               21 started talking. That's when we started going
22       Q. So you mentioned a guy with a                22 back and forth.
23 sign. Did you get a chance to read the sign?          23       Q. Tell me about your recollection
24       A. No, sir.                                     24 of that conversation with Sergeant McClure.
25       Q. Not at the time?                             25       A. I just -- I remember feeling,

                                                                                          19 (Pages 70 - 73)
                                   Veritext Legal Solutions Plaintiff's App. 020
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 22 of 116


                                               Page 74                                                   Page 76
 1 like, aggression. Like, it was aggressive              1       A. No.
 2 towards me. Either someone before me was               2       Q. Okay. You said that you felt
 3 ignorant or aggressive, but I just showed up           3 like somebody before you may have been
 4 there. So it just, like, went -- like, zoomed          4 aggressive. Did you get that impression at the
 5 in, and I just remember him -- I thought he said       5 time that you were there?
 6 that he didn't care about my beliefs or why I was      6       A. No.
 7 there.                                                 7           MR. READY: Object to form. I
 8            So in the video I can see when I            8       don't think that's a characterization of
 9 say, sir, you don't have to say you don't care.        9       what he said.
10 And then I remember him saying respect them, and      10       Q. I may be wrong in exactly what
11 that's when I said, oh, I'm respecting them. Oh,      11 you said, but you said something about somebody
12 no. After I said you don't have to say you don't      12 before you had felt a certain way. Do you recall
13 care, I said, you know who cares? God cares.          13 that?
14            That's when -- and then that's             14       A. No. I said that he was -- I felt
15 when he said, respect them. And I said, oh, I'm       15 aggression from the officer, so I'm not sure what
16 respecting them. And then we had a                    16 took place before I got there, but when I -- when
17 back-and-forth and then I said yo across the          17 he approached me, I felt aggressive --
18 street to someone that was pointing at me and         18 aggression.
19 pointing to their sign and then I said God is         19       Q. You felt aggression?
20 not, and I was met with him.                          20       A. Yeah. Like, it wasn't welcoming.
21       Q. When you say you were met with               21 Like, come on, let's talk this out. You know,
22 him --                                                22 you're not -- you can't do this, this and this
23       A. Well, he came up to me.                      23 today. It just seemed like it was aggressive as
24       Q. Is that when he placed you under             24 soon as I started talking to him.
25 arrest?                                               25       Q. What did you mean then by saying
                                               Page 75                                                   Page 77
 1       A. Yes, sir.                                     1 that somebody before you might have done
 2       Q. Did Sergeant McClure give you any             2 something?
 3 instructions or directions in your conversation        3       A. Well, because after I watched the
 4 with him prior to him placing you in physical          4 video, that's when I heard Matt say that he
 5 custody?                                               5 encountered him. So I felt like maybe that was
 6       A. No, sir. If he did, I just                    6 the reason after looking back on it, but at the
 7 remember I felt like I had a right to be there         7 time I had no clue what was going on.
 8 and that I had a right to stand on that street         8       Q. And that's what I'm trying to get
 9 and preach, but he didn't tell me -- he didn't         9 at.
10 give me any orders that I'm aware of.                 10       A. Yeah.
11       Q. You don't remember any                       11       Q. At the time you didn't have any
12 instructions or orders?                               12 inkling that there might have been some prior --
13       A. I don't remember him giving me               13       A. No.
14 orders to do anything.                                14       Q. Again, just wait. You didn't
15       Q. Did he give you any orders not to            15 have any inkling that there might have been
16 do anything?                                          16 something that happened before you arrived?
17       A. No, sir. Well, now that -- I                 17       A. No, sir.
18 think I remember him saying, you know, let them       18       Q. Okay. And then subsequently you
19 have their day, but I'm not sure if that's an         19 viewed the video?
20 order or, like, a command.                            20       A. Yes, sir.
21       Q. So you remember him saying                   21       Q. And you viewed a video -- which
22 something about let them have their day?              22 video was it that you viewed?
23       A. Yeah.                                        23       A. It was the video posted to
24       Q. Do you remember anything else                24 YouTube.
25 that he might have said?                              25       Q. The one posted by Matthew Wear?
                                                                                           20 (Pages 74 - 77)
                                   Veritext Legal Solutions Plaintiff's App. 021
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 23 of 116


                                               Page 78                                                 Page 80
 1       A. Yes. And he sent me a video of                1       Q. Okay.
 2 it, too.                                               2       A. But I saw him after that. He
 3       Q. How did he send you a video?                  3 met -- he came to where me and Jose was at after
 4       A. By my phone number.                           4 that happened and made a little video, I think,
 5       Q. Did he text it to you?                        5 for his YouTube channel.
 6       A. Yes. He texted, and I didn't                  6       Q. What do you mean?
 7 even know he had my number.                            7       A. After June 3rd he came to Queen
 8       Q. Well, according to Matt Wear, and             8 City where me and Brother Jose was and got out
 9 that's who we referred to as Brother Matt.             9 and preached for a little bit, but I didn't
10 That's the same person?                               10 invite him or did I talk to him about it. He
11       A. Yes.                                         11 just showed up.
12       Q. And do you also understand that              12       Q. Okay. Other than the cell
13 his YouTube page is Barely Preacher Man?              13 phone -- or the YouTube video that was posted by
14       A. Yes, sir.                                    14 Matt Wear on June 3, 2023 that showed the Reading
15       Q. All the same person?                         15 pride event, have you seen any other YouTube
16       A. Yes, sir.                                    16 videos of Matt Wear?
17       Q. All right. According to him, he              17       A. Well, after that I watched a few
18 met you a year prior to the event or                  18 on his channel, so yes, sir.
19 approximately a year prior to the event. Does         19       Q. Did you see another video where
20 that sound about right?                               20 he talked about your event -- or the event on
21       A. Yes, sir.                                    21 June 3, 2023?
22       Q. What are the circumstances of                22       A. Yes, sir.
23 your -- how you met Matt Wear?                        23       Q. Was that the one where he was
24       A. I was preaching, street                      24 kind of standing against a brick wall, and it
25 preaching, and this guy comes out of nowhere and      25 started to get darker?
                                               Page 79                                                 Page 81
 1 says, do you mind if I get on the mic and preach   1       A. Yes, sir.
 2 for a couple minutes, and that's my first time     2       Q. Were you present with Matt Wear
 3 ever meeting him, and I said, yeah. Sure.          3 when he made that video?
 4           And then when he left, I said,           4       A. No, sir.
 5 well, take down my number, and if me and you ever  5       Q. According to Matt Wear in that
 6 want to get together and street preach together,   6 video that I was referencing where the sun goes
 7 then call me, but I never heard from him nor       7 down, he's against a brick wall, Matt Wear
 8 contacted him myself because I didn't have his     8 indicated that you knew that the pride event was
 9 number. I gave him my number. The first time       9 happening and came out purposefully. You used
10 I'm aware of him using my number was to use it to 10 the word "purposefully."
11 send the video he took which I was unaware of     11       A. Well, like I said, I looked it
12 that he took at the time.                         12 up, so I knew of it, but my purpose was to street
13       Q. Okay. When you showed up, you            13 preach. And like I told you, I was going to make
14 didn't see Matt Wear?                             14 my -- you know, do my walk up and down the
15       A. No, sir.                                 15 street. I was starting there first, but I looked
16       Q. And between the time that you had        16 it up because of the young gentleman I had an
17 met him and he asked to use your mic and the      17 encounter with who encouraged me to look it up.
18 Reading pride event in June 2023, did you see him 18       Q. You had mentioned a microphone
19 at any other events?                              19 and an amplifier or something of that nature?
20       A. Not that I recall. No. I think           20       A. Yeah.
21 I would have remembered, but no. I didn't see     21       Q. What's the purpose of that? Do
22 him. I didn't even know it was him that was       22 you speak into the microphone and the amplifier
23 standing there because it was a year before the   23 raises the volume of your voice?
24 last time I saw him, so I don't really remember.  24       A. Yeah. Like, I have a pretty loud
25 Yeah.                                             25 voice to begin with, so -- and to go back a
                                                                                         21 (Pages 78 - 81)
                                   Veritext Legal Solutions Plaintiff's App. 022
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 24 of 116


                                              Page 82                                               Page 84
 1 little earlier, I did -- a police officer told me  1 What exactly happened?
 2 I couldn't use my amplification on 5th and Penn 2          A. Did you see the video?
 3 one time, and I turned it off, so I wasn't sure    3       Q. I'm asking you to describe how he
 4 if I misspoke on a question that you asked me. I 4 threw you around?
 5 thought maybe you asked me if I've ever had an 5           A. When I said God again, he spun me
 6 encounter with them again, but yeah.               6 around and pushed me up against the wall.
 7             So I was on -- it goes around my       7       Q. Did it hurt when he pushed you up
 8 ears, and it comes -- you know, it's, like, right  8 against the wall?
 9 here, and it just projects my voice. One time in 9         A. No, sir.
10 Reading, a Reading police officer said you can't 10        Q. He didn't do it with excessive
11 use amplification here. I took it off. And the    11 force?
12 guy across the street said, I hear you louder and 12       A. No, sir.
13 clearer than you did when you were wearing it. 13          Q. Were you injured as a result of
14 So I just have, like, you know, a loud voice, but 14 that?
15 the purpose is to try to reach people.            15       A. No, sir.
16        Q. Do you know that you raised a           16       Q. Were your wrists injured as a
17 claim against Sergeant McClure for assault and 17 result of the handcuffs?
18 battery?                                          18       A. No, sir.
19        A. No, sir.                                19       Q. Did you tell anybody that the
20        Q. You're not aware of that?               20 handcuffs were too tight?
21        A. No, sir.                                21       A. Yes, sir.
22        Q. Do you think he assaulted you?          22       Q. Did they loosen them?
23             MR. READY: I'm going to object        23       A. No, sir.
24        to the form. Just calling for a legal      24       Q. Nobody loosened them?
25        conclusion. You can answer.                25       A. At the prison they did. At the
                                              Page 83                                               Page 85
 1      A. No, sir.                                  1 jail they did.
 2      Q. Same question, probably --                2       Q. A female officer didn't loosen
 3      A. I feel like he assaulted my               3 the handcuffs when you were sitting on the curb?
 4 rights.                                           4       A. I don't recall.
 5      Q. I'm talking about physically?             5       Q. Okay. After you were placed in
 6      A. Yeah. Physically, yes, sir.               6 handcuffs, you were -- is it true that you were
 7      Q. You think he physically assaulted         7 led kind of around the corner of City Hall?
 8 you?                                              8       A. Yes, sir.
 9      A. Yes, sir.                                 9       Q. And you were sat down?
10      Q. How so?                                  10       A. Yes, sir.
11      A. Just his approach.                       11       Q. And at that point the officers
12      Q. What does that mean?                     12 questioned you, and they went through your bag?
13      A. The way he threw me around and           13       A. Yes, sir.
14 the way he put the cuffs on extremely tight. The 14       Q. Okay. Do you remember speaking
15 way he threw my bag on the ground.               15 to Officer Courtney Dupree?
16      Q. Do you think he assaulted you by         16       A. Yes, sir.
17 throwing your bag on the ground?                 17       Q. Do you remember admitting to
18      A. Well, I feel like he was                 18 you -- or do you remember admitting to her that
19 aggressive.                                      19 you were lifting your voice at the Reading pride
20      Q. Did he strike you?                       20 event?
21      A. No, sir.                                 21       A. No, sir.
22      Q. And you claim that he was                22       Q. You didn't say that?
23 throwing you around?                             23       A. I don't recall.
24      A. He threw me around.                      24       Q. Do you recall saying that you
25      Q. How did he throw you around?             25 weren't yelling at people?

                                                                                      22 (Pages 82 - 85)
                                   Veritext Legal Solutions Plaintiff's App. 023
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 25 of 116


                                                Page 86                                                    Page 88
 1       A. Yes, sir.                                      1       Q. Did you get some?
 2       Q. I'm trying to understand what                  2       A. I didn't eat. No.
 3 that means, not yelling at people. Were you             3       Q. Did you refuse it or --
 4 yelling?                                                4       A. No. I just didn't want it.
 5       A. No, sir.                                       5       Q. What did you do that day after
 6       Q. You don't believe you were                     6 you were released?
 7 yelling?                                                7       A. I went home.
 8       A. I wasn't yelling.                              8       Q. Was all your property returned to
 9       Q. And you mentioned earlier that                 9 you?
10 you have a loud voice and how one gentleman heard      10       A. It was given to the guy I was
11 you even better without the amplification system.      11 with.
12 Is it your belief that you have just a loud            12       Q. It was?
13 voice?                                                 13       A. Yes, sir.
14       A. I have a loud speaking voice.                 14       Q. Did he give it back to you?
15 Yeah. I feel like my voice is loud even now.           15       A. Yes, sir.
16       Q. I don't think it's loud even now,             16       Q. Was any of your property missing?
17 but what I think doesn't matter.                       17       A. No, sir.
18       A. But I notice there's a level                  18       Q. On what charges were you brought
19 between yelling and me speaking normally, and I        19 in to the police station?
20 don't feel like I was at that yelling level.           20       A. Disorderly conduct with engaging
21       Q. When you were at the pride event?             21 fighting, I believe it was.
22       A. Pride event, yes, sir.                        22       Q. Do you understand what that
23       Q. So you were saying something?                 23 means? Do you know what that means?
24       A. Yes, sir.                                     24       A. Disorderly conduct I kind of
25       Q. Approximately how long were you               25 understand. Engage in fighting, I thought it was
                                                Page 87                                                    Page 89
 1 detained on the street before -- let me go back.        1 because it might look like I was trying to swing
 2           After you were handcuffed and you             2 my elbow at him, but he actually stepped on my
 3 were taken around the corner, you were sat down,        3 foot which caused me to, like, stumble, and I was
 4 did eventually vehicle transport arrive?                4 in no way trying to resist.
 5      A. Yes, sir.                                       5      Q. Do you think he intentionally
 6      Q. And you were transported                        6 stepped on your foot?
 7 somewhere?                                              7      A. No, sir.
 8      A. Yes, sir.                                       8      Q. He was just -- your feet got
 9      Q. Where did you go?                               9 tangled?
10      A. I'm not sure. It went in, like,                10      A. Tangled up together.
11 a tunnel.                                              11      Q. When you said you were being
12      Q. Did you go to get processed?                   12 thrown around, might you misinterpret that
13      A. Yes, sir.                                      13 tangling of the feet as him throwing you around?
14      Q. All right. How long -- were you                14      A. Well, no. He threw me around.
15 eventually released?                                   15      Q. Aside from your feet getting
16      A. Yes, sir.                                      16 tangled, he threw you around?
17      Q. And how long did it take for you               17      A. Yes, sir.
18 to be released?                                        18      Q. Bear with me a second.
19      A. A couple hours. It wasn't long.                19      A. Take your time.
20 They served lunch while I was there, so I want to      20      Q. Mr. Atkins, I'm going to show you
21 say a couple hours.                                    21 a document that was actually produced by your
22      Q. Were you in a cell?                            22 counsel in discovery, so a copy of what's been
23      A. Yes, sir.                                      23 marked as Atkins 1-3.
24      Q. And did they serve you lunch?                  24           MR. CONLEY: I'll just have this
25      A. Just lunch and dinner.                         25      marked as Atkins-2.

                                                                                            23 (Pages 86 - 89)
                                    Veritext Legal Solutions Plaintiff's App. 024
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 26 of 116


                                              Page 90                                                Page 92
 1           (A document was marked for             1 tumultuous behavior. The defendant, despite
 2       identification as Atkins Exhibit No. 2.)   2 being warned by police just moments prior, yelled
 3 BY MR. CONLEY:                                   3 derogatory comments at an organization that was
 4       Q. On this document that I have            4 holding a permitted event in violation of Section
 5 marked as Atkins-2, do you recognize this        5 5503(A)(1) of the PA Crimes Code.
 6 document?                                        6       Q. Thank you. I'm going to direct
 7       A. Yes, sir.                               7 your attention to where it says on the second
 8       Q. Can you tell me what it is?             8 line there "or recklessly creating a risk
 9       A. It's the police report.                 9 thereof, he engages in." Do you see that
10       Q. Well, it says police criminal          10 portion?
11 complaint up here.                              11       A. Yes.
12       A. Okay.                                  12       Q. Do you see where it says "engages
13       Q. Does that change your                  13 in fighting or threatening or in violent or
14 recollection of what it is?                     14 tumultuous behavior"?
15       A. No. I thought they handed me           15       A. Yes, sir.
16 this when I left the station.                   16       Q. So when you testified earlier
17       Q. All right. I'll ask you that.          17 that you had been engaging in fighting --
18 So you received this document when you left the 18           MR. READY: Object to form.
19 police station?                                 19       Q. -- does this change your
20       A. Yes, sir.                              20 understanding of what you might have been charged
21       Q. Okay. Did you receive anything         21 for?
22 else from the police department or in the mail  22       A. No. No, sir.
23 about this incident?                            23       Q. Is it possible that you might
24       A. Yes, sir.                              24 have been charged for not engaging in fighting
25       Q. What did you receive?                  25 but engaging in threatening or in violent or
                                              Page 91                                                Page 93
 1       A. Them saying that the charges have         1 tumultuous behavior?
 2 been dropped.                                      2       A. No, sir.
 3       Q. Okay. Was that in the form of a           3       Q. That's not possible or is that
 4 letter?                                            4 not your understanding?
 5       A. Yes, sir.                                 5       A. I wasn't doing that.
 6       Q. On this police criminal                   6       Q. I'm not asking you that. I'm
 7 complaint, Atkins-2, I'm actually going to ask     7 asking you what you were charged for. If you
 8 you to turn to the next page. At the bottom        8 don't know, that's fine.
 9 there's some Bates numbers. See where it says      9       A. I don't know.
10 Atkins, a bunch of zeroes and number two at the   10       Q. Okay. Were you aware that other
11 bottom?                                           11 individuals outside of the Reading pride event
12       A. Yes, sir.                                12 were holding signs?
13       Q. Okay. I want you to look at that         13       A. Yes, sir.
14 page, and do you see where it says PACC 503(A)(1) 14       Q. And I should clarify.
15 disorderly conduct?                               15 Individuals that were unassociated with the pride
16       A. Yes, sir.                                16 event but were standing on the opposite side of
17       Q. Under that, would you mind               17 the street like you were?
18 reading that paragraph?                           18       A. Yes, sir.
19       A. Out loud?                                19       Q. All right. And they were holding
20       Q. Yes, please.                             20 signs. Do you know if any of them were arrested?
21       A. In that on or about said date,           21       A. No, sir.
22 the defendant, with intent to cause substantial   22       Q. Do you know why they weren't
23 public inconvenience, annoyance or alarm or       23 arrested?
24 recklessly creating a risk thereof, he engages in 24       A. No, sir.
25 fighting or threatening or in violent or          25       Q. Did you ignore or violate any

                                                                                       24 (Pages 90 - 93)
                                   Veritext Legal Solutions Plaintiff's App. 025
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 27 of 116


                                               Page 94                                                  Page 96
 1 directives from Sergeant McClure?                      1       Q. Okay.
 2       A. No, sir.                                      2       A. Because I felt like I was getting
 3       Q. You mentioned the video where you             3 a lot of stuff at once. Like, people were
 4 were interviewed by CBN News. Do you remember          4 sending me stuff, and I just remember seeing
 5 that?                                                  5 this, but I thought it was above or below the
 6       A. Yes, sir.                                     6 video.
 7       Q. How did you -- how did you come               7       Q. So 69 News, is that different
 8 in contact -- or how did that come about? Did          8 than CBN news?
 9 someone ask you to do an interview?                    9       A. Yes, sir.
10       A. I'm not sure. I think it might               10       Q. There was a video of an interview
11 have came from Matt who put me in touch with the      11 with you. Is that what you're saying?
12 owner of the Lancaster Patriot who then said CBN      12       A. 69 News used a video when they
13 was trying to reach out to me, but WZM 69 News        13 came to my house. He shot an interview video
14 knocked on my door. That's how I interviewed          14 with me, and that's what I thought -- I think I
15 with them, but I don't really recall how I got in     15 remember someone sending me that video, and this
16 touch with CBN.                                       16 was above or below it, but once again, I'm
17       Q. Okay. So let me back up a little             17 not -- I don't want to misspeak. I'm not sure.
18 bit. Did you do some interviews with news             18       Q. Do you know if that video was
19 organizations after the event?                        19 ever aired on TV or the internet?
20       A. Yes, sir.                                    20       A. I think it was on their online
21       Q. Did you do those voluntarily?                21 internet, yeah, but I don't even think people
22       A. Yes, sir.                                    22 watch TV anymore, it seems like, so I'm not sure.
23       Q. Did anybody make you do those                23       Q. Was it on YouTube?
24 interviews?                                           24       A. Yeah. It was online, I think.
25       A. No, sir.                                     25 Yeah.
                                               Page 95                                                  Page 97
 1       Q. You could have refused the                    1       Q. And you think that this document
 2 interviews?                                            2 was attached as, like, a hyperlink or something
 3       A. Yes, sir.                                     3 that you could click on?
 4       Q. And all of them you did                       4       A. Yeah. Like, I thought I remember
 5 voluntarily?                                           5 reading this. Like I said, there was so much
 6       A. Yes, sir.                                     6 stuff people were sending me. This was above or
 7       Q. How many did you do?                          7 below the video that I watched from 69 News.
 8       A. Two.                                          8       Q. Okay.
 9       Q. One of them was with WFMZ?                    9            MR. CONLEY: For the record and
10       A. Yes, sir.                                    10       clarity, I will have it marked, the
11       Q. Was an article released in                   11       discussion concerning Atkins -- what's
12 relation to the interview that you did with WFMZ?     12       Bates-numbered as Atkins 7 through 8 I'll
13       A. Not that I'm aware of. I thought             13       have marked as Atkins-3.
14 it was just a news video.                             14            (A document was marked for
15       Q. Okay. I'm going to show you a                15       identification as Atkins Exhibit No. 3.)
16 document that's been produced as Atkins 78. I'm       16            (A short break was taken.)
17 going to ask you to look at it. I may put it in       17 BY MR. CONLEY:
18 evidence. I may not. Do you recognize this            18       Q. I was going to ask you about the
19 document? You can take a look at it.                  19 video that Matt Wear sent to you. After he sent
20       A. I recognize this. Yes.                       20 it to you, are you aware that that video was
21       Q. Have you seen this document                  21 posted to YouTube?
22 before or did you see this posted on the internet     22       A. Yes, sir.
23 somewhere before?                                     23       Q. Do you know who posted it to
24       A. I thought it was under or above              24 YouTube?
25 the video from 69 News, but I'm not sure.             25       A. He posted it.

                                                                                          25 (Pages 94 - 97)
                                   Veritext Legal Solutions Plaintiff's App. 026
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 28 of 116


                                            Page 98                                            Page 100
 1       Q. Did you object to him -- let me         1 rationale for raising those complaints against
 2 back up.                                         2 the city and the other defendants?
 3            Did he tell you that he was going     3           MR. READY: Object to form, but
 4 to post it to YouTube?                           4       you can answer.
 5       A. No, sir.                                5       Q. Do you understand?
 6       Q. Did you tell him don't post that        6       A. No, sir.
 7 to YouTube?                                      7       Q. Why did you raise those
 8       A. No, sir. I wasn't thrilled.             8 complaints?
 9       Q. You weren't thrilled?                   9       A. Why do I feel like defamation of
10       A. No.                                    10 character?
11       Q. Why not?                               11       Q. Why did you raise the complaints
12       A. It's his video. I don't know. I        12 against the city for defamation and publicity --
13 just -- I wasn't there to make a video. That    13       A. Because they said something that
14 wasn't my intent, so I just was hesitant. He    14 was untrue.
15 didn't even ask me, but it's his video.         15       Q. Hold on. Again, let me go back.
16       Q. Okay. Why wouldn't you -- was          16       A. I'm sorry.
17 there some reason that you didn't want it to be 17       Q. Why did you raise the complaints
18 posted online?                                  18 for defamation and publicity of a private event?
19       A. Because I wasn't there to make a       19       A. Because they said things that
20 video, so it just kind of caught me off guard.  20 were untrue.
21       Q. Okay.                                  21       Q. What was untrue?
22       A. It's something personal that           22       A. I saw an article where the cops
23 happened. Maybe I just felt like we should have 23 said I was there for an hour prior to the video
24 talked about it first.                          24 and there's more to this story, and it made feel
25       Q. If you had talked about it, would      25 like that wasn't true.
                                            Page 99                                            Page 101
 1 you have agreed to post the video?                1        Q. Did the police post that article?
 2        A. I probably would have asked him         2        A. Yes. On Fox News.
 3 not to do it.                                     3        Q. The police posted it?
 4        Q. Why?                                    4        A. Yes.
 5        A. I just feel like because I wasn't       5        Q. They told Fox News to post the
 6 there to make a video.                            6 article?
 7        Q. I understand that. I understand         7        A. It was posted to Fox News. It's
 8 your intent was not to make a video. I'm trying   8 the screenshot I have.
 9 to understand why you didn't want it posted?      9        Q. I understand, but Fox News posted
10        A. That's the reason why.                 10 it, right?
11        Q. Just because you didn't want           11        A. It says that that an officer told
12 it -- you weren't there for that intention?      12 Fox News, so yeah. Fox News posted it.
13        A. No. I wasn't there to make a           13        Q. So you're not saying that the
14 YouTube video and then a YouTube video was made, 14 police published something online?
15 so I just would have maybe -- if we talked about 15            MR. READY: Object to form. You
16 it, I probably would have asked him not to post  16        can answer.
17 it.                                              17        Q. Is that something -- go ahead.
18        Q. Do you think he had a right to         18        A. I felt like they weren't telling
19 videotape the events there?                      19 the truth.
20        A. Yes. Yes, sir.                         20        Q. You thought that it wasn't true
21        Q. You sued the defendants for            21 that you were there for over an hour?
22 defamation and publicity of a private event. Do  22        A. I wasn't there for over an hour.
23 you know about that?                             23        Q. Okay. How was that harmful to
24        A. Yes, sir.                              24 you?
25        Q. And the raising -- what was the        25        A. Well, because it makes me look
                                                                                  26 (Pages 98 - 101)
                                  Veritext Legal Solutions Plaintiff's App. 027
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 29 of 116


                                               Page 102                                                   Page 104
 1 like I'm lying, and I told you earlier I have a         1 interview question?
 2 fear of not telling the truth.                          2       A. The YouTube video.
 3       Q. How does it make you look like                 3       Q. What YouTube video?
 4 you're lying if there's no counterreference to          4       A. The YouTube video of the
 5 you saying that you were there for a short amount       5 incident.
 6 of time?                                                6       Q. How does that YouTube video of
 7       A. Because I went on CBN and said                 7 the incident -- the one posted by Matt Wear?
 8 that I just got there and then they released            8       A. Yes, sir.
 9 something that said I didn't just get there. I          9       Q. How does that have any bearing on
10 was there for an hour before Matt started              10 whether the chief of police chose to and went out
11 filming, and that made me feel like they were          11 of his way to make a statement?
12 trying to make it look like I'm lying.                 12       A. Because the video shows me just
13       Q. Did somebody compel you to go on              13 arriving.
14 CBN News?                                              14       Q. I'm not sure you're understanding
15       A. No. He called me and asked me,                15 my question. I'm asking you -- you said that the
16 and I said yes.                                        16 chief affirmatively on his own volition went out
17       Q. And you agreed?                               17 of his way to make a statement?
18       A. Yes, sir.                                     18       A. Yes, sir.
19       Q. Okay. The other articles that                 19       Q. He wasn't compelled to do it. It
20 were released in this case, and you produced a         20 wasn't in response to a question. He did it on
21 bunch of them in discovery, were any of them           21 his own. How does that video have any relation
22 published by the police department or the City of      22 to the chief's choice as you're saying it to make
23 Reading or any of the defendants in this case?         23 a statement?
24            MR. READY: Object to form. You              24       A. Because it shows it's not true
25       can answer.                                      25 what he said, so then I feel he went out of his
                                               Page 103                                                   Page 105
 1       A. No. I'm not understanding the                  1 way because he's not telling the truth.
 2 question.                                               2       Q. So you feel that he went out of
 3       Q. Did any of the defendants place                3 his way?
 4 something online or in the news print?                  4       A. Yes, sir.
 5       A. There was one other article I                  5       Q. Okay. You don't have any facts
 6 remember reading that the chief of police said          6 to support that other than your own feelings?
 7 that he stood by the officer and that there was         7            MR. READY: Object to form. You
 8 more to the story.                                      8       can answer.
 9       Q. Did the -- is it your contention               9       A. I have the video.
10 that the chief of police went out of his way to        10       Q. Again, not my question. My
11 make that statement?                                   11 question is that you feel that way. You don't
12       A. Yes, sir.                                     12 have any facts to support it?
13       Q. He wasn't asked that statement in             13       A. I have the video.
14 an interview?                                          14       Q. Again, not my question. My
15       A. I feel he went out of his way to              15 question is different. My question is: You feel
16 say that.                                              16 that way, but you don't have any facts to support
17       Q. How do you feel that? Do you                  17 it. Is that correct?
18 have any facts to support that?                        18            MR. READY: You're
19       A. Well, it's untrue.                            19       asking -- objection. You're asking about
20       Q. Okay. I'm not asking that.                    20       facts to support what?
21       A. The fact is the video. It's how               21       Q. What we've been -- what I've been
22 I feel.                                                22 talking about this whole time, whether the chief
23       Q. I'm asking what facts do you have             23 went out of his way on his own volition to make a
24 that the chief of police went out of his way to        24 statement and it wasn't in response to a
25 post -- or to say something and it wasn't an           25 question.

                                                                                         27 (Pages 102 - 105)
                                    Veritext Legal Solutions Plaintiff's App. 028
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 30 of 116


                                               Page 106                                                 Page 108
 1            MR. READY: You can answer if you             1 I would have liked to talk to him first, my
 2       know what the question is asking. I'll            2 lawyer.
 3       object to form of this.                           3        Q. Okay. I don't want to get into
 4       A. I'm not -- I'm not sure what                   4 any discussions that you had about that.
 5 you're saying. I'm not trying to be difficult           5        A. Yeah.
 6 either. Sorry.                                          6        Q. So people were calling you?
 7       Q. That's okay. If you don't know,                7        A. Yes.
 8 you can answer I don't know. I get the feeling          8        Q. Who was calling you?
 9 that you don't understand the question which is         9        A. All kinds of people. There were
10 fine. I'll get to those in a second.                   10 radio stations, and a lady was doing a podcast.
11            When you interviewed with CBN               11 Someone else was doing this over here. I felt
12 News, were you told that it would be posted            12 like I was being, like, pulled, and I wasn't sure
13 online?                                                13 what to do. Another part of me said, well, then
14       A. Yes, sir.                                     14 I'll just use this CBN to tell -- warn people
15       Q. You knew that it was going to be              15 about Jesus Christ of Nazareth, but then, like I
16 posted online at the time you did it?                  16 said, it just -- it was happening so fast.
17       A. Yes, sir.                                     17        Q. And were you able to use CBN to
18       Q. And you did it voluntarily?                   18 kind of spread your message about Jesus Christ?
19       A. Yes, sir.                                     19        A. Yes, sir.
20       Q. Okay. Did you sue Matt Wear or                20        Q. Do you know how many page views
21 CBN News for defamation or release of private          21 the CBN YouTube posting of your interview
22 information?                                           22 received?
23       A. No, sir.                                      23        A. No, sir. I know it was a few.
24       Q. Why not?                                      24 Matt's was a few, too. Then there was all these
25       A. Because I just felt once it was               25 reaction videos that came after it. They seemed
                                               Page 107                                                 Page 109
 1 out, it was already out, and I wasn't upset with        1 like they had a lot of views, too.
 2 him. I just felt like I would like to have              2       Q. And just for the clarity of the
 3 talked with Matt before that, but then I kind of        3 record, when you say a few, you mean more than
 4 felt like he has a right to video whatever he           4 three. It was a lot?
 5 wants.                                                  5       A. It was a lot. Thousands and
 6        Q. So once it was out and it was                 6 thousands. One of them was 500,000. I saw one
 7 already out, you felt no need to say no to the          7 that's 700,000.
 8 CBN News interview. Is that fair?                       8       Q. Okay. Did you go back and look
 9        A. Well, no. The reason I felt like              9 at how many page views were getting accumulated
10 I wanted to do the CBN was because the police          10 for either Matt Wear's video or video from CBN
11 report wasn't true, and I wanted to tell people        11 News?
12 that it wasn't true.                                   12       A. Well, I watched one reaction
13        Q. So you wanted to tell people                 13 video, and the comment, like, brought me to
14 that? You wanted that information out?                 14 tears, so then I said I'm not -- I can't look at
15        A. At the time I just -- I was                  15 this anymore. And since then I don't -- last
16 nervous, and it just happened. Everything was          16 night I looked at the video again, but I have
17 happening fast. I just was going with the              17 restricted it on my YouTube, so it doesn't let me
18 Lancaster Patriot gentleman that said I should do      18 see any comments because it just didn't -- it
19 it, so then I just -- I did it, but looking back,      19 didn't feel right when I read it.
20 you know, I probably wouldn't do it.                   20       Q. What kind of comments -- what
21        Q. You regret doing it?                         21 comment did you read that brought you to tears?
22        A. It's not that I regret it. It's              22       A. I don't really remember, but it
23 just -- it was like a blur. Everything was             23 wasn't a good comment. It felt like they were
24 happening so fast. So many people were calling         24 punching me in the stomach.
25 me and wanting to talk to me. Looking back now,        25       Q. Okay.

                                                                                        28 (Pages 106 - 109)
                                    Veritext Legal Solutions Plaintiff's App. 029
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 31 of 116


                                               Page 110                                                 Page 112
 1       A. Like, that's not why I was out                 1      A. Well, the Bible says that God's
 2 there, to get views or money. I just wanted to          2 word won't return void, so if someone hears it,
 3 tell people about Jesus Christ.                         3 then I will. That's not my intention. My
 4       Q. Okay. I know that you got a                    4 intention is to go do what he wants me to do.
 5 bunch of calls. Are you aware that the City of          5      Q. Do you object if somebody hears
 6 Reading, the police department and Officer              6 your voice when you do your street preaching?
 7 McClure were receiving a bunch of calls as well?        7      A. No, sir.
 8       A. I heard that. Yeah.                            8      Q. Again, if you can wait.
 9       Q. Where did you hear that?                       9      A. I'm sorry.
10       A. I thought I saw it on -- someone              10      Q. You're doing fine. I know it's
11 told me, and I saw it on the news that they were       11 hard. I'm going to read from your complaint
12 getting, like, all kinds of rude calls which I         12 which we have previously marked as Atkins-1. I'm
13 wouldn't want them to get. I didn't tell anyone        13 going to paragraph 41, and it says, quote: Eddie
14 to call them or want anyone to say anything, but       14 Moran, mayor of the City of Reading, who was
15 I just remember hearing that they couldn't even        15 present during the visit and after having further
16 operate they were getting so many phone calls.         16 opportunity to investigate the same, made a
17       Q. Do you want a break?                          17 public statement: Quote, with regard to the
18       A. No. I'm all right.                            18 incident, the city respects the First Amendment
19       Q. So you don't agree with that?                 19 rights of all individuals. However, freedom of
20       A. Absolutely not. No.                           20 speech does not include the right to disrupt an
21       Q. You don't agree with these people             21 organized event and interfere with the rights of
22 that were calling the police department and            22 others, end quote.
23 Officer McClure?                                       23           I'm sorry. You weren't reading
24       A. No.                                           24 along. I didn't ask you to. Do you have any
25       Q. Do you know that some of them                 25 objection as to whether I read that accurately?
                                               Page 111                                                 Page 113
 1 included direct threats against Officer McClure,        1           MR. READY: We'll stipulate that
 2 Sergeant McClure?                                       2      you read it accurately.
 3        A. No. I just remember hearing that              3      Q. Thank you. I apologize.
 4 they weren't nice, and I wouldn't want anyone to        4      A. That's okay.
 5 threaten him.                                           5      Q. And then in paragraph 42, if you
 6        Q. Do you have any personal animus               6 want to follow along, it says: Richard
 7 towards Sergeant McClure?                               7 Tornielli, chief of police for the Reading Police
 8        A. No, sir.                                      8 Department, after having opportunity to
 9        Q. Do you have any personal animus               9 investigate the incident, made a public
10 towards the City of Reading, Mayor Moran, Chief        10 statement: Our officers gave him warnings to
11 Tornielli?                                             11 cease that behavior as it was disrupting the
12        A. No, sir.                                     12 event that was taking place, end quote.
13        Q. And lastly, Courtney Dupree, no              13           The next paragraph says: The
14 personal animus?                                       14 foregoing statements by Eddie Moran and Richard
15        A. No, sir.                                     15 Tornielli are false and were willfully and
16        Q. I'm going to ramp it back down a             16 wantonly made by them to harm Atkins' reputation.
17 little bit.                                            17           Specifically with regard to
18             When you do your street                    18 paragraph 41, what exactly in the statement that
19 preaching, you intend to have an audience,             19 is quoted in paragraph 41 is false?
20 correct?                                               20           MR. READY: Object to form, but
21        A. No, sir.                                     21      you can answer.
22        Q. No?                                          22      A. What about 41 is false?
23        A. Uh-uh.                                       23      Q. What about the quotation that
24        Q. You don't intend for people to               24 begins with, quote, with regard to and ends with
25 hear your voice?                                       25 others, end quote, is false that's within

                                                                                        29 (Pages 110 - 113)
                                    Veritext Legal Solutions Plaintiff's App. 030
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 32 of 116


                                              Page 114                                                 Page 116
 1 paragraph 41 there?                                    1 claim that those statements were made with the
 2       A. What do I think is false in here?             2 purpose of harming your reputation?
 3       Q. I'm asking you what's false? If               3             MR. READY: Same objection. You
 4 there's nothing that's false, you can tell me          4        can answer.
 5 there's nothing that's false.                          5        A. The body cam footage showing
 6       A. Well, freedom of speech does not              6 they're not warning me.
 7 include the right to disrupt an organized event        7        Q. Again, the question is not -- how
 8 or interfere with the rights of others, I don't        8 does the body camera footage inform you about
 9 feel like I was interfering with the rights of         9 whether those statements were made to harm your
10 others. And organized event doesn't take away my      10 reputation?
11 right to be able to stand on there and street         11        A. Because they're not true.
12 preach.                                               12        Q. Which statement is not true?
13       Q. So the quotation there says --               13        A. That our officers gave him
14 doesn't mention you at all, does it?                  14 warnings to cease that behavior as it was
15       A. But no. Am I saying why I think              15 disrupting the event that was taking place.
16 this is false?                                        16 That's not true.
17       Q. I'm asking why you think it was              17        Q. So you're referring to 42?
18 false?                                                18        A. Yes, sir.
19       A. Because I wasn't disrupting the              19        Q. You're saying that that's not
20 rights of others, and an organized event doesn't      20 true?
21 take away my right to stand there and street          21        A. I didn't receive warning, sir.
22 preach.                                               22        Q. Now, my question is going to be a
23       Q. Okay. I understand what you're               23 little bit different. What evidence that you had
24 saying. My question is: There's nothing in that       24 or what evidence do you have that that statement
25 statement that I quoted to you in paragraph 41        25 was made -- and assuming it was false, that that
                                              Page 115                                                 Page 117
 1 that refers to you, is there? It doesn't say           1 statement was made for the purpose of harming
 2 that you, Damon Atkins, were disrupting an event?      2 you?
 3       A. Oh, no. No, sir.                              3            MR. READY: Object to form again,
 4       Q. Okay. So it's not false in that               4       but you can answer if you're able.
 5 regard?                                                5       Q. My question, just for clarity, is
 6       A. No, sir.                                      6 not whether it was false. My question is: What
 7       Q. Okay. And it doesn't say that                 7 evidence you have about the intent behind the
 8 you, Damon Atkins, were interfering with the           8 statement?
 9 rights of others?                                      9       A. Well, I feel if you say something
10       A. I'm sorry. No, sir.                          10 that's not true, your intent is to harm you.
11       Q. Okay. So it's not false in that              11       Q. Okay. So you assume intent from
12 regard either?                                        12 a falsehood?
13       A. No, sir.                                     13       A. If it's not the truth, why would
14       Q. With regard to the statement in              14 you say it?
15 paragraph 43 that that statement was made to harm     15       Q. Well, don't people make mistakes?
16 you and harm your reputation, what facts do you       16       A. I just feel like that statement
17 have to support that allegation that that             17 is untrue.
18 statement was made to harm you or to harm your        18       Q. Okay. Aside from it being
19 reputation?                                           19 untrue, do you have any other evidence or
20           MR. READY: Object to form. You              20 information as to whether it was made or why it
21       can answer.                                     21 was made as you claim here that it was made to
22       A. They didn't warn me.                         22 harm your reputation?
23       Q. Okay. So you're saying you                   23            MR. READY: Same objection. You
24 weren't warned. I'm asking you a different            24       can answer.
25 question. What facts do you have to support the       25       A. I have the video.
                                                                                       30 (Pages 114 - 117)
                                   Veritext Legal Solutions Plaintiff's App. 031
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 33 of 116


                                              Page 118                                                 Page 120
 1       Q. Other than the video?                         1 for the company. Then someone came up and said
 2       A. No, sir.                                      2 that they recognized me from the YouTube video,
 3       Q. Okay. Did those statements that               3 and she said she was going to -- when she said I
 4 you read in paragraphs 41 and 42 lower your            4 was a good fit for the company, she said she'll
 5 reputation in the community or have any effect on      5 call me in a day or so, and she never called, and
 6 your reputation in the community?                      6 they wouldn't return my call, so I kind of just
 7       A. Yes, sir.                                     7 thought that was strange.
 8       Q. How so?                                       8       Q. Okay. Was it a different person
 9       A. It makes me like I'm not telling              9 that told you about the video?
10 the truth.                                            10       A. I spoke to a lady that said I was
11       Q. Has anybody told you -- has                  11 a good fit for the company. Then someone came
12 anybody come to you and said, hey, Damon Atkins,      12 up, and I heard them say that I was on the
13 you're a liar based upon these statements?            13 YouTube video and then she said she was going to
14       A. No, sir.                                     14 give me a call before they started talking and
15       Q. Nobody has said that?                        15 then she never called me. And I called them, and
16       A. No, sir.                                     16 she didn't return my call.
17       Q. Okay. You feel that way?                     17       Q. Okay. I think I understand. So
18       A. Yes, sir.                                    18 in the course of your interview, a third party
19       Q. Has anybody -- have you lost an              19 came in?
20 employment opportunity because of these               20       A. Yeah. Came in. Sorry to
21 statements?                                           21 interrupt.
22       A. I applied to a job, and one of               22       Q. That's okay. With regard to the
23 the people recognized me, and they didn't call me     23 statement in paragraph 42, is it your allegation
24 back, but I can't really put that to that, but I      24 that that statement harmed your reputation?
25 just felt like she looked at me weird after she       25       A. Yes, sir.
                                              Page 119                                                 Page 121
 1 said that I was on the YouTube video, but...           1        Q. How so? How did it harm your
 2       Q. She said that she recognized you              2 reputation?
 3 from the YouTube video?                                3        A. Because it's not the truth.
 4       A. Yes, sir.                                     4        Q. Did anybody tell you, hey, I saw
 5       Q. And then you didn't receive that              5 this statement in paragraph 42 and I now think
 6 job?                                                   6 that you don't tell the truth?
 7       A. No.                                           7        A. No, sir.
 8       Q. What job was that?                            8        Q. Okay. Did you lose any
 9       A. And they said I had it until she              9 employment opportunities because of that?
10 said that they saw me on the YouTube.                 10        A. No, sir.
11       Q. And is she referring to the Matt             11        Q. Okay. So other than your own
12 Wear YouTube video?                                   12 feelings, do you have any evidence that other
13       A. Yes, sir.                                    13 people hold you in lower regard because of the
14       Q. What job was that?                           14 statements contained within the complaint?
15       A. It was a dishwashing job at a                15        A. No, sir.
16 restaurant. I'm not sure the name. I'm sorry.         16        Q. Okay. I'm going to ask you to
17       Q. That's okay.                                 17 read paragraph 44 and just read it to yourself.
18       A. It was a while ago.                          18 It's a longer one, so I'm not going to have you
19       Q. And just to clarify, she didn't              19 read it out loud.
20 say, hey, I saw you on the YouTube video.             20        A. (Witness complies with request.)
21 Therefore, I'm not going to hire you?                 21        Q. Are you done?
22       A. No.                                          22        A. Yes, sir.
23       Q. But it's your feeling that you               23        Q. Is there anything within
24 weren't hired because --                              24 paragraph 44 that you claim is untrue?
25       A. At first she said I'm a good fit             25        A. No, sir.
                                                                                       31 (Pages 118 - 121)
                                   Veritext Legal Solutions Plaintiff's App. 032
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 34 of 116


                                                Page 122                                                  Page 124
 1      Q. Do you see paragraph 45 where it                 1 respectfully it is your complaint.
 2 says Tornielli made the foregoing statements,            2            MR. READY: I'm going to object
 3 those in paragraph 44, were made to, quote,              3       to the form. It's a complaint filed on
 4 further chill the speech of Americans, end quote.        4       his behalf. That doesn't mean he's going
 5 Do you see that?                                         5       to understand the legal language in it.
 6      A. Yes, sir.                                        6       You're allowed to ask him about it, but
 7      Q. What evidence do you have that                   7       just object to the form as if it's his
 8 those statements were made to chill the speech of        8       statement.
 9 Americans?                                               9            MR. CONLEY: I mean -- okay.
10            MR. READY: Object to form. You               10 BY MR. CONLEY:
11      can answer.                                        11       Q. I'm trying to understand what you
12      A. I'm not sure I understand the                   12 mean by saying in this complaint that, yes, it is
13 question.                                               13 filed on your behalf. You agree with that,
14      Q. Do you understand what it means                 14 right?
15 to chill the speech of Americans?                       15       A. Yes.
16      A. No, sir.                                        16       Q. And you reviewed the complaint?
17      Q. Respectfully, it's your                         17       A. Yes, sir.
18 complaint.                                              18       Q. Okay. And everything in the
19            MR. READY: Objection.                        19 complaint met with your approval?
20      Q. What do you mean by that?                       20            MR. READY: Object to the form.
21            MR. READY: Object to form. You               21       Q. If there's something that didn't
22      can answer if you can.                             22 meet your approval, you can tell me about it. If
23      A. To try to stop the calls from                   23 you disagree with paragraph 45 and you want to
24 coming in. I didn't want any of this to happen.         24 say, hey, Mr. Conley, it shouldn't be in here,
25      Q. You didn't want the calls to come               25 feel free.
                                                Page 123                                                  Page 125
 1 in. Is that what you're talking about in 45              1            MR. READY: I'm going to object
 2 here, paragraph 45?                                      2       to the form. You can try and answer if
 3       A. Yes. I didn't tell anyone to                    3       you'd like.
 4 call them.                                               4       A. I'm not trying to be, like, rude.
 5       Q. Do you think that there were any                5 I don't understand what you're asking me.
 6 Americans -- any other American citizens or              6       Q. I'm trying to ask you what speech
 7 people inhabiting America, maybe they're not             7 of Americans were chilled? And when I say
 8 citizens, that were prevented or decided not to          8 chilled, I mean they read something, they heard a
 9 express their opinions because of the statements         9 comment, and they decided that I'm not -- me, the
10 made by Chief Tornielli that are reflected in           10 American, I'm not going to make a statement now
11 paragraph 44?                                           11 because I've heard what Chief Tornielli said.
12       A. What do you mean? Because of the               12            MR. READY: Object to the form.
13 statement, they didn't call in?                         13       Calls for speculation, but you can
14       Q. No. I don't know. You tell me.                 14       answer.
15       A. I don't understand what you're                 15       A. I feel that this was said to try
16 asking me.                                              16 to stop people from aggressively calling.
17       Q. Is there anything that Americans               17       Q. The police department?
18 didn't say, anything at all, based upon the             18       A. Yes.
19 statements attributed to Chief Tornielli in             19       Q. With threats?
20 paragraph 44?                                           20       A. Yes. Like, almost, like, you
21            MR. READY: Object to the form.               21 don't have to call on my behalf because there's
22       A. I don't understand what you're                 22 more to the story is how I feel when I see that.
23 asking me.                                              23       Q. Okay. Do you have any evidence
24       Q. I'm asking you. I'm trying to                  24 that any Americans didn't make calls to the
25 understand what you mean by your complaint, and         25 police department because of the statements in

                                                                                          32 (Pages 122 - 125)
                                    Veritext Legal Solutions Plaintiff's App. 033
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 35 of 116


                                               Page 126                                                 Page 128
 1 paragraph 44?                                      1 the City of Reading?
 2            MR. READY: Object to the form.          2       A. No. Just how I was treated.
 3       You can answer.                              3       Q. Okay. Is it fair to say that
 4       A. I didn't want anyone to call.             4 your interpretation of how you were treated is
 5       Q. I understand you didn't want them         5 the basis for the statements you made that the
 6 to. My question is a little bit different. I'm     6 city has that policy?
 7 asking if you know of any people who intended to   7       A. Yes, sir.
 8 call that didn't because of the statements in      8       Q. Regarding those allegations, the
 9 paragraph 44?                                      9 statements attributed to Chief Tornielli in
10       A. No, sir.                                 10 paragraph 44, would you agree with me that the
11       Q. Okay. In paragraph 49 of the             11 purpose of those statements was to address the
12 complaint, the allegation is as follows, quote:   12 amount of calls coming into the city and the
13 Based on the foregoing, it is the policy of the   13 police department about the incident?
14 City of Reading to accord a privileged status to  14       A. I think that the reason that was
15 the LGBTQ pride movement, which privileged status 15 said was because of the amount of calls that were
16 equates any dissenting viewpoint from LGBTQ       16 coming in, yes. Yes, sir.
17 identity politics or from the public promotion of 17       Q. Is there anything in the
18 LGBTQ practice as "derogatory comments,"          18 statements attributed to Chief Tornielli in
19 "insults" and "hate speech," which must be        19 paragraph 44 that is derogatory or harms your
20 chilled and suppressed, including by force of the 20 reputation?
21 Reading police department.                        21           MR. READY: Object to form. You
22            Aside from some of the quotation       22       can answer.
23 marks, did I read that accurately?                23       A. They're not talking about me in
24       A. Yes, sir.                                24 this paragraph.
25       Q. What information do you have, if         25       Q. Okay.
                                               Page 127                                                 Page 129
 1 any, to support the allegation that the City of         1       A. They're just talking about the
 2 Reading holds that policy?                              2 phone calls, which I didn't want anyone to call.
 3       A. Because the officer stated I was               3       Q. Did you have the intent to make a
 4 yelling derogatory comments.                            4 phone call to the city to complain?
 5       Q. Aside from the officer stating                 5       A. I didn't call them at all. No.
 6 that, do you have any other information that it         6       Q. My question was just slightly
 7 was the policy of the City of Reading?                  7 different. Did you have the intent to call them?
 8            MR. READY: Object to form.                   8       A. I never wanted to call them. No.
 9       You're asking him personally, correct?            9 No, sir.
10            MR. CONLEY: Yeah. What he                   10       Q. After the -- I'm going to talk
11       knows. It's his complaint. I want to             11 about both of them together. After the YouTube
12       know what evidence he has.                       12 video posted by Matt Wear and the YouTube video
13            THE WITNESS: Well, I was                    13 of the CBN News interview, after they were posted
14       arrested, so it feels like they got to           14 to the internet, did you do anything to promote
15       have their day, but I didn't get the             15 those videos?
16       same. And then it was said that I yelled         16       A. No, sir.
17       derogatory statements, and I didn't.             17       Q. You didn't tell anybody to watch
18 BY MR. CONLEY:                                         18 them?
19       Q. Are you aware of any written                  19       A. I sent the video of Matt Wear to
20 policy, like a document that says that this is         20 my family.
21 the policy of the City of Reading?                     21       Q. How did you send it? Via text or
22       A. No, sir.                                      22 email?
23       Q. Okay. Are you aware of any                    23       A. Text. A group text.
24 emails, correspondence, memos that indicate that       24       Q. Was it all your brothers and
25 the allegation in paragraph 49 is the policy of        25 sisters or just your sisters?

                                                                                        33 (Pages 126 - 129)
                                    Veritext Legal Solutions Plaintiff's App. 034
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 36 of 116


                                             Page 130                                                   Page 132
 1       A. It was friends and family.                   1 evidence that the purpose -- my question is about
 2       Q. Do you know how many people you              2 the purpose of the arrest was to retaliate
 3 sent it to?                                           3 against you for your speech?
 4       A. I would say about maybe eight, I             4       A. Yes, sir.
 5 think.                                                5       Q. What evidence is that?
 6       Q. You probably don't remember                  6       A. This.
 7 exactly who you sent it to, but can you give me       7       Q. The affidavit of probable cause?
 8 any names of the people that were included in         8       A. Yes, sir.
 9 that group text?                                      9       Q. Okay. And what exactly in the
10       A. Brian, Toni, Nikki. I don't                 10 affidavit of probable cause leads you to believe
11 remember the rest. I'm sorry.                        11 that the purpose of the arrest was to retaliate
12       Q. That's okay. Brian, what's his              12 against you for the content of your speech?
13 last name?                                           13       A. The sworn sincerity, the truth of
14       A. Brian Page.                                 14 this that's not.
15       Q. Is he a friend?                             15       Q. So you're saying that's untrue?
16       A. Yes.                                        16       A. Yes, sir.
17       Q. Toni, what's his last name?                 17       Q. My question is about the purpose.
18       A. Toni is my sister.                          18 What evidence do you have that the purpose of
19       Q. So is it spelled T-O-N-I?                   19 that affidavit, assuming for the purposes of the
20       A. T-O-N-I, yeah. Fritz. It's her              20 deposition here that it was untrue, that the
21 husband's name.                                      21 purpose was retaliatory?
22       Q. Okay. And who's Nikki?                      22       A. Because it's not true.
23       A. Nikki is my sister, and her last            23       Q. Okay. Other than that, do you
24 name is the same, Atkins.                            24 have any other evidence?
25       Q. Okay. After the incident and                25       A. No, sir.
                                             Page 131                                                   Page 133
 1 after you were released, did you require any      1       Q. Okay. Same thing with the video.
 2 medical attention from a doctor?                  2 What evidence do you have in relation to the
 3       A. No, sir.                                 3 video to suggest that the purpose of the arrest
 4       Q. Did you go to any doctor to get          4 was retaliatory?
 5 checked out to see if you were okay?              5       A. Because they didn't like what I
 6       A. No, sir.                                 6 was saying.
 7       Q. Did you go to any psychologist or        7       Q. How do you know that they didn't
 8 mental health counselor for counseling or mental 8 like what you were saying?
 9 health services after your arrest?                9       A. Because I didn't even get to
10       A. No. I felt like I went to the           10 finish what I was saying.
11 Bible.                                           11       Q. How do you know that you didn't
12       Q. Okay. So you weren't treated by         12 get to finish because they didn't like what you
13 any medical professional?                        13 were saying?
14       A. No, sir.                                14       A. Because I was placed in
15       Q. Okay. Do you have any evidence          15 handcuffs.
16 that the purpose of your arrest was to retaliate 16       Q. How do you know that you were
17 against you for speech that you were making? 17 placed in handcuffs because they didn't like what
18           MR. READY: Object to form. You 18 you were saying?
19       can answer.                                19       A. Because when I started to say it,
20       A. I have a video.                         20 I was placed in handcuffs.
21       Q. Which video?                            21       Q. Is it the timing of the placement
22       A. The YouTube video.                      22 of handcuffs and what you were saying that leads
23       Q. The Matt Wear video?                    23 you to believe that? I'm not trying to be
24       A. Yes, sir.                               24 difficult.
25       Q. Aside from that, do you have any        25       A. I'm not trying to be difficult

                                                                                       34 (Pages 130 - 133)
                                   Veritext Legal Solutions Plaintiff's App. 035
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 37 of 116


                                             Page 134                                                  Page 136
 1 with you. I feel like they didn't want me to say      1 retaliatory and the disagreement with viewpoint?
 2 what I wanted to say.                                 2       A. Yes, sir.
 3       Q. Okay.                                        3       Q. Okay. So your interpretation or
 4       A. So they retaliated by arresting              4 your view of the interactions leads you to
 5 me.                                                   5 believe that?
 6       Q. Okay. And you're basing that on              6       A. It's not my interpretation. It's
 7 the totality of the circumstances?                    7 what happened. Their actions made me feel that
 8       A. I'm basing it on the events that             8 way.
 9 took place there.                                     9       Q. Okay. You don't have any -- you
10       Q. Okay. And your interpretation as            10 didn't ask Sergeant McClure if he arrested you
11 to why?                                              11 out of malice?
12       A. Well, I wouldn't say it's                   12       A. No, sir.
13 interpreting. It's what happened.                    13       Q. And he didn't tell you that he
14       Q. Fair enough. Okay. My question              14 arrested you out of malice?
15 is more related to interpretation of their           15       A. He said things that made me feel
16 intent, the officer's intent?                        16 that way.
17       A. Their intent was to silence me.             17       Q. What things?
18       Q. Did you ask any of the officers             18       A. He said I'm embarrassing myself
19 if your intent was to silence -- if their intent     19 and that he didn't care about why I was there,
20 was to silence?                                      20 and he didn't care about the Bible.
21       A. No, sir.                                    21       Q. Did he specifically say I don't
22       Q. And, again, I'm not trying to be            22 care about why you're here?
23 difficult, but you're interpreting their actions     23       A. I believe so. Yes.
24 as intent to silence you. Is that fair?              24       Q. Did he specifically say I don't
25       A. Well, their actions silenced me,            25 care about the Bible?
                                             Page 135                                                  Page 137
 1 so I'm not interpreting it.                           1       A. I brought up a scripture to him,
 2       Q. I'm talking about the intent.                2 and he said I don't care about that.
 3       A. Their intent was to silence me.              3       Q. And so you believe that he was
 4       Q. Based upon their actions?                    4 saying he doesn't care about the Bible based upon
 5       A. Their actions, yes, sir.                     5 that statement?
 6       Q. Okay. Okay. Do you believe that              6       A. He didn't care about the
 7 the officers disagreed with your viewpoint that       7 scripture I should have said. I'm sorry.
 8 you were trying to express?                           8       Q. He didn't care about the
 9       A. Yes, sir.                                    9 scripture?
10       Q. What leads you to believe that              10       A. That I was saying, yeah.
11 they disagreed with your viewpoint?                  11       Q. Might it be that he didn't care
12       A. Because they put me in handcuffs.           12 about not what the scripture said but what you
13       Q. So for the same reasons that we             13 were saying?
14 just discussed about intent about retaliatory?       14       A. He said he didn't care about the
15       A. Yes, sir.                                   15 scripture.
16       Q. Okay. One of the allegations in             16       Q. He said specifically I don't care
17 your complaint is that you were -- there's a         17 about the scripture?
18 malicious prosecution claim that you were            18       A. I said, what about First
19 prosecuted maliciously. Do you have any evidence     19 Corinthians, and he said, I don't care about
20 or what evidence do you have that Sergeant           20 that, so, you know.
21 McClure acted maliciously or for a purpose other     21       Q. That's your understanding?
22 than bringing you to justice in arresting you?       22       A. Yes, sir.
23       A. The video.                                  23       Q. Okay. You raise an allegation
24       Q. Okay. And is it the same as what            24 against the city that it failed to train its
25 you were talking about with the intent to be         25 police officers. Are you aware of that?

                                                                                       35 (Pages 134 - 137)
                                   Veritext Legal Solutions Plaintiff's App. 036
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 38 of 116


                                               Page 138                                                  Page 140
 1       A. Yes, sir.                                      1       Q. Let me just get the question out
 2       Q. Okay. How did they fail to train               2 because I need the record to be clear.
 3 their police officers?                                  3            Other than their actions, do you
 4           MR. READY: Object to form, but                4 have any specific knowledge that the city failed
 5       you can answer.                                   5 to train its police officers?
 6       A. Because I thought he was there to              6       A. No, sir.
 7 protect my rights as well.                              7       Q. Okay. Have you been ostracized
 8       Q. And you're saying that he didn't               8 by any community because of your involvement in
 9 protect your rights?                                    9 the events on June 3rd, 2023?
10       A. He placed me in handcuffs.                    10       A. Well, I feel like the community
11       Q. I'm asking if he didn't --                    11 is my community, and I just hope they didn't get
12       A. I don't feel like he did. No.                 12 the wrong impression on why I was there. Like, I
13       Q. Okay.                                         13 don't even like saying the LGBTQ community
14       A. He might not have agreed with                 14 because I feel like they're my brothers and
15 what I was saying, but I have a right to stand         15 sisters, so I don't -- I didn't specifically hear
16 there and say it.                                      16 from anyone, but I just hope it didn't make it
17       Q. And you believe that that                     17 look like I was there to disrespect the police,
18 happened because he wasn't properly trained?           18 Reading or the event that was going on. And
19       A. I believe he wasn't trained on my             19 before I stopped reading the comments, I can tell
20 rights. Yes, sir.                                      20 they didn't understand why I was there.
21       Q. Okay.                                         21       Q. Who's "they"? The people that
22       A. Because he didn't stick up for                22 were commenting on the YouTube channel?
23 them.                                                  23       A. Yeah. Yeah. Like, they thought
24       Q. Other than the fact that from                 24 I was there to get views or to be aggressive
25 what you're telling me that he didn't stick up         25 towards people, and I wasn't. I didn't say
                                               Page 139                                                  Page 141
 1 for your rights, do you have any other evidence         1 anything to anyone across the street. I started
 2 that he wasn't properly trained?                        2 quoting the Bible verse.
 3       A. The other two officers weren't                 3       Q. Did you see any comments on
 4 properly trained either because they didn't even        4 either of the YouTube channels or any of the
 5 say anything. They just watched him violate my          5 digital articles that were supportive of you?
 6 rights.                                                 6       A. I saw both until I saw, like I
 7       Q. Okay. Do you think that they                   7 said, the one comment. It felt like they punched
 8 should have said something?                             8 me in the stomach, and that's when I decided I
 9       A. If you were trained on rights,                 9 can't look at these comments anymore, and now I
10 wouldn't you think that you would stick up for         10 can't see comments on my YouTube channel.
11 them?                                                  11       Q. Did you have to hire a criminal
12       Q. Okay. So what I'm trying to                   12 defense attorney after the arrest?
13 understand, based upon their actions, you assume       13       A. One said they would represent me
14 they weren't trained?                                  14 free of charge.
15       A. Based upon their actions, they                15       Q. You didn't pay anybody for
16 weren't trained. I felt they weren't. I didn't         16 helping --
17 assume. They showed me by their actions that           17       A. No, because the charges got
18 they didn't care about my First Amendment right.       18 dropped.
19       Q. Do you have any specific                      19       Q. How quickly were the charges
20 knowledge about the training that the City of          20 dropped?
21 Reading provided to its police officers?               21       A. It seemed pretty quick. I don't
22       A. Their actions.                                22 remember, like, exactly time, but it was way
23       Q. Other than actions of the                     23 before my court date. Do you want to take a
24 officers, do you have any specific knowledge --        24 break and get some water or something?
25       A. No, sir. No.                                  25            MR. CONLEY: Let's go off the

                                                                                         36 (Pages 138 - 141)
                                    Veritext Legal Solutions Plaintiff's App. 037
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 39 of 116


                                               Page 142                                                   Page 144
 1        record.                                          1 He said he was going to pray for me.
 2              (A short break was taken.)                 2       Q. I'm going to show you a document
 3 BY MR. CONLEY:                                          3 that I'm going to have marked as Atkins-4.
 4        Q. Some more general questions.                  4            (A document was marked for
 5 Aside from your lawyer, have you talked to              5       identification as Atkins Exhibit No. 4.)
 6 anybody about this incident?                            6 BY MR. CONLEY:
 7        A. Yes.                                          7       Q. I've shown you a document which
 8        Q. Who have you talked to?                       8 we've marked as Atkins-4, and it's titled
 9        A. Well, I talked to the guy from                9 plaintiff's responses to defendants' first set of
10 Lancaster Patriot. I talked to Brother Jose. I         10 interrogatories. Do you see that title?
11 talked to WFMZ 69. I've talked to my friends and       11       A. Yes, sir.
12 family about it.                                       12       Q. Have you ever seen this document
13        Q. Have you talked --                           13 before?
14        A. I'm not trying to not mention                14       A. I remember the questions. I
15 anyone if I make a mistake, but like I said,           15 haven't seen this document, though. No, sir.
16 there was -- so many people were texting and           16       Q. So you remember being asked
17 calling me, and anyone that wanted to talk about       17 questions in written form that you had to respond
18 it, I at first wanted to talk about it.                18 to with the help of your counsel?
19        Q. I'm not going to hold you to it              19       A. Yes, sir.
20 that the names you gave me were an exhaustive          20       Q. Okay. I don't want to know
21 list. You spoke to a lot of people --                  21 anything about what you discussed with your
22        A. Yes, sir.                                    22 counsel when asking questions about these. Is
23        Q. -- about the incident?                       23 that fair?
24        A. Yes, sir.                                    24       A. Yes, sir.
25        Q. Have you spoken to anyone about              25       Q. So on page 3, do you see
                                               Page 143                                                   Page 145
 1 the lawsuit? Do you understand the difference           1 interrogatory number 4? It's the one that starts
 2 that I'm asking?                                        2 with four and then asks you to please identify
 3       A. Yes.                                           3 with specificity. Do you see that?
 4       Q. Who have you spoken to, other                  4       A. Yes, sir.
 5 than your counsel, about the lawsuit?                   5       Q. Can you read that whole paragraph
 6       A. Well, Brother Jose asked me about              6 to yourself?
 7 it. My sisters asked me about it. My friend             7       A. Okay.
 8 Brian asked me about it. I think Lancaster              8       Q. Did you read both the request and
 9 Patriot asked me as well. They asked me if I had        9 the answer or just the request?
10 counsel, if I needed help, if I needed anything        10       A. I read the answer.
11 to let them know.                                      11       Q. Okay. I'm going to direct you to
12       Q. Did they all ask similar                      12 the request where it starts with four where it
13 questions?                                             13 says: Please identify with specificity -- I'll
14       A. Pretty much. Yeah.                            14 just read it.
15       Q. Okay. Did anybody ask you why                 15           Please identify with specificity
16 you filed the lawsuit?                                 16 any and all damages which you contend were
17       A. One time I was street preaching,              17 suffered as a result of this incident, including,
18 and a stranger passed me by and said he                18 but not limited to, damage or injury to person(s)
19 recognized me, and he asked me if I was going to,      19 or reputation. Describe in detail how these
20 and I said, yeah. He said, why?                        20 damages were calculated and attach to the
21       Q. If you were going to file a                   21 accompanying defendants' request for production
22 lawsuit?                                               22 of documents any and all documents which support
23       A. Yes, sir.                                     23 these allegations?
24       Q. That was just a random person?                24           In your answer to that, the
25       A. Yeah. I didn't know who he was.               25 answer reads: To the best of plaintiff's

                                                                                         37 (Pages 142 - 145)
                                    Veritext Legal Solutions Plaintiff's App. 038
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 40 of 116


                                              Page 146                                                  Page 148
 1 knowledge and information at this time, which is       1 reputational harm. I want to ask you about
 2 subject to investigation, plaintiff has not            2 emotional distress. What type of emotional
 3 determined that he suffered any pecuniary loss as      3 distress have you suffered?
 4 a result of this incident.                             4       A. Well, just the whole situation,
 5            Do you see that?                            5 and now I'm weary when I'm street preaching if
 6       A. Yes, sir.                                     6 I'm going to have another encounter with the
 7       Q. Since the time that these answers             7 police. My name is now attached to companies
 8 were provided, and I'll represent to you that          8 selling T-shirts saying they're the official
 9 they were sent to me on January 15, 2024, have         9 shirt of Damon Atkins, and that does not feel
10 you determined that you've suffered any pecuniary     10 good.
11 loss?                                                 11       Q. Have you contacted any of those
12       A. This answer I feel like is since             12 companies --
13 then -- I still feel the same way is the answer.      13       A. There's so many of them. No.
14       Q. You don't feel that you've had               14       Q. Okay. Again, just wait for my
15 any monetary damages?                                 15 question.
16       A. No, sir.                                     16       A. I'm sorry.
17       Q. You haven't lost any money out of            17       Q. Have you contacted any of those
18 your pocket?                                          18 companies to have them stop selling or promoting
19       A. No, sir.                                     19 those T-shirts?
20       Q. You haven't had to pay any bills             20       A. No, sir.
21 or anything like that that you otherwise wouldn't     21       Q. You say there's more than one?
22 have to pay?                                          22       A. Yeah. I wanted to, but then when
23       A. No, sir.                                     23 I clicked on the site, I saw things that were not
24       Q. Have you earned any money because            24 okay. So I just exited off, and I kind of feel
25 of this incident?                                     25 at this point it is what it is.
                                              Page 147                                                  Page 149
 1       A. No, sir.                                  1       Q. What do you mean by you saw
 2       Q. Did any of the news interviews            2 things that weren't okay?
 3 pay you?                                           3       A. They're selling things that are
 4       A. No, sir. Nor would I want to be           4 inappropriate to me, so I just got off the
 5 paid.                                              5 website. Instead of trying to scroll down and
 6       Q. Did they offer to pay you?                6 find where you can send them an email, I just saw
 7       A. No, sir.                                  7 inappropriate things, and I just got off the
 8       Q. Did anybody offer to hire you as          8 website.
 9 a consultant or anything like that after the       9       Q. I don't want to make you
10 incident?                                         10 uncomfortable, but I'm trying to understand what
11       A. No. I received calls and letters         11 you mean by inappropriate things?
12 from lawyers saying they would represent me for 12         A. Just in my -- just things that I
13 free, but no, sir.                                13 didn't want to see my name attached to.
14       Q. Okay. Other than from a lawyer,          14       Q. Like what?
15 you didn't receive any offers?                    15       A. Like, T-shirts and ungodly
16       A. No, sir.                                 16 things.
17       Q. The next line of the answer to           17       Q. What was an ungodly thing that
18 interrogatory number four reads: Rather,          18 your name was attached to?
19 plaintiff has suffered nonpecuniary loss as a     19       A. My name is attached to the
20 result of the incident in an amount to be         20 company, and the company is selling those things.
21 determined at trial, which is in the nature of    21       Q. And you're saying it's ungodly
22 emotional distress, anguish, humiliation, loss of 22 that they're using your name without your
23 liberty, violation of constitutional rights and   23 permission?
24 reputational harm.                                24       A. No. That's not ungodly. What's
25            I think I've gone through              25 ungodly is my name being attached to that

                                                                                        38 (Pages 146 - 149)
                                   Veritext Legal Solutions Plaintiff's App. 039
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 41 of 116


                                           Page 150                                            Page 152
 1 company. It makes me feel like if someone were 1         A. Because that's what created this
 2 to see that, it looks like I'm a representative  2 video.
 3 of that company, and that's not true. And I      3       Q. The police officer didn't create
 4 never wanted it to be that way.                  4 the video. Somebody else did.
 5      Q. Do you disagree with the beliefs         5       A. But him taking away my rights
 6 or mission of that company?                      6 created the video.
 7      A. Some of them, yes, sir.                  7       Q. Okay. I'm trying to understand.
 8      Q. Can you explain to me what those         8 Did he have any intent for your name to get on
 9 beliefs are that you disagree with? I'm just     9 T-shirts by arresting you?
10 trying to understand this.                      10       A. I feel like he didn't not have
11      A. Yeah. I just felt uncomfortable         11 the intent.
12 when I went to their website.                   12       Q. What does that mean, he didn't
13      Q. Were they, like, websites that          13 not have the intent?
14 were promoting some, like, lewd or lascivious 14         A. Because he just disregarded my
15 behavior?                                       15 rights. It's like he didn't even think about
16      A. Well, both, yeah, and selling           16 what was going to happen when he did that.
17 T-shirts at the same time.                      17       Q. Other than the fact of the
18      Q. Was it, like, pornography?              18 arrest, is there anything else that would connect
19      A. It was -- it just made me               19 the officer to the T-shirts?
20 uncomfortable.                                  20       A. No, sir.
21      Q. Okay. Yes or no, was it                 21       Q. So we talked about you being
22 pornography?                                    22 weary of police officers and these T-shirts. Has
23      A. I didn't see that, but what I saw       23 your feeling of weariness of police officers at
24 was uncomfortable to me.                        24 other street preaching incidents or events caused
25      Q. Okay. Was it --                         25 you not to street preach?
                                           Page 151                                            Page 153
 1           MR. CONLEY: Can we go off the         1       A. It's definitely caused me to
 2      record here?                               2 hesitate. I haven't done it as much as I
 3           (A discussion was held off the        3 normally would, and I don't feel the same way I
 4      record.)                                   4 did before this incident happened.
 5           MR. READY: Can you just explain,      5       Q. What does that mean you don't
 6      what were those other products that the    6 feel the same way?
 7      companies were selling that were ungodly? 7        A. I felt -- I felt like I was -- I
 8           THE WITNESS: Like, T-shirts with      8 had a right to do it, and now I don't -- I feel
 9      slogans on them that I didn't -- I didn't  9 like that right can be taken away.
10      want to be a part of, and I feel that I'm 10       Q. But you have street preached
11      a part of that now, and it doesn't feel   11 after this incident?
12      good.                                     12       A. Yes, sir.
13 BY MR. CONLEY:                                 13       Q. Anguish comes after emotional
14      Q. Okay. Did any of the defendants        14 distress in your answer to interrogatory number
15 named in this lawsuit have anything to do with 15 four. What kind of anguish have you suffered?
16 those companies putting your name on T-shirts? 16       A. Anguish meaning, like, anxiety?
17      A. Yes. The officer.                      17       Q. I don't know. This is your
18      Q. He had something to do with            18 response.
19 companies putting your name on T-shirts?       19       A. Just, like, the whole thing. I
20      A. I feel, yes.                           20 don't -- I didn't want this to happen. I didn't
21      Q. How so?                                21 want to take off work today and tell my boss that
22      A. By arresting me.                       22 I needed off. I didn't want to answer those
23      Q. Okay. By the simple fact of            23 questions. I just -- the whole thing. This
24 arresting you, he had some sort of involvement 24 isn't something I wanted to do.
25 with these companies?                          25       Q. What did you tell your boss when
                                                                                 39 (Pages 150 - 153)
                                  Veritext Legal Solutions Plaintiff's App. 040
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 42 of 116


                                              Page 154                                                   Page 156
 1 you took off today?                              1 and said I'm the official spokesperson of them.
 2       A. That I needed off. I had a              2 I'm humiliated by the affidavit which isn't true.
 3 deposition. I had an appointment I said to her,  3 I'm humiliated by the statement that's on Fox
 4 but she looked at me like, already? You already 4 News that says I was there for an hour before
 5 need off? But what was I going to do?            5 yelling back and forth across the street
 6       Q. Did you tell her specifically it        6 antagonizing them and there's more to the story.
 7 was for a deposition?                            7 It just makes me feel humiliated because it's not
 8       A. No, sir.                                8 true.
 9       Q. Okay.                                   9       Q. Has anybody specifically
10       A. Because I didn't -- I don't know.      10 addressed you -- other than looking at those
11 Something -- I just told her I had an           11 comments, have they addressed you in person in a
12 appointment. I was scheduled and then she       12 manner that made you feel humiliated?
13 crossed it off, and it just -- I didn't feel    13       A. No, sir.
14 right about it. And then all last night and     14       Q. Almost done. I'm just going to
15 yesterday, my hands are sweaty. I'm anxious. I 15 go back briefly. I believe I forgot to ask this
16 don't -- I don't know if this has happened to   16 question. In your complaint you allege that any
17 someone else. I don't know. It's anxiety, I     17 sexual conduct outside of marriage between one
18 feel like.                                      18 man and one woman is sin?
19       Q. So you felt this last night?           19       A. Yes, sir.
20       A. The day before, yeah. I felt it        20       Q. And we spoke about that, right?
21 since this happened, but last night was tough.  21 Do you know anybody that's engaged in sexual
22       Q. Was it related to the fact that        22 conduct outside of marriage?
23 you were going to have to --                    23       A. No, sir.
24       A. Yeah.                                  24       Q. You don't know anybody that's
25       Q. -- provide answers in a                25 done that?
                                              Page 155                                                   Page 157
 1 deposition today?                                      1       A. Well, I try not to -- if they
 2      A. Well, I've never done this                     2 don't want to talk to me about it, I don't -- you
 3 before, so I don't know what -- but I'll answer        3 know, I don't think my sisters are. We haven't
 4 anything to the best of my ability. It's not the       4 talked about it. They could be. I think my
 5 questions that make me anxious. It's this whole        5 friend Sara might be, but I don't really -- I
 6 process.                                               6 just ask her if she's read the Bible.
 7      Q. To be fair, if you didn't file a               7       Q. In paragraph 22 of the complaint,
 8 lawsuit, you wouldn't have to give a deposition?       8 you made a statement that sinners are not
 9      A. Well, to be fair, if my rights                 9 forgiven from sin unless they're born again.
10 weren't violated, I wouldn't have had to file a       10 What's the -- I want to understand how that
11 lawsuit.                                              11 affects you if other people are not forgiven for
12      Q. Other than the anxiety -- with                12 their sins?
13 regard to the anxiety, what, if any, treatment        13       A. Because I'm worried and I care
14 have you received relating to anxiety?                14 about them and they're my family, and everyone
15      A. The Bible.                                    15 across the street on my side and their side I
16      Q. Any medical treatment or                      16 look at as my family, and I just want to help
17 psychological treatment?                              17 people, and that's what I was there to try to do
18      A. No, sir.                                      18 that day, to talk to someone.
19      Q. Humiliation is the next one. I'm              19            The Bible says when Jesus
20 trying to go through these a little faster. How       20 returns, there's going to be weeping and gnashing
21 did you feel humiliated?                              21 of teeth, and that worries me, and I'm living
22      A. Well, because of the reaction.                22 proof that what I did not only works, it changed
23 There's reaction videos of me, and people are         23 my life, and I stumbled upon it. It's like
24 laughing at me saying good that I got arrested.       24 finding a place that's pouring out gold. You
25 I'm humiliated by the companies that take my name     25 want to go tell everyone you can because you

                                                                                        40 (Pages 154 - 157)
                                   Veritext Legal Solutions Plaintiff's App. 041
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 43 of 116


                                              Page 158                                                Page 160
 1 found this place that pours out gold. I did not   1       A. Well, the reason I said it was
 2 expect this to happen when I started reading the 2 because I feel like the rich man wants someone to
 3 Bible. It did.                                    3 go out and warn them. So not necessarily, like,
 4       Q. Okay. Thank you for that. So I           4 they're cheering for me, but they want someone to
 5 guess from that, would you want all sinners to be 5 be warned.
 6 forgiven?                                         6       Q. Who wanted somebody to be warned?
 7       A. Everyone.                                7       A. The people who are in hell.
 8       Q. Everyone?                                8       Q. And who are those people?
 9       A. Everyone can be.                         9       A. Whoever didn't know Jesus Christ
10       Q. Okay.                                   10 of Nazareth.
11       A. That's the main reason why I want       11       Q. Are you saying that there were
12 to tell people. Sometimes I feel like it's like  12 people in hell that agreed with the pride rally
13 walking past someone's house that's on fire, and 13 that were saying that?
14 they're upstairs asleep. I have -- I kind of     14       A. No. I meant whoever is down
15 feel like I should knock on the door and tell    15 there. When you go to hell, it's not going to
16 them.                                            16 matter what you represent.
17       Q. Returning to Exhibit-4, the             17       Q. And so those people that are
18 interrogatories, if you could turn to page 6 and 18 cheering, they're not cheering for the pride
19 look at number 11. Do you see that?              19 rally. They're cheering for what you were
20       A. Yes.                                    20 saying?
21       Q. So what people do you intend to         21       A. I feel like I was nervous when I
22 call as witnesses if this matter goes to trial?  22 was talking to him. I wouldn't probably say that
23            MR. READY: I'm just going to          23 now again because that's another thing, that
24       object to the form. That's really a        24 because it was recorded, it doesn't -- it doesn't
25       question for counsel, but you can answer 25 make me feel good. I was mixed up.
                                              Page 159                                                Page 161
 1       subject to that, if you can.                     1            What I was trying to say was, do
 2       A. I just would like to call the                 2 you know who wants us to be here? The people who
 3 witness of the video.                                  3 are in hell, but it came out as, do you know who
 4       Q. Matt Wear. Is that who you're                 4 is cheering for us? So it almost looks like I'm
 5 talking about?                                         5 saying the people that are in hell are cheering
 6       A. No. Just the video itself.                    6 for us, which doesn't really make any sense, but
 7       Q. I'm talking about individuals,                7 I was so anxious when I first saw him, I kind of
 8 people?                                                8 wish I would have calmed down myself and been
 9       A. No. I don't have anyone.                      9 more talkative, but I just -- I went up, and I
10       Q. Okay. Do you recall saying to                10 didn't -- I've never experienced a police
11 Sergeant McClure, quote: You know who is              11 interaction like that before, so I didn't have
12 cheering for this? The people that are in hell?       12 practice in dealing with it.
13       A. Yes, sir.                                    13       Q. Okay. So it might be taken out
14       Q. What did you mean by that?                   14 of context, what's in the video. You weren't
15       A. I was referring to the story in              15 necessarily meaning that anybody that was in the
16 the Bible of the rich man and Lazarus. The rich       16 vicinity was in hell?
17 man is in hell, and he had everything on this         17       A. No.
18 Earth, and he did whatever he wanted, and all he      18       Q. You were trying to relate it to a
19 wanted was a drop of water, and he said, please       19 Bible passage?
20 send someone to warn them so that they don't come     20       A. Yeah. That's where it came from.
21 to this place of torment.                             21 What I was thinking of when I thought of that was
22       Q. Are you saying that the people               22 the rich man and Lazarus, and Lazarus is asking
23 that were cheering are those that are cheering to     23 if someone can be sent to warn them not to come
24 have somebody sent to relieve them of their           24 to this place, and that's pretty much what I feel
25 torment?                                              25 like I was doing.

                                                                                      41 (Pages 158 - 161)
                                   Veritext Legal Solutions Plaintiff's App. 042
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 44 of 116


                                               Page 162                                                  Page 164
 1            And keep in mind, I'll put anyone            1 jump -- I'm going to start here at 2:34.
 2 across that street in my house. It doesn't              2            (Video being played.)
 3 matter what you're doing or what you've done. If        3       Q. I stopped it at three minutes
 4 you're hungry, I'll get you something to eat, and       4 into the video. Did you hear the portion of your
 5 I want to help you read the Bible. It doesn't           5 statements on the interview where you said that
 6 matter to me who you are or where you're from.          6 you are aggressive towards sin?
 7 The ultimate goal is I want to sit with you and         7       A. Yes.
 8 read the Bible. That's why I was there.                 8       Q. What do you mean by that?
 9       Q. I'm going to try to show you a                 9       A. Once again, at that time, it's
10 video. Hopefully it works. Can you see this?           10 three days later, and sometimes what I want to
11       A. Yes, sir.                                     11 say, that's the tricky thing about videos because
12       Q. I'm going to represent to you                 12 once you -- it's there. You can't go back and
13 that this is a video on YouTube that is a CBN          13 fix it. I don't know why.
14 News posting title Man Arrested at Pride Event --      14            I said that because I felt that
15 at a PA Pride Event. And I'll try to find the          15 he was taking it as that I was being aggressive
16 date. It was posted on June 6, 2023. I'm going         16 towards them, so then what followed after I said
17 to play a little bit and then I'll ask you some        17 I wasn't there to be aggressive towards them, I'm
18 questions.                                             18 aggressive towards sin, but I'm not really
19            (Video being played.)                       19 aggressive towards it. Like, I don't want to
20       Q. I'm going to pause it right                   20 push people away or make you feel 'cause you're a
21 there. We're paused at 20 seconds into the             21 sinner. I'm not better than you. I just want to
22 video. Do you recognize this video?                    22 help people, but I feel like at that time I
23       A. Yes, sir.                                     23 misspoke again.
24       Q. Have you seen it in its entirety              24            And this is another reason why I
25 before?                                                25 didn't want to do these after they were done
                                               Page 163                                                  Page 165
 1      A. Yes, sir.                                       1 because after I watched this I didn't feel good
 2      Q. Who's the man that is                           2 about it, so I shouldn't have done this. If they
 3 interviewing you?                                       3 called me, I thought I was helping, and it seemed
 4      A. I'm not sure.                                   4 like I just made it worse. So that's why after I
 5      Q. You don't know his name?                        5 talked to him, I haven't done anything. I don't
 6      A. He told me his name, but I forget               6 want to talk about it to anyone.
 7 it.                                                     7            I don't want to do an interview
 8      Q. Was his name Chris?                             8 because it kind of -- it, like, manipulates it, I
 9      A. I'm not sure.                                   9 feel like. So I was saying that I felt like they
10      Q. Okay.                                          10 thought I was there to be aggressive towards
11           MR. READY: May have been Dan                 11 them, and I'm not aggressive towards them.
12      Andros.                                           12            I should -- I don't even like
13           THE WITNESS: That's his name.                13 that word, I'm aggressive towards sin, but I'm
14      Chris was from the Lancaster Patriot, I           14 not -- I'm not okay, honestly, if you're living
15      think. See, that's what I'm saying,               15 in sin because I'm worried for you because what
16      stuff just gets, like, mixed up in my             16 if I never see you again and I had a chance to
17      head.                                             17 warn you about it, but I didn't take that
18 BY MR. CONLEY:                                         18 opportunity.
19      Q. I'm going to ask you some                      19       Q. Are you all right?
20 specific questions about this. I'm not going to        20       A. Yeah. Thank you. How can I
21 make you watch the entire thing. I'm going to          21 spend an eternity in peace knowing that you're in
22 jump around a bit. If you feel like you want to        22 trouble, and that's how I feel about every single
23 watch the entire thing --                              23 one of them.
24      A. I've seen it. I don't need to.                 24       Q. I'm sorry. When you're pointing,
25      Q. -- for context. So I'm going to                25 are you pointing to the people that are in the
                                                                                         42 (Pages 162 - 165)
                                    Veritext Legal Solutions Plaintiff's App. 043
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 45 of 116


                                             Page 166                                                  Page 168
 1 pride celebration?                                1 They just said if you need anything, you know,
 2       A. Across the street and the guys           2 let us know. And then I had lawyers sending me
 3 next to me if they came to me and talked to me. 3 letters saying that I'll represent you for free,
 4 You guys I'm worried about. Him, I'm worried 4 and here's my contact information.
 5 about. Everyone. Anyone I look at I hope          5       Q. All right. We've already talked
 6 they're okay because I have a feeling on that day 6 about that, so I don't want to beat a dead horse.
 7 it's going to be a problem, and I don't want      7 You also said that you've received nothing but an
 8 anyone to go through that.                        8 outpouring of love and support in the portion of
 9            So I'm not quite sure why I said       9 that video. Did you see hear that?
10 that. I just wanted him to know I wasn't         10       A. Yes, sir.
11 aggressive towards the other people, but maybe 11         Q. I know that you've said that
12 looking back I feel like I wanted to say I'm     12 you've also read some negative comments about
13 aggressive towards people reading the Bible.     13 you?
14 Like, I'm aggressively trying to help them is    14       A. Yes, sir.
15 more like how I felt, but that's why I'm glad I  15       Q. At that time had you read any of
16 reached out to him because once you put a video 16 those negative comments?
17 out, what's it? 1.7 million. That's a lot of     17       A. No.
18 people that might misunderstood what I said.     18       Q. And can you describe to me the
19 It's not a good feeling.                         19 outpouring of love and support that you were
20            I didn't want none of this to         20 talking about at the time of this interview?
21 happen. I didn't. That's why I didn't have a     21       A. It was from the people that were,
22 camera guy with me. I didn't have a GoPro that I 22 like, around me. Brother Jose. Chris I thought
23 was filming. When I stepped on that street I had 23 was really nice that he offered to help me out.
24 no video recording because I don't want to be in 24 My sisters. It sounds like I'm saying more, but
25 this kind of spot.                               25 it was just a few people.
                                             Page 167                                                  Page 169
 1       Q. Do you want to take a little                 1            But it just felt like a lot
 2 break?                                                2 because there was so much going on. People were
 3       A. No. I'm okay.                                3 texting and calling, and people wanted to sit and
 4            MR. READY: We'll take a break.             4 talk with me. It just -- it felt like the people
 5       Say, a two-minute break and come back.          5 that were surrounding me were trying to help me.
 6       How's that?                                     6       Q. Had you ever done a news
 7            (A short break was taken.)                 7 interview before?
 8 BY MR. CONLEY:                                        8       A. No, sir.
 9       Q. One other topic. I'm going to                9       Q. That was your first time?
10 start it up here at 6:53, so I've jumped ahead.      10       A. Yes, sir.
11            (Video being played.)                     11       Q. Did you do any prep with the
12       Q. A couple things. Brother Matthew            12 interviewer, Dan Andros, before the interview?
13 is Matthew Wear?                                     13       A. No, sir.
14       A. Yes, sir.                                   14       Q. Did he tell you what he might ask
15       Q. And Brother Chris is the guy we             15 you about?
16 don't know his last name from the Lancaster          16       A. No, sir.
17 Patriot?                                             17       Q. Okay. That's all I have on the
18       A. Yes, sir.                                   18 video. Thank you.
19       Q. And you indicated there that                19            I wanted to ask you about your
20 you've got brothers in Christ that are helping       20 cell phone. I know we brought that up earlier.
21 you. Are you talking about offers of legal help      21 Is it on and working? Would you mind grabbing
22 or are you talking about other type of help?         22 it? So I guess a couple of things. Do you have
23       A. Yeah. Basically, I was talking              23 any contact information for Dan Andros and/or
24 about Matt and Chris that wanted to make sure        24 Matt Wear?
25 that I had legal for the criminal part of it.        25       A. No. Can I show you my contacts?

                                                                                       43 (Pages 166 - 169)
                                   Veritext Legal Solutions Plaintiff's App. 044
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 46 of 116


                                             Page 170                                            Page 172
 1       Q. Sure. Is that the complete list?             1       Q. I'm going to ask you to look at
 2       A. Yes. Remember how I said I kind              2 your text messages. Do you have any text
 3 of -- once in a while I wipe it out.                  3 messages from Matt Wear?
 4       Q. So you do have Brother Jose on               4       A. No. Can I show you?
 5 there?                                                5       Q. Yes. Those are the only text
 6       A. Yes.                                         6 messages you have?
 7       Q. Got you. Thank you.                          7       A. Yes, sir.
 8       A. Yep.                                         8       Q. You got one from Erica and one
 9       Q. Have you changed that contact                9 from Sara?
10 list or deleted anything from that contact list      10       A. Yes, sir.
11 in the last -- from the filing of your lawsuit?      11       Q. Okay. It looks like those were
12       A. Yes.                                        12 sent today. Is that correct?
13       Q. You have?                                   13       A. Yeah. I shut my phone off when I
14       A. Yes.                                        14 came in here till you asked me to turn it on.
15       Q. When did you delete information             15       Q. Got you. Have you deleted text
16 from the contact list?                               16 messages since the filing of this lawsuit?
17       A. Two days ago I deleted all my               17       A. Yes, sir.
18 sisters and then they reached out to me, and I       18       Q. When did you do that?
19 put them back in there.                              19       A. Every day.
20       Q. Why did you delete your sisters             20       Q. You delete text messages every
21 two days ago?                                        21 day?
22       A. Why?                                        22       A. I try to, yeah.
23       Q. Yeah.                                       23       Q. So suffice it to say, you would
24       A. Because I felt like I was trying            24 not have any text messages from Matthew Wear
25 to help them, but there's, like, resistance          25 either before or after the lawsuit?
                                             Page 171                                            Page 173
 1 there. I get, like, frustrated and so that's why   1      A. No, sir.
 2 I do that because I feel like if you're in my      2      Q. You didn't save them or download
 3 life, then you're going to come back to my         3 them on your computer?
 4 contacts anyway.                                   4      A. I didn't think to. No, sir.
 5        Q. So you felt frustrated that they         5      Q. Have you ever updated that phone
 6 weren't -- that they were resisting your           6 onto your computer?
 7 evangelizing?                                      7      A. No, sir.
 8        A. Not so much that. Even my help,          8      Q. And it's an Android phone, right?
 9 like, outside of the Bible. They have children     9      A. I believe so. Yeah. Yes, sir.
10 that are -- there's stuff going on in their life, 10      Q. It's not an Apple. Okay. What
11 and I feel like when they tell me that, that      11 service provider is your cell phone?
12 stuff stays with me, and they might not realize 12        A. Comcast.
13 that. So sometimes I feel like it's better that   13      Q. Same question. You don't have
14 I don't talk to them because they're not aware of 14 any text messages from Dan Andros?
15 what's happening when they're not talking to me. 15       A. No, sir. He text me, but I
16            And then if I try to help them         16 deleted them.
17 and they don't want to do something about it,     17      Q. When did he last text you?
18 then I'm stuck feeling sad and upset, and I feel 18       A. Around the interview. After I
19 like they just want someone to talk to, but now 19 did the interview I just deleted all his texts.
20 they're back in there, and we're doing good.      20 His number, obviously, was attached to it.
21 It's a family, you know, so...                    21      Q. What was the content of those
22        Q. I don't want to delve into              22 text messages?
23 your -- have your family relationships been       23      A. Just am I available. Do I want
24 negatively affected by this lawsuit?              24 to do the interview and what time.
25        A. No, sir.                                25      Q. Okay. Did he text -- so it was,
                                                                                   44 (Pages 170 - 173)
                                   Veritext Legal Solutions Plaintiff's App. 045
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 47 of 116


                                                Page 174                                               Page 176
 1 like, setup?                                             1           (A discussion was held off the
 2       A. Yeah.                                           2      record.)
 3       Q. Did he text you after the                       3 BY MR. CONLEY:
 4 interview?                                               4      Q. Just a couple more questions.
 5       A. No, sir.                                        5      A. You can ask me whatever you want.
 6       Q. With regard to Matt Wear, from                  6 I'm not in a rush. You're not bothering me.
 7 your recollection, other than him sending you the        7      Q. You also filed a lawsuit against
 8 video, which I believe you said was via text             8 Officer Courtney Dupree. Is that correct?
 9 message?                                                 9      A. Yes, sir.
10       A. I believe so. I think that's                   10      Q. Okay. What are your allegations
11 what it was. Yeah.                                      11 against her?
12       Q. Other than --                                  12      A. That she violated my rights.
13       A. He doesn't have my email, so I'm               13      Q. How so? What did she do to
14 sure it's text.                                         14 violate your rights?
15       Q. Did you respond in any way to                  15      A. By not saying something to him.
16 that text message that you can remember?                16      Q. So do you believe that she should
17       A. Yes, sir.                                      17 have intervened and stopped him from doing
18       Q. What did you say?                              18 something?
19       A. I don't remember. I think I said               19      A. Yes, sir.
20 thank you, and call me if you need anything, like       20      Q. What should she have done to
21 stuff like that.                                        21 intervene and stop him from doing something? And
22       Q. Did he call you afterwards?                    22 by him, I'm referring to Sergeant McClure.
23       A. No, sir.                                       23      A. She should have stuck up for my
24       Q. Other than that exchange of text               24 rights because she was trained and took an oath
25 messages, did you have any other text message           25 to do that.
                                                Page 175                                               Page 177
 1 exchanges with Matt Wear?                                1      Q. Do you know the oath that she
 2       A. I think I text him and asked if                 2 took?
 3 he needs help with counsel, and he never replied.        3      A. No, sir.
 4       Q. Did he tell you that he needed                  4      Q. Other than that, that she should
 5 help with an attorney?                                   5 have stepped in, what are your claims against
 6       A. No. I was just, like, checking                  6 her?
 7 in with him.                                             7      A. That's it.
 8       Q. Is there a reason that you                      8      Q. You don't allege that she made
 9 thought he might need an attorney's help?                9 any statements that harmed you?
10       A. I feel like my attorney asked                  10      A. No, sir.
11 me --                                                   11      Q. You don't allege that she
12       Q. I don't want to hear what your                 12 physically harmed you in any way?
13 attorney said.                                          13      A. No, sir.
14       A. I wanted to see if he needed                   14      Q. You don't allege that she
15 help.                                                   15 assaulted you or battered you?
16       Q. Okay. But you don't have any                   16      A. No, sir.
17 specific reason that you know of that he might          17      Q. You don't alleged that she
18 have needed help? Were you aware that he had            18 defamed you?
19 been sued or anything like that?                        19      A. No, sir.
20       A. No. I feel like his rights were                20      Q. You don't allege that she
21 violated as well.                                       21 published things about you that placed you in a
22       Q. I'll leave it at that. Let me                  22 false light in the community?
23 just go through my notes.                               23      A. No, sir.
24           MR. CONLEY: Can we go off the                 24           MR. CONLEY: Okay. That's it.
25       record?                                           25      That's all I have. Thank you. Your
                                                                                        45 (Pages 174 - 177)
                                    Veritext Legal Solutions Plaintiff's App. 046
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 48 of 116


                                              Page 178                                                  Page 180
 1       counsel might have some questions.               1 over at the pride rally across the street?
 2                ***                                     2        A. Me and the officer's
 3               EXAMINATION                              3 conversation. That's when, as I walked up, I saw
 4 BY MR. READY:                                          4 a gathering, but I didn't really hear and then as
 5       Q. Just a few questions, and some of             5 soon as I approached the men that were standing
 6 these are going to seem a little random. I just        6 there, I don't even remember what the sign said
 7 want to clear up a few things on the record. For       7 he was holding. I just focused in on him. I
 8 the record, what is your race?                         8 felt like he came directly up to me.
 9       A. Caucasian.                                    9        Q. Who is "he"?
10       Q. You've been asked about an                   10        A. The officer.
11 amplifier system, a public address-type system        11        Q. Okay. You talked about somebody
12 that you sometimes wear. Did you have that with       12 with a sign they were holding. Do you remember
13 you on June 3rd, 2023?                                13 what that sign said?
14       A. Yes, sir.                                    14        A. No, sir.
15       Q. Were you using it?                           15        Q. What did you say to the
16       A. No, sir.                                     16 protesters across the street or the pride rally
17       Q. Did you have it on?                          17 attendants?
18       A. No, sir.                                     18        A. Well, I remember after I spoke
19       Q. Were you wearing it?                         19 with the officer, someone was pointing at me and
20       A. No, sir. It was in my bag.                   20 to the sign, and that's when I said, yo. Like, I
21       Q. You told a story earlier about --            21 was yo'ing to that person and then I was going to
22 I think you said it was on 5th and Penn, if I         22 start by saying God is not the author of
23 remember correctly, but I'm not sure, about an        23 confusion.
24 officer telling you to turn that same address         24        Q. How far into that did you get?
25 system off?                                           25        A. God is not.
                                              Page 179                                                  Page 181
 1      A. Yes, sir.                                      1       Q. And after the officer began his
 2      Q. That was another date completely,              2 arrest, you attempted to say something else.
 3 correct?                                               3 What was that?
 4      A. Yes, sir.                                      4       A. After they were laughing at me,
 5      Q. And was that after this incident?              5 it kind of felt like I was being punched in the
 6      A. It was before.                                 6 stomach, so I at least wanted to finish what I
 7      Q. In interacting with Officer                    7 started saying, and I was going to try to finish
 8 McClure, did he tell you that there was a certain      8 saying, God is not the author of confusion.
 9 volume that you had to maintain?                       9       Q. And what happened when you tried
10      A. No, sir.                                      10 to say that again?
11      Q. Did he tell you how loud you                  11       A. I was swung around and pushed up
12 could be?                                             12 against the wall.
13      A. No, sir.                                      13       Q. Who swung you around?
14      Q. Did he tell you how far back you              14       A. The officer.
15 had to stand?                                         15       Q. You pointed across the table.
16      A. No, sir.                                      16 Which officer?
17      Q. You talked a little bit about                 17       A. Officer McClure. Is that how you
18 having tunnel vision when you walked up. Did you      18 say your name? I'm sorry.
19 see the rally?                                        19       Q. Did you observe the officers
20      A. Yes, sir.                                     20 wearing pride wristbands?
21      Q. Did you have time to -- did you               21       A. No, sir.
22 hear how -- did you hear people talking at the        22       Q. You talked about people laughing.
23 rally?                                                23 Who was laughing?
24      A. No, sir.                                      24       A. There was laughing and clapping
25      Q. What was going on at that time                25 across the street.
                                                                                        46 (Pages 178 - 181)
                                   Veritext Legal Solutions Plaintiff's App. 047
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 49 of 116


                                             Page 182                                                 Page 184
 1       Q. You said there was laughing --            1 yo God is not?
 2 sorry. You said there was laughing and clapping 2          A. No, sir.
 3 across the street?                                 3       Q. There was some questions about
 4       A. Yes, sir.                                 4 demons earlier. Did you call someone while
 5       Q. You mean at the pride rally?              5 present at the rally a demon?
 6       A. At the rally. Yes, sir.                   6       A. No, sir.
 7       Q. Could you tell what, if anything,         7       Q. Okay. Your message, is it -- do
 8 they were laughing or clapping about?              8 people sometimes find it offensive when you're
 9           MR. CONLEY: Objection to form.           9 street preaching?
10       Calls for speculation. Go ahead.            10       A. Yes, sir.
11       A. Well, I felt like it started             11       Q. So why do you persist? Why do
12 after he put me in handcuffs, so I just felt like 12 you keep sharing your message even if people are
13 it was laughing at me.                            13 offended by it?
14       Q. The shirt that you were wearing,         14       A. Well, because the Bible says go
15 what did it say?                                  15 into all the world and preach the gospel. And
16       A. It said: You must be born again.         16 like I said earlier, I'm living proof that this
17 And on the back it says: Except a man be born 17 book changed my life. So sometimes I have
18 again, he will not see the kingdom of heaven.     18 trouble even sleeping at night knowing that I
19       Q. What is that quote from?                 19 feel like I should just street preach for the
20       A. It's from the Bible.                     20 rest of my life.
21       Q. And who said that?                       21            In fact, I'm kind of tempted to
22       A. Lord Jesus.                              22 do that, to go to Miami with nothing but the
23       Q. You were holding a sign that was         23 clothes on my back and spend the rest of my life
24 double-sided, correct?                            24 telling people about Jesus Christ. That's how
25       A. Yes, sir.                                25 serious I am because I don't want to be somewhere
                                             Page 183                                                 Page 185
 1       Q. And what did the sign say?                   1 knowing I could have told someone, and I didn't
 2       A. The sign said: Jesus said go and             2 help them. I would want someone to do it for me.
 3 sin no more. The other side said: Jesus said I        3 I wish someone would have sat me down and read
 4 am the way, the truth and the life.                   4 the Bible with me when I was younger. Maybe it
 5       Q. And what are those quotes from?              5 would have stopped me from doing some of the
 6       A. What chapter in the Bible?                   6 things I've done.
 7       Q. Sure.                                        7       Q. You've been asked a lot about
 8       A. Well, Jesus said them. Like I                8 Matthew Wear?
 9 said, when I street preach, I kind of just, like,     9       A. Yeah.
10 go off the cuff. I have flashcards with verses       10       Q. And I guess he sent you a
11 that I try to remember, but sometimes it's hard      11 message. Have you had any other communication
12 for me to remember the exact part of the Bible.      12 other than texts you told counsel about with
13       Q. That's okay. My question may                13 Matthew Wear since this event?
14 have even been more general than that. You're        14       A. No, sir.
15 saying both of those quotes are from the Bible.      15       Q. Have you had any -- did you have
16 Is that correct?                                     16 any communication with him -- other than the one
17       A. Yes, sir. Yeah.                             17 day you both basically preached in the same spot,
18       Q. Did your sign have any other                18 did you have any communication with him before
19 words on it?                                         19 this event?
20       A. No, sir.                                    20       A. Just that one day. He came out
21       Q. Okay. Did your shirt have any               21 of nowhere. I didn't even know who he was, and
22 other quotes than the ones you told us about?        22 he street preached with me for a couple minutes,
23       A. No, sir.                                    23 and I gave him my number. Then I saw him a year
24       Q. Did you say to any of the                   24 later at that event.
25 protesters across the street anything other than     25            Then a few weeks later he came up

                                                                                      47 (Pages 182 - 185)
                                   Veritext Legal Solutions Plaintiff's App. 048
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 50 of 116


                                               Page 186                                                 Page 188
 1 to me and Brother Jose when we were at Queen City       1 long hair.
 2 Diner. He did a few minutes and then he left. I         2      A. Yes, sir.
 3 reached out to him here and there, and I                3      Q. And how did she assist?
 4 don't -- it's not someone I talk to regularly,          4      A. She helped go through my bag.
 5 which is why I don't have his number in my phone.       5      Q. Were you carrying any weapons
 6       Q. During the conversation with                   6 with you that day?
 7 Sergeant McClure, he told you to respect them.          7      A. No, sir.
 8 First of all, who did you think he was referring        8      Q. Did you engage in fighting with
 9 to, the them?                                           9 anyone?
10       A. The people across the street.                 10      A. No, sir.
11       Q. And what did you think he meant               11      Q. Did you engage in threats with
12 by respect them?                                       12 anyone?
13       A. Well, I'm not sure. Like, it                  13           MR. CONLEY: Objection to form.
14 never dawned on me that I wasn't able to talk, so      14      A. No, sir.
15 the respect, assuming I wasn't going to, like,         15      Q. Did you threaten people from the
16 throw anything, act a certain way. I wasn't            16 pride rally, the officers, anyone?
17 going to cross the street. I wasn't going to           17      A. No, sir.
18 name call or point anyone down. Respect, I took        18      Q. Did you engage in any violent
19 it as that as I thought. It never crossed my           19 behavior?
20 mind that I wasn't allowed to talk. That thought       20      A. No, sir.
21 never crossed my mind.                                 21           MR. CONLEY: Object to the form.
22       Q. Did any other officer speak to                22      Q. Did your speech cause any
23 you before you were arrested other than Sergeant       23 disruption of the pride march and rally?
24 McClure?                                               24           MR. CONLEY: Objection to form.
25       A. No, sir.                                      25      You can answer.
                                               Page 187                                                 Page 189
 1       Q. Was your voice louder than the                 1       A. No, sir.
 2 just general speaking and discussion of the crowd       2       Q. Did anything else you did disrupt
 3 across the street?                                      3 the pride march and rally?
 4       A. No, sir.                                       4       A. No, sir.
 5             MR. CONLEY: Objection to form.              5       Q. When you were being taken away by
 6       Q. The phrase "God is not the author              6 the officers, did you hear someone come on the PA
 7 of confusion," where does that come from?               7 system at the pride rally and begin speaking?
 8       A. It comes from the Bible.                       8       A. No, sir.
 9       Q. One moment. What effect do you                 9       Q. Okay. Do you recall someone
10 hope that your preaching has on people who are         10 speaking at the pride rally?
11 listening?                                             11       A. Yes, sir.
12       A. Just like the young man that I                12       Q. And do you recall what they were
13 saw the change in his face, the Bible says God's       13 saying?
14 word does not return void. So no matter who you        14       A. At the time it was, like, you
15 talk to, it will impact them in a different way.       15 know, tunnel vision, but after I looked back, you
16 I just want everyone to be okay. No matter who         16 know, I can hear, and I remember it getting
17 you are or where you're from, I just want you to       17 started as I was walking away.
18 be okay. And if you feel that you were born a          18       Q. Do you remember what was said?
19 certain way, I want you to know you can be born        19       A. No, sir.
20 again.                                                 20       Q. Was the event in progress when
21       Q. Did Officer Dupree assist                     21 you arrived?
22 Sergeant McClure in arresting you?                     22       A. No, sir.
23       A. I'm not sure who that was. The                23       Q. Did the handcuffing cause you any
24 one with the short hair? The long hair?                24 physical pain?
25       Q. Sure. No. The officer with the                25       A. At the time, just they were too

                                                                                        48 (Pages 186 - 189)
                                    Veritext Legal Solutions Plaintiff's App. 049
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 51 of 116


                                            Page 190                                                   Page 192
 1 tight.                                               1      A. Yes, sir.
 2        Q. How long were you handcuffed?              2      Q. What were they there for?
 3        A. I would say an hour maybe until I          3      A. Different charges.
 4 got to the police station and they let me out.       4      Q. Do you remember any of them?
 5        Q. Were they too tight throughout             5      A. Abuse, missing a court date,
 6 that time?                                           6 something with his baby's mom, the other guy.
 7        A. I'm not sure. I just remember at           7      Q. Did you tell them what you were
 8 first they were.                                     8 there for?
 9        Q. You were arraigned by a judge              9      A. They kind of knew.
10 that day?                                           10      Q. Okay. How did they know?
11        A. Yes, sir.                                 11      A. They said my shirt, and I didn't
12        Q. Did anyone give you a Miranda             12 look like I belonged in there.
13 warning at any time, telling you that what you      13      Q. Did anyone interview you from the
14 said could be used against you, that you had a      14 police department?
15 right to counsel? Did you hear that from an         15      A. No.
16 officer at any point?                               16      Q. So, in other words, just to make
17            MR. CONLEY: Objection to form.           17 sure that question is clear. After Sergeant
18        You can answer.                              18 McClure got you in a -- they call it the wagon to
19        A. Yes, sir.                                 19 take you over to central booking, a police
20        Q. Do you remember who told you              20 officer or detective didn't come and have a
21 that?                                               21 discussion with you about what had happened, did
22        A. No, sir.                                  22 they?
23        Q. Okay. Was it the judge when you           23           MR. CONLEY: Objection to form.
24 were arraigned?                                     24      A. I don't really remember. I don't
25        A. I'm not sure.                             25 think they asked me questions and all. They just
                                            Page 191                                                   Page 193
 1       Q. Okay. Did you have bail set by              1 kind of processed me. I talked to the intake
 2 the judge during that arraignment?                   2 officer about Jesus, and that was about it.
 3       A. I don't remember. I thought they            3       Q. So you've been asked some
 4 said I wasn't going to get bail because of the       4 questions about this, but since June 3rd, 2023,
 5 charge.                                              5 how has this arrest affected your life?
 6       Q. Did they maybe tell you you were            6       A. Well, like I said earlier, just
 7 released on your recognizance?                       7 anxiety, and I feel like I don't want anyone to
 8       A. I think that's what she said.               8 think that I didn't tell the truth of what
 9 Yes, sir.                                            9 happened that day. I don't like how they said
10       Q. Do you remember what judge you             10 there's more to the story and I was there for an
11 saw?                                                11 hour. I don't like being attached to these
12       A. It was a female.                           12 companies.
13       Q. Was it on video?                           13       Q. Has this affected your ability to
14       A. Yes, sir.                                  14 sleep at all?
15       Q. How long were you in a holding             15       A. A few nights, but not really.
16 cell at central booking?                            16 No. No, sir.
17       A. A couple hours.                            17       Q. Have you been affected with
18       Q. Who was -- were there people in            18 tiredness or fatigue as a result of this
19 there with you? Were you alone?                     19 incident?
20       A. Yes, sir. There were people in             20       A. No, sir.
21 there.                                              21       Q. Damon, we've talked about sin a
22       Q. How many people were in with you?          22 lot today, which is fairly unusual for
23       A. Three or four.                             23 depositions, but what are the consequences of sin
24       Q. Did they tell you what they were           24 that you are concerned about?
25 there for?                                          25       A. Well, the separation of God, and

                                                                                      49 (Pages 190 - 193)
                                  Veritext Legal Solutions Plaintiff's App. 050
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 52 of 116


                                               Page 194                                              Page 196
 1 what really concerns me is that there's an         1 testifying today?
 2 alternative, and a lot of people, especially our   2       A. Yes, sir.
 3 younger generation, aren't aware of it because     3       Q. The people in jail, you were
 4 people attack the Bible. They say it's manmade, 4 asked some questions about they knew what you
 5 and it's not true, but I'm living proof that it    5 were there for based upon what was on your shirt?
 6 is because it changed my life.                     6       A. Yes, sir.
 7        Q. What does someone have to do to          7       Q. Did you talk to them about it?
 8 be born again?                                     8       A. No. They just said you don't
 9             MR. CONLEY: Objection to form.         9 look like you belong here.
10        You can answer.                            10       Q. They didn't say we know why
11        A. They have to have a relationship        11 you're here?
12 with Jesus Christ of Nazareth, and he'll tell you 12       A. No. And then they asked me, and
13 exactly what to do.                               13 I started talking to them.
14        Q. This message that you're sharing,       14       Q. Okay. So after they asked you,
15 you've talked about it being called evangelism. 15 you explained why you were arrested?
16 Is it also known as the gospel?                   16       A. Yes.
17        A. Yes, sir.                               17       Q. Have you maintained contact with
18             MR. READY: I have nothing             18 any of those individuals?
19        further.                                   19       A. No, sir.
20                 ***                               20       Q. You mentioned that the handcuffs
21              RE-EXAMINATION                       21 were too tight. Have you been handcuffed at any
22 BY MR. CONLEY:                                    22 other point in your life?
23        Q. I've got a couple. I'm going to         23       A. Yes, sir.
24 start right there at the end because it's fresh.  24       Q. When was that? Was that with the
25 Counsel just asked you some questions about sin 25 two arrests?
                                               Page 195                                              Page 197
 1 and the consequences thereof. I want to ask you         1       A. When I was younger, yes, sir.
 2 something a little bit differently. Do you              2       Q. Were these handcuffs tighter than
 3 believe that it is okay for people not to agree         3 those events?
 4 with you about your views upon the consequences         4       A. Well, that was a long time ago,
 5 of sin?                                                 5 but I don't remember feeling that pain before
 6       A. Yes, sir.                                      6 when I was at the house party and when I was in
 7       Q. Are those people necessarily                   7 that car with my friends, so I can't -- I just
 8 wrong in their views?                                   8 don't remember. I don't remember feeling that
 9       A. I'm worried. I can't say whether               9 pain before.
10 they're right or wrong.                                10       Q. Okay.
11       Q. Okay. You mentioned that you had              11       A. I didn't say these are too tight
12 a couple of nights where you struggled to sleep?       12 to the officer that was arresting me. I remember
13       A. Yes, sir.                                     13 that.
14       Q. I think you said a few nights. I              14       Q. But you didn't seek any medical
15 don't want to put words in your mouth. Do you          15 treatment --
16 have any specific recollection of when those           16       A. No, sir.
17 nights were?                                           17       Q. -- to your wrists or anything
18       A. No. The last one was last night.              18 like that?
19 I just feel uneasy.                                    19       A. No, sir.
20       Q. And that was because this is the              20       Q. You mentioned in response to your
21 first deposition you've ever given before, right?      21 counsel's questioning that you were trying to
22       A. Yeah. And I just -- I don't want              22 quote the Bible regarding the passage saying yo
23 to misrepresent Jesus or God. That worries me          23 God -- not yo. Yo is probably not in the Bible.
24 more than anything.                                    24 God is not the author of confusion?
25       Q. And that's because you're                     25       A. Yes, sir.
                                                                                      50 (Pages 194 - 197)
                                    Veritext Legal Solutions Plaintiff's App. 051
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 53 of 116


                                              Page 198                                                          Page 200
 1       Q. When you're saying that to the                1       Q. The word "must" was in there?
 2 people across the street, would it be reasonable       2       A. Yes, sir.
 3 for somebody to assume that you're telling them        3       Q. Okay. Would it be reasonable for
 4 that they're confused?                                 4 somebody to interpret the word "must" as a
 5       A. No, sir.                                      5 directive? As an order?
 6       Q. You don't think it's reasonable               6       A. Yes, sir.
 7 for somebody to interpret that statement as a          7       Q. Do you particularly like it when
 8 suggestion that they are confused?                     8 people give you orders?
 9       A. No, sir.                                      9       A. Well, it depends on the order and
10       Q. Okay. But you did tell your                  10 if they're trying to help me or not. I've been
11 counsel that some people feel uncomfortable by        11 given orders to do things that hurt my life.
12 your message?                                         12 I've been given orders to do things that help it.
13       A. Yes, sir.                                    13 There's a difference.
14       Q. If somebody were to imply that               14       Q. And whether something hurts your
15 you were confused, would that make you feel any       15 life or helps your life is kind of subjective to
16 particular way?                                       16 the person, right?
17       A. No, sir.                                     17       A. Yes, sir.
18       Q. If somebody were to imply that               18            MR. CONLEY: That's all I have.
19 you were a sinner, would that make you feel any       19       I appreciate it. Thank you for answering
20 particular way?                                       20       my questions today. Your counsel may
21       A. Well, I know I am, so no, sir.               21       have follow-up questions.
22       Q. No. Okay. Do you think some                  22            MR. READY: No. I have nothing.
23 people might be upset by an implication that          23       Thank you.
24 they're sinners?                                      24            (Deposition was concluded at 4:39
25       A. No, sir.                                     25       p.m.)
                                              Page 199                                                          Page 201
                                                          1          CERTIFICATE
 1       Q. When you say go and sin no more               2
 2 as was on your sign, would it be reasonable for            COMMONWEALTH OF PENNSYLVANIA )
                                                          3               )SS:
 3 somebody to interpret that as suggesting that              COUNTY OF MONTGOMERY    )
 4 they are a sinner?                                     4
                                                          5
 5       A. No, sir.                                                   I, Lauren Buchak, Notary Public,
 6       Q. Why are you saying -- or why are              6 Registered Merit Reporter and Certified Realtime
                                                            Reporter, do hereby certify that prior to the
 7 you carrying a sign that says go and sin no more       7 commencement of the examination, DAMON ATKINS was
 8 to a pride event rally?                                  duly sworn or affirmed by me to testify to the
                                                          8 truth, the whole truth and nothing but the truth.
 9       A. Because I feel like we're all                 9            I DO FURTHER CERTIFY that the
                                                            foregoing is a verbatim transcript of the
10 sinners, and that is meant to provoke                 10 testimony as taken stenographically by me at the
11 conversation because I'm the same as you. I'm no         time, place and on the date hereinbefore set
                                                         11 forth, to the best of my ability.
12 different.                                            12            I DO FURTHER CERTIFY that I am
13       Q. Would you carry that sign to a                  neither a relative nor employee nor attorney nor
                                                         13 counsel of any of the parties to this action, and
14 evangelical event?                                       that I am neither a relative nor employee of such
15       A. I carry it with me all over.                 14 attorney or counsel, and that I am not
                                                            financially interested in the action.
16 Yes, sir.                                             15
17       Q. Have you ever carried it to an               16
                                                         17
18 evangelical event?                                    18             <%758,Signature%>
                                                                  LAUREN A. BUCHAK, RMR, CRR
19       A. What? Like, church?                          19
20       Q. Any sort of --                                        Notary ID Number: 1115041
                                                         20
21       A. I've brought it into churches                         Notary Expiration: February 20, 2028
22 before. Yes, sir.                                     21
                                                                  Dated: April 8, 2024
23       Q. Okay. And you mentioned that                 22
24 your shirt said you must be born again?               23
                                                         24
25       A. Yes, sir.                                    25

                                                                                              51 (Pages 198 - 201)
                                   Veritext Legal Solutions Plaintiff's App. 052
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 54 of 116



                                                                       Page 1

 1                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2
 3          DAMON ATKINS,                          : Civil No.
            Plaintiff                              : 5:23-cv-02732-JMG
 4                                                 :
 5                       vs.                       :
 6                                                 :
 7          CITY OF READING, EDDIE                 :
 8          MORAN, RICHARD TORNIELLI,              :
 9          BRADLEY T. MCCLURE, and                :
10          COURTNEY DUPREE,                       :
11          Defendants                             :
12
13                                           - - -
14
15                               Friday, March 22, 2024
16
17                                           - - -
18
19
20                       Deposition of SERGEANT BRADLEY T. McCLURE
21            taken in the Law Offices of Cornerstone Law Firm,
22            LLC, 8500 Allentown Pike, Suite 3, Blandon,
23            Pennsylvania, on the above date, commencing at
24            8:58 a.m. before Lauren A. Buchak, Registered
25            Merit Reporter and Certified Realtime Reporter.

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                                                        Plaintiff's App. 053
     Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 55 of 116


                                                Page 2                                                   Page 4
 1      APPEARANCES:                                      1         DEPOSITION SUPPORT INDEX
 2                                                        2 Directions to Witness Not to Answer
                                                          3 PAGE          LINE
 3             CORNERSTONE LAW FIRM, LLC
                                                          4
 4             By: JOEL A. READY, ESQUIRE                 5
 5             8500 Allentown Pike, Suite 3                 Request for Production of Documents
 6             Blandon, PA 19510                          6
 7             610-926-7875                                 PAGE          LINE
 8             joel@cornerstonelaw.us                     7
                                                          8
 9             -- For the Plaintiff
                                                          9 Stipulations
10                                                       10 PAGE          LINE
11             MacMAIN LEINHAUSER, P.C.                  11
12             By: BRIAN C. CONLEY, ESQUIRE              12
13             433 West Market Street, Suite 200            Questions Marked
14             West Chester, PA 19382                    13
15             484-318-7106                                 PAGE          LINE
                                                         14
16             bconley@macmainlaw.com                    15
17             -- For the Defendants                     16
18                                                       17
19                                                       18
20                                                       19
21                                                       20
                                                         21
22
                                                         22
23                                                       23
24                                                       24
25                                                       25
                                                Page 3                                                   Page 5
 1             INDEX TO WITNESSES                         1            SERGEANT BRADLEY T. McCLURE,
 2
                                                          2       after having been duly sworn, was
     WITNESS                  PAGE
 3                                                        3       examined and testified as follows:
     SERGEANT BRADLEY T. McCLURE                          4                 ***
 4                                                        5            MR. CONLEY: Usual stipulations?
      By Mr. Ready            5, 147                      6            MR. READY: Yes. Usual
 5
      By Mr. Conley           132                         7       stipulations except he may read and sign.
 6                                                        8            MR. CONLEY: We'll let you know
 7                                                        9       afterwards.
 8                                                       10                 ***
               INDEX TO EXHIBITS
 9                                                       11              EXAMINATION
10                        PAGE                           12 BY MR. READY:
     EXHIBIT       DESCRIPTION         MARKED            13       Q. Good morning, Sergeant McClure.
11                                                       14       A. Good morning, sir.
12
13        (No exhibits were marked.)
                                                         15       Q. It's good to meet you again. I
14                                                       16 know we met yesterday. My name is Joel Ready.
15                                                       17 I'm representing Damon Atkins in this case. I
16                                                       18 know you sat through everything yesterday, so
17
                                                         19 you've heard these instructions, but I'm just
18
19                                                       20 going to run through them again real quick. I'll
20                                                       21 ask you to let me finish all of the question
21                                                       22 before you try to answer, and I will do my best
22
                                                         23 to let you finish your answer before I jump in.
23
24                                                       24 Okay?
25                                                       25       A. Yes.

                                                                                              2 (Pages 2 - 5)
                                        Veritext Legal Solutions Plaintiff's App. 054
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 56 of 116


                                              Page 6                                                   Page 8
 1       Q. Second, you're doing a great job            1       Q. And you were wearing that
 2 so far. Try to verbalize your responses rather       2 pursuant to the City's rules at that time?
 3 than nodding or saying uh-huh or uh-uh. That's       3       A. Yes, sir.
 4 for our court reporter's benefit.                    4       Q. Okay. So I want to take you back
 5       A. Yes.                                        5 to June 3rd of 2023. How long had you been on
 6       Q. And then third and finally, feel            6 duty that day when this confrontation with Mr.
 7 free to take a break at any time. I would just       7 Atkins began?
 8 ask that you finish whatever question you're on,     8           MR. CONLEY: Objection to the
 9 but if you need a break, just let me know, and       9       form, but you can answer.
10 we'll stop. Okay?                                   10       Q. Let's see if I can clean that
11       A. Yes, sir.                                  11 question up. I can probably ask it better. When
12       Q. All right. Would you state your            12 did you start your shift that day?
13 full name for our record?                           13       A. The best that I can recall,
14       A. Bradley T. McClure.                        14 because this was an overtime shift, so it
15       Q. Throughout today I'll be                   15 wouldn't have been my normal starting time. I
16 referring to the city, and you'll understand, I     16 believe it was 8:30 in the morning.
17 think, that that's the City of Reading, correct?    17       Q. Was this a Saturday?
18       A. Yes.                                       18       A. Yes, sir.
19       Q. Where are you employed?                    19       Q. Okay. When you say overtime
20       A. City of Reading Police                     20 shifts, what does that mean?
21 Department.                                         21       A. In my current job as a traffic
22       Q. How long have you been employed            22 sergeant, so by contract my hours are Monday to
23 there?                                              23 Friday, 7:00 to 3:00. So anything outside of
24       A. I was hired July 2nd of 2007.              24 Monday to Friday, 7:00 to 3:00 would be overtime.
25       Q. You currently hold the rank of             25       Q. What does it mean that you're a
                                              Page 7                                                   Page 9
 1 sergeant. Is that correct?                        1 traffic sergeant?
 2       A. Yes, sir.                                2       A. Well, I'm the supervisor for the
 3       Q. How long have you been a                 3 traffic unit. Now, the traffic unit in Reading,
 4 sergeant?                                         4 the patrolmen handle the traffic issues,
 5       A. I was promoted January -- it was         5 obviously. They handle, like, school bus
 6 either 1st or 2nd of 2017. I don't know what      6 violations, like when people drive around the
 7 date that was effective.                          7 stop sign, abandoned cars, if we have complaints
 8       Q. How old are you today?                   8 about, like, speeding on certain roads, and we
 9       A. I'm sorry?                               9 are also in charge of all special events in
10       Q. How old are you today?                  10 Reading.
11       A. Fifty-two.                              11       Q. And that would include a
12       Q. What did you do before you worked       12 permitted event like the one at issue here?
13 with the Reading Police Department?              13       A. Yes, sir. Yeah.
14       A. I was a corrections officer at          14       Q. Why is your department in charge
15 Berks County Prison.                             15 of permitted events?
16       Q. How long were you there?                16       A. I don't know the answer to that.
17       A. I was there from October 13, '99        17       Q. Okay. Fair enough. Is that
18 until June 30th of 2007.                         18 related to the fact that traffic has to be shut
19       Q. So you were here yesterday when         19 down or is that just how kind of the lot falls on
20 we showed some footage. You've seen the body cam 20 who's responsible?
21 footage in this case, correct?                   21       A. You probably hit it right there.
22       A. Yes, sir.                               22 I don't know, but the fact that obviously most of
23       Q. And that body cam was a Reading         23 these events affect traffic is probably how it
24 Police Department-issued body camera, correct?   24 turned out that way. It was certainly this way
25       A. Yes, it was.                            25 when I started. I'm not a hundred percent sure
                                                                                            3 (Pages 6 - 9)
                                   Veritext Legal Solutions Plaintiff's App. 055
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 57 of 116


                                                Page 10                                                   Page 12
 1 why we have it.                                         1 16. I think it was Friday, November 16th of '07.
 2       Q. Okay. So I want to just start on               2       Q. And what training -- sorry. What
 3 the -- there was some discussion yesterday with         3 education did you have before the academy?
 4 Chief Tornielli about the distortion of body            4       A. I had gone to Reading Community
 5 camera footage?                                         5 College. I was an accounting major. I did not
 6       A. Yes.                                           6 finish. I was in my second year, and I didn't
 7       Q. You've seen the body camera                    7 finish. I'm not proud to say.
 8 footage in this case, correct?                          8       Q. And you were in the Marines after
 9       A. Yes.                                           9 high school. Is that correct?
10       Q. Do you think it reflects what you             10       A. Yes, sir.
11 saw that day?                                          11       Q. How long did you serve?
12       A. Well, what I saw -- again, in                 12       A. From '89 to '93.
13 line with what he said, of course it's not             13       Q. Did you review any documents in
14 exactly what I saw because the -- I wear my body       14 preparation for your deposition here today?
15 camera here, which is -- I wish it could be            15       A. I looked at some of the news
16 higher, but just the way our shirts are, this is       16 articles, body camera -- do you mean body camera
17 as high as it can go.                                  17 footage, also?
18           And, obviously, it only captures             18       Q. Sure.
19 what was happening at that moment. Like, it            19       A. Yes. Yeah.
20 doesn't see anything out of the peripheral             20       Q. So you reviewed the news
21 vision. It doesn't see anything, you know,             21 articles. Which articles did you review, if you
22 behind me. So like Chief Tornielli said, and           22 recall?
23 we're taught this even when we started wearing         23       A. Well, I don't recall. I did not
24 the body cameras, they're a tool, and they're a        24 read them word for word. Obviously, they were
25 great tool to have, and I'm glad that we have          25 not very favorable towards me, so...
                                                Page 11                                                   Page 13
 1 them, but they do have their limitations.               1       Q. And you watched the body camera
 2       Q. You mentioned the height of the                2 footage, you said?
 3 camera and the peripheral that doesn't capture.         3       A. Yes, sir.
 4 Is there anything else that you think the body          4       Q. Anything else you reviewed in
 5 cameras don't accurately capture when they're on?       5 preparation for today?
 6       A. Well, just, I believe distances                6       A. No.
 7 and sizes of things are distorted just based on         7       Q. Did you have any discussions with
 8 their filming angle and where they're filming           8 anyone other than your counsel in preparation for
 9 from. They're intentionally cut off. They               9 this deposition?
10 intentionally do not cut -- do not include an          10       A. In preparation for the
11 officer's field of vision and also sounds. Like,       11 deposition, no.
12 we may hear something, but maybe a car driving by      12       Q. Related to this case at any point
13 distorts or hides the sound. Again, they're            13 in time, have you reviewed any statements or
14 great, but they have their limitations.                14 written reports by Mayor Eddie Moran?
15       Q. Okay. I want to take you back to              15       A. No. No.
16 your beginning with the Reading Police                 16       Q. How about statements, written or
17 Department. Did you go through the Reading             17 otherwise, by Courtney Dupree?
18 Academy?                                               18       A. No.
19       A. Yes, sir. Yes. I was hired by                 19       Q. Did you talk with Ms. Dupree
20 Reading and then they put me through the academy.      20 about this incident after it happened?
21       Q. Do you remember when you went                 21       A. Briefly we did. Yes.
22 through?                                               22       Q. When was that?
23       A. July 2nd was my first day.                    23       A. Well, we would have discussed it
24       Q. How long does the academy last?               24 that day, maybe once in the few weeks afterwards.
25       A. Our graduation date was November              25 Nothing official. Like, we didn't set up a

                                                                                             4 (Pages 10 - 13)
                                    Veritext Legal Solutions Plaintiff's App. 056
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 58 of 116


                                               Page 14                                                    Page 16
 1 meeting or anything. As I recall, I was still          1 City Park, you're good. You can leave. You're
 2 working one night. She was the 7:00 p.m. to 7:00       2 done. I'll take care of everything else.
 3 a.m. shift, and we had, like, just a brief             3       Q. So your conversation about Mr.
 4 discussion about it.                                   4 Atkins after the arrest with Courtney Dupree was
 5       Q. Was Ms. Dupree on the traffic                 5 about who was going to file the charges?
 6 division with you?                                     6       A. That's all I can remember talking
 7       A. No. She wasn't.                               7 about. It was brief. It wasn't, like, in-depth
 8       Q. Did you two regularly work                    8 about what did you see, what did I see, because
 9 together?                                              9 we were both there.
10       A. No.                                          10       Q. Okay. You said you also spoke
11       Q. What did you discuss that day                11 once a few weeks after with Courtney Dupree.
12 after the incident?                                   12 What did you discuss at the time?
13       A. Do you mean the day of the                   13       A. That would have been very
14 incident?                                             14 informally, and that would have -- that revolved
15       Q. Yes.                                         15 more around the backlash that I was getting, not
16       A. Okay. I think that -- I see what             16 only the calls to the police department, but some
17 you said. Okay. Sorry.                                17 people had, you know, taken the time to find my
18       Q. Let me clarify.                              18 personal phone number and make some calls to me
19       A. I just misunderstood you. I'm                19 that were not very complimentary, so that's --
20 sorry.                                                20 that conversation would have centered around
21       Q. That's okay. Let me clarify and              21 that.
22 make sure I understood. I think you said you          22       Q. Did you discuss anything else
23 discussed it that day with her after the arrest       23 about Mr. Atkins with Courtney Dupree?
24 was made?                                             24       A. Not that I recall. In fact, she
25       A. Right. Yes, sir.                             25 and I rarely saw each other, and the next time
                                               Page 15                                                    Page 17
 1       Q. What was that discussion like?                1 that we even had a conversation about this would
 2       A. Just very briefly. Like,                      2 have been, I think it was in November when
 3 normally in an arrest situation at our department      3 somebody from the lawyer's office came to City
 4 the patrolmen handle all the charges. So a             4 Hall to see us and met with us. I'm sorry. I
 5 street sergeant -- which I'm a traffic sergeant.       5 don't remember his name.
 6 You're still a street sergeant -- doesn't do           6             MR. CONLEY: If it was a
 7 criminal complaints. You would have one of the         7       conversation with a lawyer, don't discuss
 8 patrolmen do it.                                       8       the conversation.
 9            And I could have done that. I               9             THE WITNESS: I'm sorry.
10 could have said, you know, Courtney, you're going     10             MR. CONLEY: That's okay.
11 to handle these charges. You were there. Do the       11 BY MR. READY:
12 charges. I didn't feel right about that. I was        12       Q. That's fine. Other than the
13 the one who made the decision to make the arrest.     13 conversations you described so far, were there
14 She was also -- it was her day off, too. She was      14 any other times that you and Courtney Dupree
15 there on overtime. I knew none of us wanted to        15 talked without a lawyer present?
16 stay late, so I said, you know what? It was my        16       A. Not that I recall.
17 decision. I'll do it. I'll take care of the           17       Q. Okay. Did you review any
18 charges for you.                                      18 statements in preparation for today or previously
19            And that was really the extent of          19 by Richard Tornielli?
20 our conversation about the incident itself. The       20       A. The only -- the statement that he
21 rest -- and this would have happened right after      21 released to the media which was -- yesterday was
22 as they're probably forming for their march up to     22 the first time I had seen it. I really steered
23 City Park, and so the rest of our conversation        23 away from news coverage. I'm not really active
24 was what you're going to do during this and what      24 in news coverage anyway. I'm probably a little
25 I'm going to do during this, and once they get to     25 less informed, but regarding to this event, I

                                                                                             5 (Pages 14 - 17)
                                   Veritext Legal Solutions Plaintiff's App. 057
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 59 of 116


                                               Page 18                                                   Page 20
 1 didn't actively look at any.                           1 with this, you know, these people contacting you,
 2           Now, he had emailed the entire               2 and he asked if I wanted to take the rest of the
 3 police department when the district attorney           3 week off, Wednesday, Thursday, Friday on
 4 decided to squash the charges, and he sent a long      4 administrative leave so I didn't have to deal
 5 email to the department. That was the only thing       5 with it.
 6 that I read from him about this.                       6            I believe the feeling at that
 7       Q. That was from John Adams?                     7 point was these phone calls are going to die down
 8       A. The email was from Chief                      8 quickly. So I said -- I thanked him, and I said
 9 Tornielli. It was his response to the district         9 yes. Yeah. I'll take the admin leave for three
10 attorney's decision not to pursue the charges.        10 days, and he said -- he responded okay. That's
11       Q. And Mr. Tornielli sent a long                11 what I would have chosen, too, and that was the
12 response after that to the department?                12 end of it.
13       A. Yes.                                         13       Q. What does administrative leave
14       Q. Okay.                                        14 mean?
15       A. Well, like, a paragraph. It was              15       A. Administrative leave can be done
16 several sentences.                                    16 for different things. In this case, they're
17       Q. Okay. Did you and Chief                      17 giving you paid days off. He felt I needed paid
18 Tornielli speak about this incident?                  18 days off just so I wouldn't have to be at City
19       A. Briefly, yes.                                19 Hall when this happened.
20       Q. When was that?                               20            Now, administrative leave can be
21       A. The first time that we                       21 used if an officer is involved in a shooting.
22 communicated -- this incident happened on a           22 They'll give him paid days off until everything
23 Saturday morning. The first time I heard from         23 is cleared. Now, it can be used punitively, too.
24 him was Tuesday. It was late Tuesday night which      24 It can be used pending suspension. Obviously,
25 would have been, I don't know, the 6th of June,       25 that was not the case in my case.
                                               Page 19                                                   Page 21
 1 and Tuesday was the day that the phone calls           1       Q. No one communicated to you that
 2 started coming to my phone. And late that night        2 this was a punitive measure, correct?
 3 he had sent me a text message about -- because he      3       A. No.
 4 was informed because -- I'm sorry.                     4       Q. And this is -- practically
 5            When I first started getting                5 speaking, this is basically PTO, paid time off,
 6 phone calls, I told my immediate supervisor which      6 that's in addition to your normal paid time off?
 7 is Captain Rogers. Captain Rogers was the              7       A. Yes.
 8 command duty officer that day, so he called the        8       Q. Okay. Did you have other
 9 chief because this was after hours and then the        9 responsibilities during that time of
10 chief sent me a text message that night about it.     10 administrative leave?
11            And there was, like, a                     11       A. No.
12 two-text-message response between me and him or       12            MR. CONLEY: Objection to form.
13 he and I and then we spoke briefly about it. I'm      13       You can answer.
14 thinking it was sometime in July or maybe early       14       A. I'm sorry.
15 August to the best of my recollection. Yeah.          15            MR. CONLEY: Just for clarity,
16       Q. What did you discuss in that                 16       what kind of responsibility?
17 conversation?                                         17       Q. Sure. Let me rephrase. Did you
18            MR. CONLEY: I'm sorry. The text            18 have other job responsibilities you were supposed
19       conversation or the July conversation           19 to be doing from home during that administrative
20       just for clarity?                               20 leave?
21       Q. Sure. Let's start with the text              21       A. No, sir.
22 conversation. What did you discuss there?             22       Q. Did you review any
23       A. The text message came from him,              23 statements -- I'm sorry. I'm getting ahead of
24 and it was kind of a long message, and I remember     24 myself.
25 it started out, I'm sorry that you have to deal       25            You also told us you had another

                                                                                            6 (Pages 18 - 21)
                                   Veritext Legal Solutions Plaintiff's App. 058
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 60 of 116


                                                Page 22                                                  Page 24
 1 conversation with Mr. Tornielli, Chief Tornielli        1 the same thing, so he went back on the sidewalk.
 2 in July. What was the substance of that                 2            And a third guy showed up -- or,
 3 conversation?                                           3 I'm sorry, fourth and fifth guy showed up.
 4        A. Well, again, I'm not sure if it               4 They're a different group. I told them the same
 5 was sometime in July or early August. It was            5 thing. As soon as I got done telling them, I
 6 very brief, and we basically talked -- and,             6 turned to walk away -- or I just turned. I don't
 7 again, this was not a formal meeting. This was a        7 even think I took a step, and he continued right
 8 chance encounter in the chief's -- not his              8 up again, and my choice at that point was do
 9 office, but the administrative area.                    9 I -- I've already set the standard. I've already
10             And I just said, hey, this                 10 laid the parameters down. This is what we can
11 is -- this is why I chose to do this, and, you         11 do. This is what we can't do. These other
12 know, this was happening. He's like, you know, I       12 people have heard the same thing. They complied.
13 understand. And then we talked really more about       13 This person didn't comply.
14 the phone calls that were coming in to the police      14            So if I don't take action now,
15 department itself was the majority of the -- it        15 does that embolden these people to keep their --
16 was a short conversation.                              16 just resume their yelling? Does this group yell
17        Q. Did you talk to him about the                17 back? Does this whole thing turn into a circus
18 arrest and why you had done the arrest?                18 is the term I was using, and that's why I decided
19        A. Yes. I did bring that up. Yes.               19 to make the arrest then and there.
20        Q. What did you tell him?                       20        Q. What was the chief's response to
21        A. Well, I said, you know, what                 21 that explanation?
22 happened, that these protesters had showed up          22        A. I don't recall his exact words
23 before the event started, and -- I mean, do you        23 other than he thought it was justified.
24 want me to go into the whole thing now?                24        Q. He told you he thought that your
25        Q. Tell me what you told the chief.             25 actions were justified?
                                                Page 23                                                  Page 25
 1       A. Okay. And the first, you know,                 1       A. I don't know if he used those
 2 two guys showed up, and they were on the                2 exact words, but that was certainly his meaning.
 3 sidewalk, the same side of the sidewalk as the          3       Q. Did you have any other
 4 event organizers. I was going over just to talk         4 conversations with Chief Tornielli after that
 5 to the event organizers to say, hey, we're here.        5 conversation in July?
 6 We're going to be here. This is what we're doing        6       A. Any other conversations about
 7 with traffic.                                           7 this incident itself?
 8            I was not expecting protesters at            8       Q. Yes.
 9 all. And I told them, I said, hey, you can't be         9       A. Not that I can recall. And,
10 here. You know, they have a permit for this            10 again, I don't remember if that conversation was
11 event. They said it's a free country. I said, I        11 July or August. I'm not really -- because, like
12 get it. It is a free country. And either one of        12 I said, it wasn't a formal meeting. It was more
13 them or me, I don't remember who had the idea,         13 of a chance encounter, so I don't remember.
14 can we go across the street? I think it was one        14       Q. So you mentioned the text
15 of them. Can we stand across the street?               15 messages, and they were sort of about
16            And I said, yeah. Absolutely.               16 administrative leave?
17 That's a great idea. Let's go across the street.       17       A. Yes.
18 And I told them, these are the parameters. You         18       Q. And you had this conversation in
19 can stay here. You can hold your sign. You can         19 July or August. Is it fair to say that for 30
20 do this. Okay? But if you do these other               20 days after this incident, you didn't have any
21 things, if you're disrupting this event, you're        21 conversations with Chief Tornielli about what
22 going to get arrested.                                 22 happened on June 3rd?
23            Another guy showed up. I told               23       A. I don't know. The only reason I
24 him the same thing because he came right into the      24 would say it's not fair to say because I
25 street right in the midst of them, and I told him      25 don't -- I'm not a hundred percent sure the dates
                                                                                             7 (Pages 22 - 25)
                                    Veritext Legal Solutions Plaintiff's App. 059
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 61 of 116


                                               Page 26                                                 Page 28
 1 that I talked to him.                                  1 you for a statement or a version of events about
 2       Q. But you are confident that that               2 what happened?
 3 chance conversation and the text messages are the      3       A. No, sir.
 4 only conversations that you had with Chief             4       Q. And, to your knowledge, you've
 5 Tornielli about this incident?                         5 never been investigated by Reading or the police
 6            MR. CONLEY: Objection to form.              6 department about what happened on June 3rd, 2023?
 7       I just want to clarify. You mean, like,          7       A. No, I was not.
 8       in-person conversations as opposed to a          8       Q. Did you review any statements by
 9       text message conversation. Is that what          9 Paige Stuart at any time?
10       you're saying?                                  10       A. No.
11       Q. I'm saying the text messages you             11       Q. Did you and Officer Stuart speak
12 testified to and the chance encounter                 12 about this incident after it happened?
13 conversation you had with him are the only            13       A. I'm sure we did. I don't recall
14 communication you had with Chief Tornielli about      14 the tone of the conversation. We would have had
15 this incident. Is that correct?                       15 to have spoken because like I talked to Courtney,
16       A. Near as I can recall. Like,                  16 you know, they're going to do their march, and I
17 there was no, like, formal, the chief, hey, I         17 would have told Paige, hey -- I think Paige was
18 need you to see me now. We're going to talk           18 at the front of it. Regardless, you're going to
19 about this. It was nothing like that. No.             19 do this, and when they're done, when they're at
20       Q. How about anyone working on                  20 City Park, we're done. Probably nothing more
21 behalf of the chief or the police department or       21 in-depth than that.
22 the city? Did you have further conversations          22       Q. Did you ask her what she had saw
23 with anyone about the arrest of Damon Atkins or       23 or observed or anything in preparing your
24 the incident on June 3rd?                             24 criminal complaint?
25       A. Well, yes. Again, these are not,             25       A. No.
                                               Page 27                                                 Page 29
 1 like, formal conversations. These are people       1      Q. So I'm going to ask you a
 2 saying, you know, what happened. One of the        2 question I asked everybody yesterday. We've
 3 members of the command staff called me on          3 received performance evaluation reports for the
 4 Wednesday morning, Wednesday, which I guess is     4 years 2008, '09, '10, '11, '12, '13, '14, '15,
 5 June -- I'm sorry if I'm getting the dates wrong.  5 '17 and '18.
 6 Is it June 7th? And we had a command staff         6           Did you receive performance
 7 meeting which was -- which are Thursday mornings. 7 evaluations in the years that were not provided?
 8            Now, the Thursday after this            8      A. Yes. And I can make a very good
 9 event I was on admin leave for the command staff   9 guess as to why the other ones were not there.
10 meeting, so I had to go to the -- the traffic     10           MR. CONLEY: I don't want you to
11 sergeant at that time was required to go to       11      guess.
12 command staff meetings, so it was the following   12           THE WITNESS: A very educated
13 Thursday. It was briefly talked about at command  13      guess. I can give a very --
14 staff.                                            14           MR. CONLEY: You can provide an
15        Q. What was discussed?                     15      explanation.
16        A. Well, basically, I'll say nothing       16           THE WITNESS: I would have bet
17 official. They were -- it was about the phone     17      all the money in my wallet.
18 calls coming into the city.                       18           MR. CONLEY: Again, I don't want
19        Q. And did anybody ask you for a           19      you to guess. Testify to what you know
20 statement during that meeting about what had      20      about, and I apologize, Counsel. I
21 happened?                                         21      understand this is your deposition, but I
22        A. No.                                     22      don't want you to guess.
23        Q. How about after that or any other       23           MR. READY: That's okay.
24 time? Did anybody on behalf of the city or the    24 BY MR. READY:
25 police department or on behalf of the chief ask   25      Q. You can give me your theory if
                                                                                           8 (Pages 26 - 29)
                                   Veritext Legal Solutions Plaintiff's App. 060
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 62 of 116


                                               Page 30                                                 Page 32
 1 it's an educated theory, and that's fine. And I        1       Q. Okay. I'm going to -- one
 2 understand you're not sure.                            2 moment.
 3       A. Yes. 2016 I know for a fact I                 3           (A short break was taken.)
 4 did not get any evaluations because the sergeant       4 BY MR. READY:
 5 who was my sergeant was -- didn't do evaluations,      5       Q. I'm going to represent to you the
 6 and his lieutenant or shift lieutenant at the          6 binder in front of you is a binder discovery that
 7 time didn't make him do evaluations.                   7 your attorney provided to us in this matter. I'm
 8            Around 2019 we changed and                  8 going to ask you to flip to Reading 202. It's
 9 implemented a new program at the Reading Police        9 toward the back of the binder. And for the
10 Department called Benchmark, which I'm not going      10 record, when I refer to Reading 202, those are
11 to do it, but I could talk hours about the cause      11 the Bates stamps provided to us in discovery.
12 of Benchmark, but Benchmark is used for tracking,     12           Do you recognize this document?
13 use of force incidents and citizen complaints         13       A. Yes.
14 against police officers. For that it's great.         14       Q. And what is this document?
15            For some reason we use it for              15       A. This was my transfer to the
16 evaluations. For that it's un-great, which is         16 traffic unit. It's Chief Tornielli's memo to
17 not a word. So it would seem that whoever was         17 command staff and other members of the police
18 asked to provide my performance evaluations           18 administration, not officers, that I was
19 simply got the written evaluations when we used       19 transferred to the traffic unit.
20 to write them out and print them and did not get      20       Q. And was this the first time that
21 the evaluations off Benchmark. Whether they           21 you had been assigned to traffic unit?
22 thought that the Benchmark ones were included, I      22       A. Yes, sir.
23 don't know, but they're there. I did get them,        23       Q. And is this the document that as
24 and they're on the Benchmark program.                 24 far as you understand officially made your
25       Q. So from 2019 to the present, your            25 transfer complete?
                                               Page 31                                                 Page 33
 1 evaluations have all been done on this Benchmark       1       A. Yes.
 2 program?                                               2       Q. Okay. As part of the transfer to
 3       A. Yes, with the exception of '23.               3 the traffic unit, what policies and procedures
 4 I did not get one in '23.                              4 did you have to familiarize yourself with?
 5       Q. You have not yet -- you have not              5       A. Well, there was -- no policies
 6 yet been evaluated for 2023. Is that correct?          6 and procedures that -- it was on-the-job
 7       A. I was not given an evaluation.                7 training. March 27th which was a Monday was my
 8 No. Yes. That's correct.                               8 first day in traffic, and I was replacing
 9       Q. When are evaluations normally                 9 Sergeant Dougherty who had announced his
10 done?                                                 10 retirement, and March 27th started his final
11       A. They are -- they're supposed to              11 week, so I worked with him for Monday through
12 be done in December. Sometimes the deadline will      12 Friday that week.
13 get extended to the middle of January, and            13       Q. I'm going to turn your attention
14 usually by the end of January.                        14 to Bates 63 back toward the front. Do you
15       Q. And you were not evaluated for               15 recognize this document?
16 this past year?                                       16       A. Well, it's a general order for
17       A. No. I was not given an                       17 special events.
18 evaluation for '23.                                   18       Q. Have you reviewed this document
19       Q. Do you know why?                             19 before?
20       A. I can't guess.                               20       A. I don't recall if I looked at
21       Q. Okay. No one told you that you               21 this. No.
22 were not being evaluated or that there was a          22       Q. Okay. Did you receive any
23 reason for no evaluation this year?                   23 training from the Reading Police Department on
24       A. That's correct. No one told me               24 special events?
25 that.                                                 25       A. Not officially. It was just, you

                                                                                           9 (Pages 30 - 33)
                                   Veritext Legal Solutions Plaintiff's App. 061
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 63 of 116


                                               Page 34                                                    Page 36
 1 know, from being with Sergeant Dougherty for that      1 I thought they were just talking. When I
 2 week.                                                  2 realized it was an argument and it was pretty
 3       Q. Who is your immediate supervising             3 serious, I told them, you know, that's enough.
 4 officer as the traffic -- in the traffic               4 You guys got to stop. And the one said -- I
 5 division?                                              5 said, you guys got to stop before this gets
 6       A. My immediate supervisor is the                6 worse, and the one said, well, it's about to get
 7 patrol captain which has been Captain Rogers           7 a lot worse.
 8 since my transfer to traffic to the present day.       8           Long story short, they wouldn't
 9       Q. Do you know why you were assigned             9 stop arguing until another patrolman came over
10 to the traffic division?                              10 and separated. It was nothing physical. They
11       A. I applied for it.                            11 were just arguing, and another supervisor heard
12       Q. Why did you apply for it?                    12 it but didn't respond to it. Somehow I got
13       A. Well, I spent my entire career in            13 written up for it because they wouldn't listen to
14 patrol, and I love patrol work. However, in           14 me when I told them to stop arguing, and I got a
15 2022, January of '22, we switched from eight-hour     15 written reprimand.
16 shifts to 12-hour shifts, and it wasn't working       16       Q. And what was the reprimand in
17 out for me. Traffic was a Monday through Friday       17 2021?
18 job, eight-hour shifts, and I thought the             18       A. '21, an officer had arrested
19 schedule would work better for me.                    19 somebody for a PFA violation, protection from
20       Q. Do you have any disciplinary                 20 abuse violation, and he had -- I was not on scene
21 history with the Reading Police Department?           21 for this. I was merely the shift commander that
22            MR. CONLEY: Objection to form.             22 day, but he had put the person's wallet and phone
23       You can answer.                                 23 on top of his police car, like, after he had
24       A. I was -- yes. Yes.                           24 searched him incident to arrest, and he was
25       Q. When did you receive discipline              25 waiting for a transport wagon.
                                               Page 35                                                    Page 37
 1 by the Reading Police Department?                  1            And the wait time was kind of
 2      A. Well, one would have been                  2 long because the wagon driver was busy, and the
 3 sometime maybe -- well, it was an incident that    3 wagon got there. They put the prisoner in the
 4 occurred on January, I believe, 8th of 2012, so    4 wagon, and the officer forgot to give the phone
 5 the discipline would have come maybe around March 5 and the wallet back and drove off without it.
 6 of 2012.                                           6            When he realized his mistake, he
 7      Q. And what was that for?                     7 found the wallet but couldn't find the phone, and
 8      A. Well, that was -- my police car            8 when he told me, I said, make sure you document
 9 got stolen.                                        9 that in your report. What I should have said was
10      Q. Why were you disciplined for the          10 document that on, you know, a police memo which
11 car getting stolen?                               11 we call E8. So I was given a written reprimand
12      A. Well, because I left the car              12 for that for telling him to document it in the
13 running and the door was unlocked, and I didn't   13 wrong place.
14 keep eyes on the car.                             14       Q. Did you receive any other
15      Q. After that time did you have              15 discipline from the Reading Police Department?
16 other discipline from the Reading Police          16       A. Not that I can recall.
17 Department?                                       17       Q. What was the reason for your
18      A. I know I did. I have at least             18 discharge from the United States Marine Corps?
19 one written reprimand from 2017 and I think one   19       A. I was -- I tested positive on a
20 from 2021.                                        20 drug test in 1992.
21      Q. And what was the one from 2017            21       Q. What did you test positive for?
22 for?                                              22       A. It was cocaine.
23      A. 2017 was I walked into the midst          23       Q. Have you used cocaine in the last
24 of an argument between two patrolmen which I      24 four years?
25 didn't recognize that they were arguing at first. 25       A. No.

                                                                                           10 (Pages 34 - 37)
                                   Veritext Legal Solutions Plaintiff's App. 062
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 64 of 116


                                               Page 38                                                   Page 40
 1      Q. Have you used any other illegal            1 a copy of the disorderly conduct statute. I've
 2 drug in the last four years?                       2 highlighted part of it, but if you want to review
 3      A. No, sir.                                   3 it.
 4      Q. You heard some of the questions            4      A. Right. So under the grading
 5 yesterday. I'm going to run through a few of       5 section, persists in the conduct after reasonable
 6 them. What training did you receive from the       6 warning or request to desist. On the other
 7 police academy about the First Amendment?          7 section of -- you know, of the intent is to cause
 8      A. Well, we did have training on the          8 substantial harm or serious inconvenience.
 9 amendments in the academy. I don't recall          9      Q. So the reason that you would
10 specifically the First Amendment. The one I       10 charge it as a misdemeanor rather than a summary
11 remember the most being emphasized in the academy 11 is because of repeated conduct, you said, and any
12 was the Fourth Amendment.                         12 other reason?
13      Q. Do you remember your training on          13            MR. CONLEY: Objection to form.
14 the First Amendment from the academy?             14      I don't believe that was his testimony,
15      A. No. Not specifically.                     15      but you can answer.
16      Q. Do you remember any training at           16      Q. Well, let me ask you then again.
17 the academy on differentiating between protected  17 Maybe I misunderstood.
18 versus unprotected speech?                        18            What would be the reasons then
19      A. No, sir. I don't.                         19 based on the statute and your experience that you
20      Q. Since being in the academy have           20 would charge disorderly conduct as a misdemeanor
21 you received any training from the Reading Police 21 rather than as a summary offense?
22 Department on the First Amendment?                22      A. Well, I would go by -- and I have
23      A. Not that I can recall.                    23 charged as a misdemeanor before, and I would go
24      Q. What training have you received           24 by the crimes code. If it's -- you know, if the
25 on the offense of disorderly conduct?             25 intent is to cause harm or inconvenience or if
                                               Page 39                                                   Page 41
 1       A. Just what -- you know, during the             1 the person persists after reasonable warning or
 2 crimes code in the academy and also from being in      2 request to desist.
 3 the field training program with -- you know, with      3       Q. And how do you differentiate
 4 the training officer.                                  4 between someone who has a right to persist in the
 5       Q. What did you learn from the                   5 conduct and someone who doesn't in making that
 6 police academy about the offense of disorderly         6 determination for charging purposes?
 7 conduct?                                               7           MR. CONLEY: Object to form. You
 8       A. Well, in the academy when we do               8       can answer.
 9 crimes code, it's strictly reading from crimes         9       A. I'm sorry. Are you saying how do
10 code and just taking it from the crimes code. It      10 I differentiate the conduct where somebody who
11 was certainly not -- not that I can recall an         11 has a right to?
12 in-depth block of instruction on that specific        12       Q. You said that if there's a
13 charge.                                               13 reasonable request to stop, but of course people
14       Q. Do you agree with Chief                      14 ask people to stop doing things all the time that
15 Tornielli's statement yesterday that disorderly       15 they have a right to do. So how do you as an
16 conduct is usually a summary offense?                 16 officer make the determination about what's
17       A. Normally it's a summary. Yes.                17 protected conduct or speech in making a
18       Q. Why is it charged as a                       18 determination to charge?
19 misdemeanor in some circumstances?                    19           MR. CONLEY: Same objection. You
20       A. Well, it can be charged by a                 20       can answer.
21 misdemeanor. One of the things would be repeated      21       A. That's just something you're
22 or police warnings that the person didn't comply      22 going to have to decide as the circumstances are
23 with. Without looking at the crimes code, I           23 given. Like, every situation is different.
24 wouldn't know it exactly. Thank you.                  24       Q. Are there any guidelines that you
25       Q. I'm going to put in front of you             25 had been taught to use in making that

                                                                                           11 (Pages 38 - 41)
                                   Veritext Legal Solutions Plaintiff's App. 063
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 65 of 116


                                                Page 42                                                    Page 44
 1 determination?                                          1 regularly?
 2       A. Unless it was something I learned              2       A. Well, the ones that I review the
 3 from a training officer, I don't remember               3 most, first-line supervisor's responsibilities,
 4 anything official. The officers in our                  4 pursuit policy. Those are the ones that are
 5 department are given a great amount of -- or are        5 sticking in my head right now. Probably some of
 6 encouraged to use their discretion. So when             6 the newer ones, the updated ones. I can't think
 7 we're deciding to -- and I'm not just saying it         7 of any right now.
 8 because I was a sergeant when this happened, I'm        8       Q. Did you review this one on
 9 talking about the patrolmen as well at their            9 constitutional requirements since your time in
10 level.                                                 10 the academy?
11           There's really -- nobody is                  11       A. No. Not that I can recall.
12 looking over their shoulder. You're expected to        12       Q. I'm going to turn your attention
13 make and evaluate each incident as it's                13 to number 97. Again, that's Reading 97. I'll
14 happening, make your decision based on that            14 represent to you this is the general order on
15 incident. It's hard to put, like, everything in        15 arrest authority. So, first, do you recognize
16 a box and say when this happens, you do this or        16 this document?
17 when this happens, you do this. You're just            17       A. Yes.
18 going to have to deal with them as they come up.       18       Q. And have you reviewed this since
19       Q. I'm going to draw your attention              19 your time in the academy?
20 to what is Bates number Reading 78. I'll take          20       A. I don't recall that. Well, no.
21 this back. And do you recognize this document?         21 I don't recall.
22       A. Well, I recognize it as a general             22       Q. Sorry. You don't recall if
23 order on constitutional requirements from reading      23 you've read it, or are you saying you don't think
24 it. Yes.                                               24 you read it?
25       Q. Do you recall when you first                  25       A. Well, when I was -- at one point
                                                Page 43                                                    Page 45
 1 reviewed this general order?                            1 for about a year and a half, maybe two years I
 2       A. Well, I was given general orders               2 was the director of the training program for the
 3 when I was in the orientation which is two weeks        3 new officers on the street, and we had a general
 4 from graduation to the academy to the day that          4 orders class, which I would take the new officers
 5 you start with your training officer.                   5 over general orders. And certainly as I'm paging
 6       Q. That was in 2007, correct?                     6 through this, arrest without warrant is, yes,
 7       A. Yes, sir.                                      7 something that we do discuss, so I have reviewed
 8       Q. Have you received updated copies               8 it as part of that.
 9 of any of these general orders since 2007?              9       Q. And we discussed this a little
10       A. If I -- yes. We receive general               10 bit yesterday when you were present. There's a
11 order updates fairly regularly. Now, they're           11 reference on 98. It says separately issued
12 given out at roll call by whoever the shift            12 guidelines under C(2). Are you aware of any
13 commander is that day, and each officer is to          13 separately issued guidelines on the arrest
14 sign and date them. You're signing that you've         14 without a warrant authority for the Reading
15 not only received a copy, but you're also signing      15 Police Department?
16 that you've read it, too.                              16       A. I am not.
17       Q. These general orders, how often               17       Q. Okay. So you would agree that
18 would you say that you review them?                    18 this Section C is the full policy of the Reading
19       A. Some of them I've never reviewed.             19 Police Department as you understand it on arrest
20 Some I review -- I'm trying to give you more           20 without a warrant?
21 exact. I won't say regularly because -- some of        21            MR. CONLEY: Objection to form.
22 them I've reviewed a couple times a year just          22       You can answer.
23 depending on -- some of them are more -- are used      23       A. Yes.
24 more often on a day-to-day basis.                      24       Q. So I want to turn your attention
25       Q. Which ones do you review                      25 to Reading 143. Do you recognize this document?

                                                                                            12 (Pages 42 - 45)
                                    Veritext Legal Solutions Plaintiff's App. 064
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 66 of 116


                                              Page 46                                               Page 48
 1       A. Yes. Yes.                                 1 This was, like, a seminar that was given by some
 2       Q. And what is this?                         2 outside group.
 3       A. Well, that we had to take online          3        Q. Okay. Rather than directives,
 4 training, Calibre Press's, a company that          4 what recommendations did they make for overcoming
 5 provides online training to police departments,    5 your implicit bias?
 6 so this is the implicit bias one from 2020.        6           MR. CONLEY: Objection to form.
 7       Q. What did the implicit bias                7        You can answer.
 8 training teach you?                                8        A. Well, the same ones that I
 9       A. Well, the best I can recall,              9 mentioned in this one. Like, you have to drop
10 basically to not have biases. Like, everybody     10 your biases. You can't -- this person is a guy
11 comes into a situation with their own biases, and 11 who dresses like a girl. Well, you've got to
12 you're not -- you're supposed to overlook them 12 treat them like a girl if he thinks he's a girl,
13 and judge the people and the situations as they 13 that sort of thing. And, again, that's not
14 are, not from preconceived notions that you may 14 coming from the police department. That's this
15 have.                                             15 outside agency telling us this.
16       Q. What sorts of groups were you            16        Q. What did the agencies tell you
17 taught to look for implicit bias against?         17 about or recommend to you about how to overcome
18            MR. CONLEY: Objection to form.         18 your implicit bias in regards to religion?
19       You can answer.                             19           MR. CONLEY: Objection to form.
20       A. Well, I don't recall exactly, but        20        A. I don't recall that being a part
21 it seems it would be due with race, religion,     21 of it.
22 gender, ethnicity and also handicap, mental       22        Q. Have you received any training
23 health as well.                                   23 from the police department or any of these
24       Q. What did they teach you in               24 outside groups on hate speech?
25 regards to recognizing implicit bias with regards 25           MR. CONLEY: Objection to form.
                                              Page 47                                               Page 49
 1 to religion?                                       1       You can answer.
 2       A. Well, I don't recall the                  2       A. I don't recall. It's certainly
 3 specifics of the class. No.                        3 possible, but I don't recall at this time.
 4       Q. Did they teach you about                  4       Q. Just to be clear, you're saying
 5 recognizing implicit bias in regards to            5 it's possible you received that training, but you
 6 individuals who identify as LGBTQ?                 6 don't recall it as you sit here today?
 7       A. Well, we had that training. I             7       A. Yes. That's what I mean.
 8 don't know if it was included in this or if it     8       Q. Okay. I want to ask you about
 9 was another training, an in-person training that   9 the event that you recall, too. What was your
10 we had, but we had that at some point.            10 involvement, if any, in approving the permit for
11       Q. Okay. And what was that training         11 the Reading Pride Celebration?
12 about? What did it teach you?                     12       A. Well, I was present at the
13       A. Again, that's not this one. You          13 meetings with my secretary Audra and the mayor's
14 want me to talk about the in-person one?          14 assistant and also the head of the pride group.
15       Q. Sure.                                    15 My involvement at those meetings, I don't say
16       A. Well, that one had to do with you        16 much. They make their plans and say what they
17 can't treat people different because they         17 want to do, and when they ask me what police are
18 identify a certain way, and that was really the   18 needed for this, then I'll give my
19 whole thing. It didn't seem to be wholly          19 recommendation. It's my decision then to decide
20 relevant to policing itself. It was more of a     20 how many officers are going to be working it and
21 class that could be given to any group of people. 21 also ultimately approving the event has to meet
22       Q. What were the directives that the        22 certain standards for it to be approved.
23 officers received at that training on how to      23       Q. Who is Enrique Castro, Jr.?
24 overcome your own implicit bias?                  24       A. I think Enrique is the -- he's
25       A. Well, there were no directives.          25 the head of the pride group or the representative

                                                                                       13 (Pages 46 - 49)
                                   Veritext Legal Solutions Plaintiff's App. 065
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 67 of 116


                                                 Page 50                                                    Page 52
 1 of the pride group. He's the one that always             1       You can answer.
 2 shows up at City Hall.                                   2       Q. While you were present, no one
 3       Q. So he was involved in those                     3 attempted to talk him out of that concern or say
 4 meetings for the celebration?                            4 we'll do this or that to respond?
 5       A. I met with him one time.                        5       A. No, because it didn't -- it
 6       Q. What concerns were expressed to                 6 seemed more like an off-the-cuff comment, like,
 7 you about the Reading Pride Celebration                  7 towards the end of the meeting. It didn't -- it
 8 internally at the Reading Police Department?             8 wasn't like he forcefully brought this up. It
 9           MR. CONLEY: Objection to form.                 9 was just -- it just seemed almost like a
10       A. The first one was that he didn't               10 throwaway comment.
11 want to have it in Reading because the venue that       11       Q. What other meetings were you a
12 they had previously used at Center Park he said         12 part of leading up to the event, if any, to
13 was too small. I had nothing to do with previous        13 prepare for it?
14 ones, so I had no comment on that, and that he          14       A. I met one other time with just
15 wanted to take the whole thing to Muhlenberg            15 Delores who was the mayor's assistant and Audra
16 Township.                                               16 just to finalize what was supposed to go on, and
17           And the mayor -- the mayor's                  17 there was concerns about -- I raised concerns
18 assistant said the mayor said no. Have it in            18 about staffing with them.
19 Reading. We'll raise a flag for you at City             19       Q. What was your concern about
20 Hall. You can march to City Park and have a             20 staffing?
21 party or whatever there. And his concern was he         21       A. Well, Delores had told me that
22 was worried about getting -- like, people               22 the pride group had gotten a grant to pay for ten
23 harassing them was the only thing he said to me.        23 police officers. I said that that doesn't
24       Q. Mr. Castro was concerned about                 24 matter. Nobody is going to want to work this
25 that?                                                   25 event. We're not going to get anybody to work
                                                 Page 51                                                    Page 53
 1      A. Yes, sir.                                        1 this. That was my concern, that nobody would
 2      Q. Did he tell you what kind of                     2 work it.
 3 harassment he was worried about?                         3       Q. Why were you concerned that no
 4      A. No.                                              4 one would work the event?
 5      Q. Do you know if that was based on                 5       A. Because, quite frankly, a pride
 6 prior experiences or did he say why?                     6 celebration is not anything that -- most police
 7      A. No.                                              7 officers wouldn't want to work. They wouldn't
 8      Q. Okay. And did he express any                     8 want to even be involved in it. They wouldn't
 9 other concerns about having the event in Reading?        9 want to be there.
10      A. No.                                             10       Q. Why?
11      Q. What was the mayor's response to                11       A. Well, I can't answer for
12 the concerns about harassment?                          12 everybody else. I only know that it just would
13      A. I don't know.                                   13 not be a popular event, and I knew that and --
14      Q. Were you present in the meeting                 14 which is exactly what happened. I put it out for
15 when anyone responded to the concerns about             15 overtime, and nobody took it.
16 potential harassment?                                   16       Q. Why did you suspect that? Was
17      A. No.                                             17 that because of a prior event you had been
18      Q. So if I understand you correctly,               18 involved in? Is that just based on your
19 Mr. Castro just kind of raised the concern that         19 conversations with other officers?
20 there might be people who would harass them if          20       A. I had never been involved in a
21 they did this celebration?                              21 prior pride event. At this time I was fairly new
22      A. Yes.                                            22 in traffic. I worked some special events before.
23      Q. No one attempted to assuage that                23 Officers like to work certain types of events.
24 concern?                                                24 Others they don't like to work. And a pride
25           MR. CONLEY: Objection to form.                25 celebration, I knew this isn't -- this is not
                                                                                             14 (Pages 50 - 53)
                                    Veritext Legal Solutions Plaintiff's App. 066
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 68 of 116


                                             Page 54                                             Page 56
 1 going to be -- people are not going to take this  1 She makes sure if you want to do this, you got to
 2 detail.                                           2 do this. You have to provide us with insurances
 3       Q. How many officers agreed to work         3 or whatever, whatever she does. Every policy
 4 that day -- or let me rephrase that.              4 that needs to be followed to hold a special
 5            How many officers did work the         5 event, she handles all of that.
 6 pride event that day specifically?                6            When she gets everything she
 7       A. Three.                                   7 needs, she'll give this to me. This is not the
 8       Q. And those are the three officers         8 permit itself, but this is -- she'll give this to
 9 we've discussed in this case?                     9 me when she has -- the group has complied and
10       A. Yes.                                    10 provided all the information needed. So at that
11       Q. Did you have any other                  11 point I sign it and then she takes this, and from
12 conversations leading up to the event about      12 this she'll make the permit. I don't see it
13 preparations for it?                             13 here, but I do have a signed one somewhere.
14       A. Just traffic-related questions.         14 That's it. Yeah. Okay.
15 That was all I thought their involvement -- or   15       Q. You talked about some of the
16 our involvement was going to be. I only worked 16 policies and procedures for a permitted event.
17 the event because nobody else did initially, and 17 What policies and procedures do they have to
18 I felt, Jesus, head of traffic, that would look  18 follow to get a permit?
19 really bad if at least I didn't show up.         19       A. Well, whatever is on this form
20            Afterwards Dupree and Stuart          20 here. They have to -- I know at least one
21 agreed to work it, and I talked to them in the   21 representative of the group has to provide a
22 days prior. Not Dupree. I wouldn't have seen 22 photo ID. They may have to pay deposits for
23 her. She was night shift, but Paige Stuart I     23 equipment. They may have -- they have to write
24 talked to two days prior, and I said, this is    24 down if they want police or who's handling trash
25 going to be simple. They're going to raise this 25 or electric or things -- there's various things
                                             Page 55                                             Page 57
 1 flag. Ten minutes they're going to talk.         1 that they do. Picking rain dates, what time it's
 2 They're going to walk to City Park, and we're    2 going to happen, specifically what are they
 3 done. That's it.                                 3 doing, how many people they're expecting.
 4           MR. CONLEY: Do you need a break? 4             Q. You were designated as the chief
 5       You can take a break if you need it.       5 of police's coordinator for police coverage for
 6 BY MR. READY:                                    6 this event. Is that correct?
 7       Q. Were you involved -- I'm going to       7       A. Yes. And that would be correct
 8 turn your attention to Reading 18 in front of    8 for any special event.
 9 you, and I'll represent to you this is just the  9       Q. There was a public address system
10 permit for the event.                           10 that was specifically approved for this event,
11       A. Okay.                                  11 correct?
12       Q. Were you involved in approving         12       A. I don't recall. That's possible
13 this permit in any way?                         13 it was.
14       A. Yes. I have to approve all             14       Q. Let me ask a different way.
15 permits.                                        15 Normally when a PA address system is going to be
16       Q. So on Reading 21, is that your         16 used, they do have to get that approved through
17 signature?                                      17 this process, correct?
18       A. Yes.                                   18       A. That, I don't know.
19       Q. Okay. And what do you do in            19       Q. I'm going to turn your attention
20 deciding to approve a permit like this?         20 to Reading 51. This appears to be a memorandum
21       A. Well, there's -- to hold a             21 regarding this event. Is that correct?
22 special event they have to meet certain         22       A. Yes.
23 standards. Now, Audra Schreiner, the traffic    23       Q. What's the purpose of this memo?
24 secretary, does all the coordination with the   24       A. This memo here goes to public
25 groups. She makes sure -- she's very efficient. 25 works, and it's saying where we want wooden
                                                                                    15 (Pages 54 - 57)
                                   Veritext Legal Solutions Plaintiff's App. 067
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 69 of 116


                                                Page 58                                                    Page 60
 1 barricades, the location and specifically which         1       Q. What's the purpose of the
 2 corner of the intersection.                             2 barricades?
 3       Q. I see your name down here at the               3       A. In this situation on this sheet
 4 bottom, Sergeant Bradley McClure, number 668?           4 was for traffic control.
 5       A. Yes.                                           5       Q. All right.
 6       Q. Does this mean that you authored               6            MR. CONLEY: Can we go off the
 7 this memo?                                              7       record for a second?
 8       A. No. I didn't author this memo.                 8            MR. READY: Yeah.
 9 Audra writes these.                                     9            (A discussion was held off the
10       Q. Okay. Up in the top it also says              10       record.)
11 from Sergeant Bradley McClure.                         11 BY MR. READY:
12       A. So -- I'm sorry.                              12       Q. We're back on the record. I'm
13       Q. That's okay. Does that mean it                13 going to show you what has been marked as
14 comes from your office?                                14 Sergeant Bradley T. McClure video number one.
15       A. Yes. So I just want to clarify                15 This is the first of two body cam segments that
16 there. When the permit is ready and we're ready        16 were produced to us in discovery. I'm going to
17 to notify public -- when I say we, I mean Audra        17 play it from the beginning. So, first of all,
18 and I. She and I go over the barricade list and        18 you've seen this footage before, correct?
19 make sure -- or she runs it by me and makes sure       19       A. Yes, sir.
20 that I have all the spots covered. And once she        20       Q. And this is a true and accurate
21 and I agree on it, then she sends this memo to         21 reflection of the body camera footage from your
22 public works.                                          22 unit that day?
23       Q. So you did personally direct the              23       A. Yes, sir.
24 number of barricades listed here, correct?             24       Q. Do you know approximately what
25       A. I'm sorry?                                    25 time this footage began?
                                                Page 59                                                    Page 61
 1      Q. Did you personally decide how                   1      A. Well, the time up there says
 2 many barricades were going to be placed?                2 9:52. I don't know -- I'm sure that's accurate.
 3      A. Yes.                                            3      Q. As far as you know --
 4      Q. And this memo was drafted by your               4      A. Yes.
 5 assistant but on your behalf. Is that correct?          5      Q. -- the time stamp was correct?
 6      A. Yes, sir.                                       6      A. Yes. I've never heard anything
 7      Q. Okay. You may not have seen it                  7 about our time stamps being off.
 8 before it went out, though. Is that what you're         8      Q. So we're at the 30-second mark,
 9 saying?                                                 9 and I'm going to continue playing.
10           MR. CONLEY: Objection to form.               10           (Video being played.)
11      You can answer.                                   11      Q. I'm going to stop it at 1:24. So
12      A. I probably don't see the final                 12 we talked about some of the distortions that body
13 version. I don't think that's normal.                  13 camera footage can do?
14      Q. When we talk about barricades                  14      A. Right.
15 here, would you describe what that is? What's a        15      Q. Are there any of those
16 barricade?                                             16 distortions that you think affect a proper
17      A. Yes. These are -- we use two                   17 understanding of that interaction?
18 types of barricades. Either -- in this case,           18      A. Well, just distances look to be
19 these are wooden barricades which would be -- I        19 much farther than -- like, looking from here,
20 don't know -- the kind that has one long piece of      20 City Hall looks much farther away than it is, and
21 wood and then two legs that you have to assemble.      21 you can tell from that because the building looks
22 That's normally what we use for events unless          22 kind of bent. And other than that, it can't see,
23 we're expecting, like, major problems. Sometimes       23 you know, their faces. I'm getting a chest-level
24 we use public works trucks. On this case we            24 view of them.
25 weren't, so we just used the wooden barricades.        25      Q. And what about the face -- that

                                                                                            16 (Pages 58 - 61)
                                    Veritext Legal Solutions Plaintiff's App. 068
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 70 of 116


                                                Page 62                                                 Page 64
 1 was Matthew Wear who you were interacting with.         1 whole day's events.
 2 Is that correct?                                        2      Q. What did Chief Tornielli -- when
 3       A. I never got his name.                          3 did Chief Tornielli put out that new policy?
 4       Q. Okay. Do you know at this time                 4      A. I don't remember exactly, but at
 5 whether that was Matthew Wear as you sit here           5 some point in the weeks thereafter.
 6 today?                                                  6      Q. So you mentioned there were prior
 7       A. Only that you've told me that.                 7 interactions. Would you describe when those
 8       Q. Okay. All right. So outside of                 8 interactions began in the morning?
 9 this conversation, you're not aware of that --          9      A. Sure. And I mentioned a little
10       A. No.                                           10 of them earlier, and it was about -- I'm going to
11       Q. -- individual's name? Okay.                   11 say about 9:30 in the morning. This event had
12            Have you ever interacted with               12 not started. Can I point at the screen?
13 that individual before?                                13      Q. Sure.
14       A. No. No. That was my first.                    14      A. Do you mind? So our City Hall
15 See, the body cam should have went on earlier and      15 parking lot is back here, and --
16 so it doesn't capture my first interactions, but       16      Q. I'm going to stop you for a
17 I believe that was my first with him. It wasn't        17 second.
18 my first interaction of the day.                       18      A. I get it.
19       Q. So let me just clarify quickly.               19      Q. It's okay. You're fine. Because
20 You've never interacted with that individual on        20 our court reporter is blind, so to speak, we're
21 this day or before this interaction?                   21 going to ask you to describe it as if you're on
22       A. Right. And what I want to                     22 the phone, so go ahead.
23 clarify a little bit is the way that -- my             23      A. Okay. So I'm looking at City
24 interaction with him there is certainly not            24 Hall. City Hall is on my left. There is a white
25 typical. Now, on these purposes it looks like,         25 car and a black car parked on the left side of
                                                Page 63                                                 Page 65
 1 hey, this is your first body cam footage. This          1 the screen. Immediately after that black car
 2 is your first interaction. This is the way you          2 there is a road. That's Cedar Street, and that
 3 come off to people.                                     3 leads to the back parking lot of City Hall. So
 4            If that's the case, I wouldn't               4 by 9:30 that morning -- well, Stuart, Dupree and
 5 have lasted 16 years as a police officer. I just        5 I came in at 8:30, and the purpose for that was
 6 wouldn't have, and I never would have been              6 to make sure we had no parking signs posted on
 7 promoted. This was my first interaction with            7 Washington Street and North 8th Street in front
 8 him, but not my first interaction with protesters       8 of City Hall. We have to make sure that there's
 9 that day, and I think -- well, I know what we're        9 no cars that need towed. There wasn't.
10 seeing here is a little frustration is starting        10            9:30 we were in the back parking
11 to arise in me.                                        11 lot, and I said to them, I'm going to go talk to
12       Q. You said the body cam should have             12 the event organizers and make sure that they
13 went on earlier. Did you attempt to turn it on         13 know, you know, where we're going to be, what
14 earlier?                                               14 we're going to do, and how this whole thing is
15       A. No. And I'll clarify that, too.               15 going to go.
16 According to our policy, it didn't need to go on       16            So I walked up that road that I
17 earlier. Looking back on this event, and, you          17 just described, and I came out right where that
18 know, hindsight is, you know, so much easier, I        18 black car is, and I walked along the front of
19 wish I would have turned it on -- like Chief           19 City Hall to where -- the front steps here, not
20 Tornielli said yesterday, after this event he put      20 quite to where that podium is, and there was two
21 out a directive that when we're dealing with           21 men there holding signs, and they're the ones
22 events like this, just run it the whole time.          22 that are seen in this video that we just saw in
23 And I wish I had run it the whole time, although       23 the video. We see three of them.
24 that was not policy at the time, and it certainly      24            The two that I didn't talk to
25 would have given a more accurate depiction of the      25 were on the sidewalk right there, and that
                                                                                           17 (Pages 62 - 65)
                                    Veritext Legal Solutions Plaintiff's App. 069
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 71 of 116


                                              Page 66                                                Page 68
 1 was -- and I was surprised. Like I said before,   1 while I'm working. I wouldn't do it off duty
 2 I was not expecting this to be that type of       2 either.
 3 event. I thought that this is -- it was proposed  3       Q. Why do you feel you can't get
 4 to me as a ten-minute flag raising. They're       4 involved in that kind of conversation when you're
 5 going to raise this flag and then they're going   5 working?
 6 to walk 8th to Penn, Penn to City Park, and it's  6       A. Well, when we're working these
 7 done.                                             7 events and our personal feelings on the group
 8           I was not expecting any trouble,        8 that's holding the event, they're not relevant to
 9 so -- I was not expecting any protest whatsoever. 9 what we have to do. We have a job to do, so
10 So they were standing there. They're holding     10 regardless of what the group is, this thing has
11 signs. They weren't yelling or anything like     11 been approved. This event is going to happen,
12 that. They were standing there holding their     12 and we're there to make sure that it happens as
13 signs. And, I said, well, like, we're not doing  13 smoothly as possible, and that's it. It would be
14 this. Guys, this is not going to be one of those 14 inappropriate for us to even get into a debate
15 type of events. This is -- they're going to do   15 about anything.
16 this.                                            16       Q. So after you asked the two
17           This is the conversation I talked      17 gentlemen to cross the street and stand on the
18 about earlier. Hey, it's a free country. I       18 sidewalk --
19 said, true, but they have a permit to be in this 19       A. Yes.
20 section. You don't. So, you know, you're going 20         Q. -- they asked you about that
21 to have to -- I don't remember my exact wording. 21 location. You approved that spot for them. Is
22 When I say you're going to have to leave, I      22 that right?
23 certainly don't mean you have to leave the area. 23       A. Oh, yes. Yeah.
24 Leave the immediate sidewalk area there.         24       Q. And when you saw the third
25           And that's where they said, we're      25 protester who I'm identifying for you as Mr.
                                              Page 67                                                Page 69
 1 going to go across the street. I said, that's      1 Wear, the YouTuber.
 2 great, and I walked across the street with them.   2       A. Yes.
 3 And they tried to, you know, drag me into some     3       Q. That's okay. Why did you -- this
 4 religious debate or, you know, do you agree with   4 was your first interaction with him. It's on
 5 what's going on here?                              5 body cam one?
 6            Now, my personal beliefs are not        6       A. Yes.
 7 relevant when I'm working. Like, I have a job to   7       Q. Why did you feel the need to
 8 do, and my job is to make sure that this event     8 discuss with him?
 9 goes off safely or without problems because I      9       A. Well, when he first came, he came
10 know that when these events happen and there's no 10 from -- this camera view right now at the screen
11 problems, nobody cares, right? But when there's   11 as we're looking at it now is facing east in the
12 a problem, they want somebody to blame. Who gets 12 800 block of Washington. I was walking west in
13 the blame? Middle management. So it's always      13 the 800 block of Washington, and he was
14 going to come back to me whether I'm there or     14 coming -- when I say towards me, I don't mean at
15 not. It doesn't matter what the problem is.       15 me, but towards the direction that I was coming
16            So I want this to go off as            16 from, and he walked into the street right away,
17 smoothly as possible. I get them across the       17 and he was yelling something.
18 street, and this is where I laid the parameters   18           I'm like, okay. We can't have
19 down. This is your spot. You can be here. You     19 this I was saying, thinking to myself. Like,
20 can hold your sign. If you're walking out into    20 here's another one. Now somebody else is showing
21 the street where they're going to be, if you're   21 up. So that was -- I immediately went to him.
22 disrupting this event in any way, then you're     22 So my thought process in this is, listen, if I
23 going to get arrested. And they tried to          23 tell them right away this is the way it's going
24 continue the conversation. I can't. Like, I       24 to be, there's no ambiguity. This is what we're
25 can't get involved in that type of conversation   25 doing. This is what they're doing, and this is

                                                                                       18 (Pages 66 - 69)
                                   Veritext Legal Solutions Plaintiff's App. 070
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 72 of 116


                                                 Page 70                                                   Page 72
 1 how it's going to be, that's it. I'll have fewer         1 going to reflect back on me regardless of the
 2 problems that way.                                       2 circumstances.
 3            We only had three officers                    3       Q. You also said earlier can't have
 4 working this detail. It was Stuart, Dupree and           4 this, referring to what you told the two, I
 5 I, and I did not -- and at this point already,           5 think, when they were over on the City Hall side?
 6 now I'm worried -- I went from not expecting any         6       A. Yes, sir.
 7 problems, now I'm worried about how many of these        7       Q. What did you mean by "can't have
 8 other guys are going to show up? Are the pride           8 this"?
 9 people going to start arguing back? What is --           9       A. We can't have trouble. We can't
10 is this going to turn into something that we are        10 have you standing right where they're setting up.
11 not equipped to handle right now, so I'm going to       11 There's people already setting up equipment, and
12 keep it under control right from the beginning.         12 you're standing right there. Obviously, they're
13       Q. At that point in time at 9:52 or               13 going to get a reaction.
14 9:53 in the morning, had any of the pride people        14            It was my interpretation that
15 argued back as you put it?                              15 their purpose was to get a reaction. Why else
16       A. I don't recall.                                16 would you stand that closely holding signs
17       Q. Let me put it a different way.                 17 with -- clearly showing yourself to be
18 Not that you recall or not that you had observed        18 antagonistic towards this group that's here. So
19 at that point?                                          19 when I say you can't have -- we're not going to
20       A. Not that I recall. Well, I did                 20 have this. We're not doing this. We're not
21 not observe any, like, arguments between the two        21 having these problems here. We got to keep this
22 groups.                                                 22 under control.
23       Q. When you said that a third one                 23       Q. Why did you push the protester in
24 showed up, referring to the gentleman that you          24 body cam one?
25 confront here in body cam one?                          25            MR. CONLEY: Objection to form.
                                                 Page 71                                                   Page 73
 1       A. Yes.                                            1        You can answer.
 2       Q. You said he was another one. Did                2        Q. Let me back up. Do you agree
 3 you believe that these folks were together or            3 that you pushed the protester in body cam one?
 4 coming from the same group at this point?                4        A. I agree that I put my hand on his
 5       A. No. And I can see how that's not                5 chest and walked him back. It certainly was not
 6 clear. When I say another one, I mean another            6 an aggressive, like, push, like using -- fully
 7 protester, another person who has a problem with         7 extending both arms, but I did make contact with
 8 this pride event.                                        8 him. Why did I feel it was necessary? Again,
 9       Q. You made two statements earlier.                9 just to create distance, to direct him where to
10 You said this is not one of those events. What          10 be. That's a common thing. I've done that many
11 do you mean by that?                                    11 times over the years in different situations.
12       A. Well, what I mean by that is                   12        Q. He was standing on the sidewalk
13 something that's going to turn into a circus, and       13 when you made contact with him, correct?
14 you'll hear me, and I'll use a couple phrases           14        A. Yes.
15 like this is not a thing, which is something I          15        Q. You had approved that location
16 say on the street probably every day in different       16 for counterprotestors to stand in?
17 situations. I don't know. It's a catch phrase I         17        A. Yes.
18 use. This is not a thing or this is happening.          18        Q. Why did you think you needed to
19            I say those things. Some of the              19 direct him somewhere else?
20 other things I say I don't often say. However,          20        A. That may have -- that may be a
21 yes. This is not going to turn into a circus.           21 situation where I was still on the street and
22 This is not going to be chaos because I know if         22 he's a little elevated, and I want to get on the
23 this thing turns into a circus, and the last            23 sidewalk, too. So rather stand so we're at an
24 thing I want to do -- the last thing I want is          24 even level so than rather stand, so give me a
25 anybody to be arrested because I know it's all          25 little space while I step up here and talk to
                                                                                             19 (Pages 70 - 73)
                                    Veritext Legal Solutions Plaintiff's App. 071
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 73 of 116


                                             Page 74                                                  Page 76
 1 you.                                               1 is closed to traffic at this point. I'm looking
 2       Q. At one point early in the                 2 at the intersection a half block further than
 3 discussion you told him to shut up. Why?           3 where Cedar Street was. We did not have
 4       A. Well, that's not normally                 4 barricades -- I did not ask for barricades at
 5 something I would say to somebody, and in this 5 that location because I never intended to close
 6 situation I said it, obviously. Probably because 6 Washington Street beings that it's a state route,
 7 I felt like he was trying to talk over me.         7 and we need -- normally need PennDOT approval for
 8 Again, it's not normally something I would say. 8 that.
 9       Q. You told him that if he continued         9            However, I later made a decision
10 he was going to end up being arrested?            10 probably a couple minutes after this to have
11       A. Yes.                                     11 Stuart and Dupree block Washington Street for
12       Q. What did you believe he was going 12 safety reasons. It just seemed there was too
13 to be arrested for at that time?                  13 many people from the pride group in the street.
14            MR. CONLEY: Objection to form.         14 And I can't see the -- I see a police car right
15       You can answer.                             15 on the right side of the screen, so that leads me
16       A. Well, my thought at the time was         16 to believe that Washington Street is still open
17 when I say if you continued because, like I said, 17 at this point.
18 when he first showed up there, he walks -- he's 18              MR. CONLEY: Just for the record
19 in the street, and he's yelling at these people.  19       for clarity, you've made a couple
20 So this is what I'm referring to, if he's         20       references to the screen. I want to
21 continuing to yell in speech that's, like I said, 21       point out that we're still -- we're
22 clearly antagonistic towards people, designed to 22        paused at 1:24 into the video.
23 get a reaction from them and being disruptive to 23             MR. READY: That is correct.
24 this event.                                       24 BY MR. READY:
25       Q. The event had not started yet at         25       Q. And also for the record for those
                                             Page 75                                                  Page 77
 1 9:52. Is that correct?                               1 who don't know Reading, Washington Street is this
 2       A. That's correct. The scheduled               2 street that runs right in front of City Hall. Is
 3 start time was 10 o'clock.                           3 that correct?
 4       Q. Other than him initially showing            4       A. Yes.
 5 up, walking in the street, was he ever back in       5       Q. We're going to look at the Damon
 6 the street that you observed?                        6 Atkins video in just a moment. Other than the
 7       A. Do you mean after I talked to               7 interactions with the two protesters over on the
 8 him?                                                 8 City Hall side of the street --
 9       Q. You mentioned that when you were            9       A. Yes.
10 coming -- as you said, you were coming at each      10       Q. -- and your interaction with
11 other, maybe not directly?                          11 Mr. -- we continue to, I guess, assume without
12       A. Right.                                     12 maybe knowing, Mr. Wear in body cam one --
13       Q. Opposite directions down the               13       A. Yes.
14 street?                                             14       Q. -- did you have any other
15       A. Right.                                     15 interactions with counterprotesters against the
16       Q. I understood your testimony to be          16 pride celebration that day?
17 that he was walking in the street on his way to     17       A. At this point, no. And I was
18 this location. Is that correct, first of all?       18 thankful for that, that they stayed in the spot
19       A. Yes.                                       19 that was agreed upon, and at this point I'm
20       Q. Okay. Did you ever observe him             20 thinking, okay. We're going to get through this.
21 in the street other than on that approach?          21 No problems.
22       A. No. No. No.                                22       Q. So I'm going to continue playing
23       Q. And the street was closed to               23 at 1:24, and it sounds like you just answered the
24 traffic at this point, correct?                     24 phone?
25       A. I'm looking -- I don't think it            25       A. Yes.

                                                                                        20 (Pages 74 - 77)
                                   Veritext Legal Solutions Plaintiff's App. 072
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 74 of 116


                                             Page 78                                              Page 80
 1       Q. Do you know who was on that call?         1 Street, we can see the right lane is -- has all
 2       A. Yes. I answered the phone,                2 these pride people in it which I was not
 3 hello, birthday girl. That's actually Paige        3 expecting. This was supposed to be a flag
 4 Stuart. This being her birthday, which when she 4 raising on the sidewalk. Why wouldn't you stay
 5 agreed to work the detail, I said, Paige, I'm      5 on the sidewalk? Why would you stand in the
 6 sorry. I didn't know it was your birthday. She     6 street? And they started coming out into the
 7 said, no. No. I'll come in and do it.              7 street and -- okay. Well, great. So I guess we
 8           (Video being played.)                    8 got to do something about that before people
 9       Q. I'm going to stop at 1:50. Two            9 start getting run over.
10 questions.                                        10            The other fear I had, one of the
11       A. Okay.                                    11 things I considered doing was just putting a car
12       Q. First, I saw another officer             12 in the right lane and allowing traffic in the
13 walking through the street. Who was that?         13 left lane, but then I was worried that somebody
14       A. That is our -- and still is our          14 is going to stray into the left lane. Somebody
15 deputy chief, Javier Ruiz.                        15 is going to get run over or some passing car is
16       Q. And do you know why he was               16 going to -- I don't know, going to hit these
17 present?                                          17 people or traffic is going to back up at the red
18       A. He was there because at the time         18 light, so I'm like, you know what? It's going to
19 he was in charge of the Reading Police Youth 19 be ten minutes, so I was told, so we'll just shut
20 Academy which is, like, an organization for high 20 the road for ten minutes.
21 school kids, and they were marching in this, with 21       Q. Did you have any conversation
22 the procession or whatever, the pride group.      22 with -- I'm sorry, was it Mr. Castro or any other
23       Q. Is this youth academy a Reading          23 organizers of the pride event about how to get
24 police auxiliary of sorts?                        24 people onto the sidewalk for the pride event?
25       A. I don't know exactly.                    25       A. No.
                                             Page 79                                              Page 81
 1       Q. Is it associated with the Reading       1       Q. Did you have any conversation
 2 Police Department?                               2 with any of them about the counterprotestors or
 3       A. Yes. I don't know at what level         3 the -- I won't say growing crowd, but the
 4 or what degree. I've never had any contact with 4 increasing number of counterprotestors?
 5 him or any -- or anything to do with them.       5       A. No.
 6       Q. So fair enough. Officer Ruiz,           6       Q. Did you do anything or any of the
 7 it's your understanding that that's part of his  7 officers under your direction do anything that
 8 job responsibilities. That's not a volunteer     8 you know of to get the pride attendees over onto
 9 thing he does outside. Is that correct?          9 the sidewalk?
10       A. I believe he was told that he's        10       A. No. I figured the easier thing
11 volunteering for this job responsibility, and   11 to do -- and, again, our whole goal when we do
12 that sounds funny. I don't intend to be funny.  12 these things is get them done as easy as
13 I believe that at the mayor's direction, the    13 possible. I figured it was just easier to close
14 deputy chief at the time was in charge of the   14 the street.
15 youth academy.                                  15       Q. And at no point did you or any of
16       Q. Okay. Understood. You appear to        16 the others officers under your command there
17 be in the street as well at this time. Is that  17 direct any of the pride protesters not to cross
18 right?                                          18 the street to the counterprotest side. Is that
19       A. Yes.                                   19 correct?
20       Q. So is this before or after you've      20       A. That's correct. Yeah.
21 closed Washington Street? I think a minute ago 21        Q. You didn't direct any of the
22 you thought it was before. Is that still your   22 pride attendees to not speak to or harass or yell
23 answer?                                         23 at the counterprotestors, correct?
24       A. Yes. Right before you paused it,       24       A. I don't recall telling anybody
25 when it was still showing west on Washington 25 that. No.
                                                                                     21 (Pages 78 - 81)
                                   Veritext Legal Solutions Plaintiff's App. 073
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 75 of 116


                                               Page 82                                                Page 84
 1       Q. Okay. You had a brief call with          1 you and counterprotestors between that and
 2 Officer Stuart --                                 2 arresting Mr. Atkins. Is that correct?
 3       A. Yes.                                     3       A. Other than just Mr. Atkins
 4       Q. -- the birthday girl, and what           4 himself which is not on body cam, and I see the
 5 was the substance of that conversation?           5 one that you say is Wear is standing there
 6       A. I believe -- based on what I             6 filming. I didn't even notice that at the time.
 7 said, I believe she was probably further east on 7        Q. I'm just going to continue this
 8 Washington Street and asking me if she should 8 video for 15 seconds.
 9 block Washington Street at 9th. There was also 9              (Video being played.)
10 another conversation, and I don't know if it's   10       Q. I'm going to stop at 1:09, and it
11 caught on camera, where either her or Dupree 11 appears or it sounds like on the video that
12 asked me about cars that were already parked in 12 that's the point at which the event is getting
13 the block. Should we let them pass, and I said 13 started. Is that your recollection?
14 yes. Let's get them through. We're not going to 14            MR. CONLEY: Objection to form.
15 hold people up who are -- we're not going to     15       You can answer.
16 block people in in this block. We'll let them go 16       A. I can hear somebody talking on --
17 through.                                         17 it sounds like somebody is talking on a loud
18       Q. I want to continue playing the          18 speaker. I don't know if it started on time or
19 video. We had paused it at 1:49.                 19 not.
20           (Video being played.)                  20       Q. Okay. Let me ask this: Before
21       Q. You turned your body cam off at         21 your interactions with Mr. Atkins, do you recall
22 that time, correct?                              22 if the event was in progress, that he was
23       A. Yes. Yeah.                              23 speaking, that anything was going on?
24       Q. Why did you turn it off?                24       A. Yeah, because he showed up later
25       A. Well, within policy I was done          25 than the other fellows that we saw earlier, yes,
                                               Page 83                                                Page 85
 1 with my interaction. So in accordance with             1 so the event would have started. I see here it's
 2 policy, I could turn it off at that point. I'm         2 10:09. It was scheduled for 10 o'clock.
 3 sure my mind frame was like, okay. Good. That's        3       Q. So this is our second look at the
 4 over. This is going to be over soon.                   4 body cam footage. Is there anything in this
 5       Q. Okay.                                         5 footage that you feel is distorted based on the
 6       A. No more problems.                             6 distortions you talked about earlier with body
 7       Q. I'm going to take you now to what             7 cameras?
 8 has been labeled Sergeant Bradley T. McClure           8            MR. CONLEY: Objection to form.
 9 video number two. This is the second segment of        9       You can answer.
10 body cam footage that we received from your           10       A. Other than just the angle, you
11 attorney. I'm going to start playing it here.         11 know, the point of view.
12           (Video being played.)                       12       Q. Do you feel that changes
13       Q. I'm going to pause it here at 15             13 significantly the perception of what happened
14 seconds, and at this point -- and I just want to      14 here based on the footage?
15 confirm -- there have been no other interactions      15            MR. CONLEY: Objection to form.
16 with the protesters between the last video and        16       Calls for an expert opinion. You can
17 this one. Is that correct?                            17       answer.
18       A. Do you mean the ones that we                 18       A. Well, a body camera is going to
19 already saw me talking to?                            19 change the perception of any incident just based
20       Q. Yeah. I guess since your last                20 on their limitations, and if we understand the
21 conversation with the protester in body cam           21 limitations, then they're much more effective.
22 one --                                                22 It's easy to look at body cams and say, well,
23       A. Yes.                                         23 this is what the police officer saw and heard
24       Q. -- there were no other                       24 which may not always be the case -- which is
25 pro -- there were no other interactions between       25 almost never the case.
                                                                                        22 (Pages 82 - 85)
                                   Veritext Legal Solutions Plaintiff's App. 074
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 76 of 116


                                                Page 86                                                   Page 88
 1       Q. Okay. Does this -- does this              1 property is what.
 2 body camera footage accurately reflect what you 2               We're making an arrest. This is
 3 saw and heard that day at least for the time that 3 in your pocket. You're carrying this bag. This
 4 it's on?                                           4 bag, it's yours. It's going with you. That's
 5       A. For this incident that we're              5 it. We're not standing here. It just turns
 6 playing right now? I mean, for this camera, is     6 into -- and I learned this actually in my prison
 7 this number two?                                   7 days, and it was reinforced when I got hired at
 8       Q. This is body cam two.                     8 the police department.
 9       A. For the first one minute, nine            9            It just turns things too chaotic.
10 seconds, yes.                                     10 It gives the impression that, like, we really
11       Q. Okay. I'm going to continue              11 don't have control of the situation. We don't
12 playing.                                          12 know what we're doing. We're starting to hand
13            (Video being played.)                  13 property out to people, and we don't even know
14       Q. So I'm going to stop it here at          14 who it belongs to. So the standard is, if it's
15 1:53. It sounds like you tell him shut up.        15 on you, if you have it in your possession, it's
16 Don't tell me what to do. Why did you say that? 16 yours. It's going with you.
17       A. Well, 'cause sometimes when              17       Q. So who is the "he" that you're
18 people get arrested, they like to tell us what to 18 referring to? He ain't getting nothing out of
19 do or tell us we're doing something wrong with 19 that bag?
20 the way that -- like, they don't have to sit      20       A. There was another person with
21 down. We want people to sit down as we're         21 him, and that person had followed us around the
22 waiting transport. It's just safer. I don't       22 corner, so we're back on Cedar Street now. So
23 know what he said to make me say that in this 23 we're kind of right behind City Hall, and he was
24 case, but that's not unusual.                     24 asking for -- he said something in that bag
25       Q. Okay. I'm going to continue              25 belonged to him.
                                                Page 87                                                   Page 89
 1 playing at 1:53.                                        1            And at this point -- and what's
 2             (Video being played.)                       2 apparent to me, certainly not to people who don't
 3       Q. So at 2:45, a little bit before                3 know me, that the whole day's events, and it's
 4 2:45 a couple of statements get made. You said          4 early, have me very -- I'm frustrated for several
 5 several times he ain't getting nothing out of           5 reasons at this point, so I was not in the mood
 6 this bag?                                               6 at that point to talk about bag ownership.
 7       A. Yes.                                           7       Q. Why were you frustrated?
 8       Q. Why did you say that?                          8       A. Well, some of it I touched on
 9       A. When we arrest somebody, it is                 9 earlier. One of the reasons I took the traffic
10 practice within our department that what you have      10 job was so I didn't have to work weekends
11 on you in your possession is going with you.           11 anymore. I did that for many -- going back to my
12 We're not getting into a situation where we're         12 prison days, many years.
13 allowing people to -- it's very common in              13            Now it's Saturday morning, and I
14 Reading, somebody gets arrested. Somebody else         14 have to work because nobody wants to work this
15 goes, hey, he has my phone or, hey, he has 20          15 event. I don't want to work this event. I am
16 bucks for me. Can I get that? Can I get that?          16 standing. There's one side, I have a group
17 No. Nobody gets anything. What's on you when           17 that -- I don't want to be -- I don't get it.
18 you're arrested is what's on you, and it's going       18 Okay. They're having their event. I don't get
19 with you. We're not giving stuff away.                 19 it. Whatever. They're going to raise their
20       Q. Why is that?                                  20 flag. They're going to walk to City Park. Let's
21       A. Well, number one, we don't                    21 just get this over with.
22 know -- like, somebody could say, hey, he has my       22            Another side I have a completely
23 keys or he has my phone. We don't know whose           23 antagonistic -- two groups are antagonistic
24 stuff it is, and we're not going to be in the          24 towards each other. Neither group would ever
25 position where we're trying to divide out whose        25 agree to see somebody else's point of view, and

                                                                                            23 (Pages 86 - 89)
                                    Veritext Legal Solutions Plaintiff's App. 075
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 77 of 116


                                                Page 90                                                   Page 92
 1 we're in the middle of it.                              1 information or gave you inaccurate information, I
 2             And all I want is just get this             2 should say?
 3 day over with no problems. Now there's a                3       A. I don't know if anybody
 4 problem. Now I have to -- now I made the                4 intentionally gave me inaccurate information. I
 5 decision to arrest this guy. Now I know I've got        5 believe that the information I was given was
 6 to do charges. Now I know I've got to be here           6 accurate as far as the event organizers thought
 7 later.                                                  7 it was going to be. I believe that other people,
 8             And it just reflects -- when the            8 by that, I mean local dignitaries, heard about
 9 events don't go smooth, when there is a problem,        9 this and decided I got to get in on that, and
10 and this is not normal for there to be a problem,      10 they showed up, and I think the thing just
11 police are funny. When we work special details,        11 ballooned into something that it was not.
12 if it's a crime-focused detail, if we're doing,        12            Washington Street should have
13 like, drug work or traffic enforcement or              13 been closed, PennDOT approval. Not by police
14 something, the goal is you're going out there in       14 cars on the fly like we did. That's one thing.
15 overtime. You're going to make contacts. You're        15 The protesters, like I said before, I never
16 going to make arrests.                                 16 expected -- had I expected them, I would have
17             When we work special events,               17 planned -- I would have had a plan in place, and
18 parades, concerts, these flag raisings, it's the       18 it would have gone much smoother.
19 exact opposite goal. It's like, let's go there.        19       Q. At 10:10 and 48 seconds or as
20 Let's do our thing and get out. We're not              20 paused here, 2:45 in this video, all three of the
21 looking for any extra work, and now there's extra      21 officers on scene except, I guess, Officer Ruiz
22 work, and I know that it's fallen on me. It's my       22 were participating in the arrest. Is that
23 decision, and like I said before, I'm not going        23 correct?
24 to push it off onto them to do the charges. I'll       24       A. Yes.
25 take care of it myself, but now I know I'm going       25       Q. Did you have concerns about
                                                Page 91                                                   Page 93
 1 to be there for much longer.                            1 leaving the other protesters and
 2           And also, as I said before, even              2 counterprotestors unattended at that time?
 3 though it's only ten after 10:00, I can see             3       A. I didn't, and the reason I didn't
 4 already that what this event was proposed to me         4 was probably -- well, partly based on hope and
 5 is not what it is turning into. It was not              5 partly based on what had happened since my
 6 proposed to be this big thing.                          6 interactions with them, and that is, they stayed
 7           You can't really see it on here,              7 in their group. Now, one of them did come off to
 8 but there's a line of speakers. Speakers, I mean        8 film us, but, again, he's still on the side.
 9 people who are going to speak. Not amplifiers.          9 He's not hurting anybody. He's on the sidewalk.
10 People are lined up. This guy is going to talk         10 He's not causing a problem. So they stayed on
11 and then this guy is going to talk. This was           11 the sidewalk, and as long as -- and they weren't
12 supposed to be ten minutes, and now -- it ended        12 yelling anything. They weren't being disruptive.
13 up being about 50 minutes. So for a lot of             13           And I was -- and I'm always
14 those -- for all those reasons, I was                  14 confident, and I've had this belief since a
15 becoming -- I had become very frustrated.              15 couple years in when I started to get a little
16      Q. Do you feel this event could have              16 experience, like, listen, when I show up,
17 been planned better with the Reading Police            17 everything is going to be all right. There's not
18 Department?                                            18 going to be any problems. I got it under
19      A. Yes. Had somebody told me                      19 control.
20 exactly what was going on rather than tell me one      20           This, it didn't work out that
21 thing and then, oh, now it's something else, yes.      21 way, which is another reason I was frustrated,
22 I would have done this differently had I been          22 but at this point, I'm still confident those
23 given an accurate plan of what was to be               23 other guys aren't going to be a problem because
24 occurring.                                             24 they complied with what I said and -- I don't
25      Q. Who didn't give you accurate                   25 know. I was just confident that they weren't

                                                                                            24 (Pages 90 - 93)
                                    Veritext Legal Solutions Plaintiff's App. 076
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 78 of 116


                                                Page 94                                                   Page 96
 1 going to cause any more problems.                       1 to do the things that you suggested you would do
 2       Q. Did you think that the Atkins                  2 that day?
 3 arrest was going to have a positive effect on the       3       A. Yes. And at this point -- well,
 4 demeanor of the other counterprotestors?                4 even prior to this I'm hopeful that it doesn't
 5            MR. CONLEY: Objection to form.               5 come to that. This is the last thing that I want
 6       You can answer.                                   6 to do at any event, whether it's this, a parade,
 7       A. No. I don't think it would have                7 a concert, whatever. This is the very last thing
 8 had a positive effect.                                  8 I want to do is arrest somebody.
 9       Q. Did you think it was going to                  9            And now that I made the decision,
10 have a negative effect?                                10 one, the thought has gone through my head, I
11            MR. CONLEY: Same objection.                 11 hope -- I hope nothing else happens, because if
12       A. I don't know if I thought that it             12 this gets into a situation where now we're
13 would have a negative effect. I thought                13 arresting multiple people, this is not going to
14 that -- the thought that was going through my          14 look good.
15 mind was I gave these people in three separate         15       Q. Did you believe the other
16 groups the same warning. Atkins was the last one       16 counterprotestors would take your warnings more
17 to show up and when -- I gave them the previous        17 seriously if they saw you follow through on this
18 warnings, and they gave me no problems                 18 threat?
19 afterwards.                                            19            MR. CONLEY: Objection to form.
20            And then Atkins shows up. I gave            20       A. Yes.
21 him the warning and then when I turn away and          21       Q. Sorry. You said yes?
22 then he starts up again, I think that they saw,        22       A. Yes, but that's not -- that's not
23 hey, okay. This guy said this is going to happen       23 to say or to insinuate that that is the reason I
24 if we don't comply. Obviously he means business,       24 made the arrest. I certainly believe the arrest
25 so that was my hope that they say, hey, okay.          25 was justified, but, again, I have that discretion
                                                Page 95                                                   Page 97
 1 This guy is serious.                                    1 whether to arrest or not to arrest, and I believe
 2            I would always get frustrated at             2 it was justified. Yes. I believe that they
 3 police officers who would say things and then           3 would see that, okay. Well, this guy was
 4 they would basically say things that they're not        4 serious.
 5 prepared to back up. And that's something I was         5      Q. I'm going to keep playing from
 6 taught when I was a new police officer going to         6 2:45.
 7 domestics, and you leave the domestic, and the          7           (Video being played.)
 8 veteran officers would say, hey, if you go back         8      A. I'm sorry. Can you just stop it
 9 to this domestic, tell the people that if I have        9 there for one second?
10 to come back again, somebody is getting arrested.      10      Q. Sure.
11            And I said, well, why? How do               11           MR. CONLEY: Hold on. You can
12 you know that? Like, you're going to tell              12      wait for a question. If there's
13 somebody that? Well, what if there's no reason         13      something you need to clarify, go ahead
14 to arrest somebody? So if you're going to tell         14      and clarify it from past testimony. I'd
15 somebody something, then be prepared to carry it       15      prefer if you just wait for a question.
16 out.                                                   16      A. Okay.
17            So I was always prepared or I was           17      Q. I'll play a bit more and then
18 always conscious of it. Like, if I'm going to          18 we'll talk about what we just saw.
19 tell somebody something, if this happens, I'm          19           (Video being played.)
20 going to do this, then I better be prepared to do      20      Q. I'm going to stop you at 3:03.
21 this. And if I'm not prepared, people see that,        21 So there was some interaction between Officer
22 and people -- they take advantage of that if they      22 Dupree and Mr. Atkins, and what was that about?
23 see you're not prepared to carry out what you          23      A. It seemed to be about the
24 did.                                                   24 contents of the bag.
25       Q. So safe to say you were prepared              25      Q. And this was the bag that just

                                                                                            25 (Pages 94 - 97)
                                    Veritext Legal Solutions Plaintiff's App. 077
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 79 of 116


                                               Page 98                                                Page 100
 1 seconds ago in real time you had said he ain't    1 here from 3:30.
 2 getting nothing out of that bag?                  2           (Video being played.)
 3       A. Yes.                                     3       Q. When you say call your buddy, are
 4       Q. This gentleman we see at 3:03            4 you referring to Mr. Atkins?
 5 right in the middle of the screen holding the     5       A. I don't know who I was referring
 6 sign, is that the "he" you were referring to?     6 to there. I definitely heard it. I don't know
 7       A. Yes.                                     7 who I'm referring to.
 8       Q. You described him earlier. And           8           (Video being played.)
 9 so the contents of the bag, what was the          9       Q. So I'm going to stop right here
10 discussion about?                                10 at 3:59. It does look like there are quite a few
11       A. His contention was that the bag         11 people out in the street. At this point you had
12 or whatever was in the bag -- and I don't recall 12 blocked off the street?
13 what it was. I believe something medical. He 13           A. Yes.
14 said that that is mine. That's mine. I want      14           (Video being played.)
15 that. That's mine.                               15       Q. Okay. So I acknowledge we've
16       Q. And there was a reference by            16 stopped it a couple of times, but is this footage
17 Officer Dupree here to a passport. Do you recall 17 a fair and accurate reflection of what you
18 a discussion of a passport?                      18 observed that day on the scene?
19       A. I do. I don't recall the                19           MR. CONLEY: Objection to form.
20 specifics. She was going through the bag. I      20       Go ahead.
21 don't recall the specifics.                      21       A. Yes.
22       Q. Okay. I'm going to start at 3:03        22       Q. I'm going to show you one more
23 again.                                           23 video, and let me just ask you: Have you seen
24            (Video being played.)                 24 the YouTube video that was posted by Barely
25       Q. Let's stop it at 3:30. So you           25 Preacher Man in this case?
                                               Page 99                                                Page 101
 1 told him he was going across the street?               1      A. I did not see the whole video.
 2       A. Yes.                                          2 No. I've seen parts of it.
 3       Q. You also said if he didn't, that              3      Q. Have you accessed it on YouTube
 4 he was going to join Mr. Atkins, presumably being      4 or when have you seen it?
 5 arrested. Is that correct?                             5      A. It was sent from my attorney.
 6       A. Yes.                                          6      Q. Okay. All right. Very good. So
 7       Q. Did you lay your hands on him at              7 you've seen the link on YouTube?
 8 that time?                                             8      A. Yes.
 9       A. Yeah. You could see I -- like,                9      Q. You say you've not watched the
10 I'm guiding him, turning him around. Let's keep       10 whole thing. Is that correct?
11 going across the street. Yes.                         11      A. That's correct.
12       Q. What were you -- what did you                12      Q. Okay. I'm going to skip
13 believe you were going to arrest him for?             13 forward --
14       A. Well, I believe --                           14           MR. READY: Actually, can we go
15           MR. CONLEY: Objection to form.              15      off the record for a second?
16       You can answer.                                 16           (A discussion was held off the
17       A. My thought at that time was if he            17      record.)
18 continued with his behavior or if he wouldn't         18 BY MR. READY:
19 leave our immediate area or if he's interfering       19      Q. So I'm going to show you a
20 with us or interfering with the arrest or being       20 YouTube video that was posted by Barely Preacher
21 disorderly, those were my thoughts at the time.       21 Man. It was titled Christian Arrested in
22 Certainly what he did at the time did not rise to     22 Reading, Pennsylvania at a Pride March. I'm not
23 the level of disorderly conduct, and he was not       23 going to read this whole YouTube URL into the
24 arrested.                                             24 record.
25       Q. Okay. I'm going to keep playing              25           MR. CONLEY: Is there a date that

                                                                                        26 (Pages 98 - 101)
                                   Veritext Legal Solutions Plaintiff's App. 078
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 80 of 116


                                             Page 102                                              Page 104
 1       it was posted? I don't know if there is.     1 interaction?
 2            MR. READY: It was posted on June        2       A. Well, this interaction, the event
 3       3rd, 2023.                                   3 is about to start, and I think or I believe that
 4 BY MR. READY:                                      4 anybody who's against this event has already
 5       Q. So I'm going to show you this             5 shown up, so let's get this going and get this
 6 video in its entirety and then we'll discuss.      6 over with. And then when he showed up, I went
 7            (Video being played.)                   7 over to him, and I gave him the same talk that I
 8       Q. I'm going to stop you here at             8 gave to the other guys, so I had given this same
 9 4:57. Is this video an accurate reflection of      9 talk two times prior.
10 what you observed at the event on June 3rd?       10           Now, he was more -- less -- I'm
11            MR. CONLEY: Objection to form.         11 sorry. He was less conciliatory towards me than
12       A. Well, that's not from my vantage         12 the others were. The others certainly didn't
13 point. It's from the filmer's vantage point.      13 agree with what I said, but they weren't as
14 So, I mean, this is an accurate reflection from   14 forceful, and this was -- forceful with their
15 his vantage point. The only difference I'll make 15 disagreement. This was -- it's difficult to me.
16 is we can't hear my whole interaction with the 16              Now, I am -- I said before I'm
17 plaintiff.                                        17 frustrated at this point already with what's
18       Q. Okay. I'll put it a different            18 going on on both sides of the street, and he
19 way. As far as what you did experience in terms 19 starts talking about the Bible, talking about his
20 of the event and your arrest, do you believe      20 beliefs. I am a devout Catholic, and I have
21 having seen this that this accurately reflects at 21 been -- that was raised in that household from
22 least in part what happened with you and Mr.      22 the time that I was young to present day, till I
23 Atkins?                                           23 went to mass last Saturday at 5:00 p.m.
24       A. Yes.                                     24           I was never taught in my life
25            MR. CONLEY: Objection to form.         25 ever at any level by a parent, father, sister,
                                             Page 103                                              Page 105
 1       Q. So I want to ask you about -- I         1 whatever to be hateful, that a part of
 2 want to go back here a little bit. The initial   2 Christianity is being hateful and judgmental,
 3 interaction you have with Mr. Atkins is recorded 3 hateful of others, judgmental of others. So when
 4 here, and I'm going to go back to 1:46, and I'm  4 I'm telling them, let them have their day, let's
 5 going to play again.                             5 just let this thing go and let the event proceed,
 6            MR. CONLEY: Objection to form.        6 I'm having trouble understanding their point of
 7       Note my objection to the original          7 view.
 8       interaction. I don't think there's been    8             This is not -- this doesn't
 9       any testimony as to whether that was an    9 seem -- this is not the way that I was taught,
10       original interaction. You can certainly   10 and I don't understand why they even showed up,
11       ask your questions.                       11 why they felt it necessary to show up and berate
12 BY MR. READY:                                   12 people. If you don't like it, just don't show
13       Q. Sergeant, I'm going to play for        13 up.
14 you starting at 1:46, now 1:47 an interaction   14             So I had given him that speech.
15 with Mr. Atkins, and I'll ask you about it.     15 I walked away, and I'm standing there thinking,
16       A. Yes.                                   16 okay. This is going to work out the way it
17            (Video being played.)                17 worked out with these other guys. Everything is
18       Q. I'm going to stop at 2:12. Is          18 going to be good. And then he raised his voice a
19 this the first interaction you had with Damon   19 little bit. I don't recall what he said.
20 Atkins?                                         20 Clearly he's -- I know it's portrayed in a way
21       A. Yes.                                   21 that he's this innocent guy standing on the
22       Q. And I think you testified earlier      22 corner quoting Bible scripture.
23 you never met Mr. Atkins before?                23             Clearly he's being antagonistic
24       A. No. No. I have not.                    24 and trying to get a reaction from the crowd, and
25       Q. Okay. So what occurred in that         25 that's something that I just could not allow, and

                                                                                   27 (Pages 102 - 105)
                                   Veritext Legal Solutions Plaintiff's App. 079
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 81 of 116


                                               Page 106                                                 Page 108
 1 that's why I made the decision to arrest him at         1 I believe his name was, I approached him, hand on
 2 this point. And you notice I didn't walk up to          2 the chest right away. Let's get back. Atkins
 3 him and just arrest him. I walked up to him,            3 here is standing here, and I approach him in a
 4 disengage, walk away. And then when he continued        4 much more -- a different manner, and, in fact, I
 5 with it, then I went -- and then I made the             5 don't even get that close to him.
 6 decision.                                               6            And I believe that knowing my
 7       Q. What is it you said to                         7 thought process, and that was that, hey, this
 8 him -- what is it that he said before you               8 speech has worked twice before. It's going to
 9 approached him for the first time that made you         9 work again. I'm just going to say the same thing
10 approach him?                                          10 I said to these other guys, and this is all going
11       A. I don't know exactly. It's                    11 to work.
12 not -- it's not caught on here.                        12       Q. So you don't recall then whether
13       Q. I'll back up to 1:12 and play                 13 Mr. Atkins had said anything prior to your
14 again.                                                 14 engaging with him the first time?
15             (Video being played.)                      15       A. I don't specifically recall what
16       Q. I'll move forward to 1:32.                    16 he said, but I had to have approached him for a
17             (Video being played.)                      17 reason. I wouldn't have just approached him if
18       Q. So at 1:48, I'm pausing. The                  18 he was standing there quietly. I'm not looking
19 narrator, and I understand he's just talking, so       19 for that much extra work to do on this day.
20 I'm not --                                             20       Q. Okay. I'm going to keep playing
21       A. Yes.                                          21 from 1:50.
22       Q. -- asking you to necessarily                  22            (Video being played.)
23 agree or disagree. He says that Mr. Atkins just        23       Q. I'm going to stop at 2:04. You
24 walked up.                                             24 can hear him saying this is public property.
25       A. Yes.                                          25       A. Yes.
                                               Page 107                                                 Page 109
 1       Q. Had you seen him before this                   1        Q. Do you recall what you two were
 2 point?                                                  2 discussing at that point?
 3       A. No.                                            3        A. I think the event itself, I
 4       Q. Okay. And at this point you'll                 4 probably said something to the effect that you
 5 agree at least in this video that Mr. Atkins            5 can't disrupt this event. I don't want you
 6 can't be seen saying anything to the crowd,             6 coming out into the street, probably something
 7 correct?                                                7 like that, which would be in line with what I had
 8           MR. CONLEY: Objection to form.                8 told the other people that were involved.
 9       Calls for speculation. Calls for a                9        Q. You said let them have their day.
10       perspective that is not Officer McClure's        10 What did you mean by that?
11       or Sergeant McClure's.                           11        A. Look, if they want to raise this
12       Q. Okay. Sergeant, do you recall if              12 flag at City Hall, if that makes their day, let
13 he said anything to the crowd before you               13 them raise the flag. Let them take their walk
14 approached him?                                        14 from 8th Street to Penn Street to City Park, and
15       A. Well, I don't recall, but I                   15 let's just be done with it. Like, to me, my
16 approached him for a reason. I didn't just pick        16 point of view, this is only going to bother you
17 him out because he was standing there peacefully.      17 if you choose to show up and let it bother you,
18       Q. What was that reason that you                 18 so...
19 approached him?                                        19        Q. I'm going to keep playing from
20       A. Well, the only reason -- since he             20 2:04.
21 is on the sidewalk and not in the street, the          21            (Video being played.)
22 only reason I would have approached him is that        22        Q. At one point you said to him
23 he was yelling stuff. Now, I want to point out         23 respect them. What did you mean by that?
24 on this one, the body cam footage, which turned        24            MR. CONLEY: Objection to form.
25 out to be the guy that's filming this, that Wear       25        You can answer.
                                                                                         28 (Pages 106 - 109)
                                    Veritext Legal Solutions Plaintiff's App. 080
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 82 of 116


                                               Page 110                                              Page 112
 1       A. Well, we have to respect others                1 did you --
 2 whether we agree with them or not. We have              2            MR. CONLEY: He provided you a
 3 to -- so this pride group, they're going to raise       3      reason.
 4 this flag at City Hall. They're going to dance          4      Q. Why did you arrest Damon Atkins?
 5 around in the street. If that's what they want          5            MR. CONLEY: Again, objection to
 6 to do that day and they have the city's                 6      form. Asked and answered. He literally
 7 permission, just respect it. You don't have to          7      just told you. If you don't agree with
 8 stand here and yell insults at them. What is the        8      it, that's your problem. He answered
 9 point of that? I don't know. So I'm trying to           9      your question.
10 talk people down to see things from another point      10            MR. READY: Are you instructing
11 of view. Have respect for other people. This is        11      him not to answer?
12 what we're taught.                                     12            MR. CONLEY: I am telling you I'm
13       Q. All right. I'm going to play                  13      objecting to the form, and it's asked and
14 from 2:10.                                             14      answered. I'll give you a little leeway.
15            (Video being played.)                       15      I'll let him answer it again, but if
16       Q. I'm going to stop at 2:18. You                16      you're going to argue with him about
17 can hear Mr. Atkins say yo God is not. And at          17      whether you think -- or whatever you
18 that point you proceeded to arrest him?                18      think about his answer, he did provide an
19       A. Yes.                                          19      answer, so go ahead. You can answer the
20       Q. Why did you arrest him for saying             20      question.
21 yo God is not?                                         21            THE WITNESS: The reason I made
22            MR. CONLEY: Objection to form.              22      the decision is I had given -- provided a
23       You can answer the question.                     23      space for the protesters and given them
24       A. Well, he wasn't arrested for                  24      all the same warning which was, number
25 saying yo God is not. That is simply not true.         25      one, if you come out in the street,
                                               Page 111                                              Page 113
 1 When we have our first interaction, I start to     1      you're going to get arrested, or if you
 2 turn away from him, and he says about, you know    2      yell things to disrupt this event, you're
 3 who cares? People who are burning, you know,       3      going to get arrested. So two things
 4 down there. You do you. I'll do me, he says.       4      that would disrupt this event.
 5 Those things he's saying to me. All right?         5           Now, Atkins did not come out in
 6 That's not a big deal. Okay? He's saying it to     6      the street. When he's talking to me when
 7 me. He's not causing a problem.                    7      I walk away, he's saying things to me.
 8            So I turned away, and I took no         8      Again, I'm not concerned with that.
 9 action on that. To me, this is just conversation   9      That's what we deal with. People insult
10 still between him and I. When he says what he     10      us all the time.
11 said there, the yo God, you could clearly hear to 11           But when he yells at the end, I
12 me his voice is raised. Now he's not talking to   12      hear his voice is raised. He's no
13 me anymore. Now he's engaging the crowd. You're 13        longer -- I'm fairly close to him. He's
14 being loud enough to be heard by the crowd. So    14      not shouting at me. Now he's shouting at
15 he's doing exactly what I told him. Listen, you   15      the crowd. It appears his intention is
16 can't do this. You can't disrupt this event.      16      to disrupt this event which I had already
17 That's why I made the decision there. Certainly   17      told him we're not going to allow this to
18 not because of what he said.                      18      happen. That's why I made the arrest.
19       Q. So why did you arrest Damon              19 BY MR. READY:
20 Atkins?                                           20      Q. How did Mr. Atkins disrupt the
21            MR. CONLEY: I think he just            21 event?
22       answered that question. Do you want him     22           MR. CONLEY: Objection to form.
23       to answer it again? I think that's the      23      You can answer.
24       exact same question.                        24      A. By yelling things which are
25       Q. I did not hear a reason. So why          25 clearly meant to be antagonistic towards the
                                                                                      29 (Pages 110 - 113)
                                    Veritext Legal Solutions Plaintiff's App. 081
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 83 of 116


                                               Page 114                                                 Page 116
 1 crowd.                                                  1 Washington Street, and I'm a little around the
 2       Q. In any other way did he disrupt                2 corner on Cedar. I don't remember hearing that.
 3 the event?                                              3       Q. You would agree that the event
 4       A. No.                                            4 actually kicked off with the first speaker right
 5       Q. Did anybody at the event tell you              5 after you began arresting Mr. Atkins. Does that
 6 that they had been disrupted by Mr. Atkins either       6 timeline sound correct?
 7 before or after his arrest?                             7       A. Yes.
 8       A. No.                                            8       Q. You mentioned some of the
 9       Q. Did anybody at the event ask you               9 cheering, the clapping. Did anybody else commend
10 to arrest Mr. Atkins?                                  10 you or thank you for intervening or arresting Mr.
11       A. No.                                           11 Atkins?
12       Q. Did anyone at the event commend               12       A. Not that day, no.
13 you or other officers for arresting Mr. Atkins?        13       Q. You talked about some of the
14       A. Yes. Some people clapped when we              14 phone calls you received and other public
15 were walking him to the back of City Hall to           15 response regarding this arrest. Have you
16 Cedar Street which I could have done without           16 received positive response from individuals
17 that.                                                  17 regarding this incident?
18       Q. At one point Mr. Atkins                       18            MR. CONLEY: Objection to form.
19 complained when you had him up against the wall        19       Go ahead.
20 that the handcuffs were too tight?                     20       A. Just from family and co-workers.
21       A. Yes.                                          21 That's it.
22       Q. Did you loosen the handcuffs for              22       Q. What have they told you?
23 him?                                                   23       A. That they supported me.
24       A. I don't recall. Handcuffs are                 24       Q. What about other members of the
25 too tight is something you hear in 75 percent of       25 public or others you've interacted with?
                                               Page 115                                                 Page 117
 1 the time they put handcuffs on somebody.                1       A. No. People often don't commend
 2       Q. Did you hear the organizer of the              2 the police for anything really.
 3 event speaking, saying about the                        3       Q. I'm going to show you -- I'm
 4 counterprotestors, when they get themselves in          4 sorry. Have you made any statements to the
 5 trouble, the police are going to deal with it,          5 press, a reporter, a blogger, a YouTuber or
 6 something along those lines?                            6 anyone else about this incident?
 7            MR. CONLEY: Objection to form.               7       A. No, I haven't.
 8            MR. READY: What's the objection              8       Q. Who other than your attorney and
 9       to form?                                          9 your spouse, if any, have you spoken with about
10            MR. CONLEY: You're                          10 the events on June 3rd, 2023 that we haven't
11       characterizing the audio. That's my              11 already discussed?
12       objection.                                       12       A. Well, family members, other
13 BY MR. READY:                                          13 members of the police department.
14       Q. Do you recall the organizer of                14       Q. What family other than your
15 the event -- on this video or not, do you recall       15 spouse have you spoken with?
16 the organizer of the event saying when they get        16       A. My parents, my kids and my
17 themselves in trouble, referring to the                17 brothers.
18 counterprotestors, the police are going to deal        18       Q. What have you told them about
19 with it or they're going to arrest them?               19 this?
20            MR. CONLEY: Objection to form.              20       A. Everything that I've said here
21       You can answer.                                  21 today, basically. You know, what happened and
22       A. I did not hear him say that at                22 why I did this, and you may see things about
23 the time. I heard it on this video. I think --         23 me -- like, I'm not on social media or anything,
24 it looks like I'm kind of around the corner            24 so I don't know what's out there, but you may see
25 there, and the person filming it is still on           25 some things written about your old dad, I told
                                                                                        30 (Pages 114 - 117)
                                    Veritext Legal Solutions Plaintiff's App. 082
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 84 of 116


                                               Page 118                                                  Page 120
 1 the kids, but I told them what happened.                1       A. Just -- I don't remember
 2       Q. You said you're not on social                  2 specifically what he was saying. Just the stuff
 3 media. So just to confirm, you don't have a             3 that he was yelling, the stuff that we saw here,
 4 Facebook, an Instagram, a TikTok, Snapchat,             4 like, you know, these people are burning down
 5 anything like that?                                     5 below. It was stuff like that. They were there
 6       A. No, sir.                                       6 for a reason, and their reason is to get a
 7       Q. Okay. I'm going to turn your                   7 reaction from...
 8 attention to what has been marked as Reading 1 at       8       Q. It says in the next sentence: He
 9 the very beginning here. Can you tell us what           9 began to yell at the people at the event. I
10 this is?                                               10 immediately approached him and told him that
11       A. Well, this is a printout version              11 while he was free to stand there on that side of
12 of our report system. If you ask me questions          12 the street and hold a sign, he could not cross
13 about it, it may take me a while to find it            13 the street nor yell comments intended to disrupt
14 because we don't normally ever see this portion        14 the event. Atkins said he understood.
15 of it. Our reports are never printed out.              15           Is that an accurate reflection of
16       Q. You probably access it on a                   16 what happened?
17 computer screen or something like that?                17           MR. CONLEY: Objection to form.
18       A. Yes. And it just looks a little               18       You can answer.
19 different than this.                                   19       A. Yes. I wrote this right after it
20       Q. That's fine. I appreciate that.               20 happened.
21 I'll go to page 3. Did you type this narrative?        21       Q. Did Mr. Atkins say that he
22       A. Yes.                                          22 understood?
23       Q. Okay. I guess I shouldn't just                23       A. Initially he did, and I don't
24 ask if you typed it. Did you author it? Was            24 know -- I think when I said something like --
25 this your writing?                                     25 like, towards the end of our conversation when I
                                               Page 119                                                  Page 121
 1      A. Yeah. It has my name at the top.                1 went on about saying something about respecting
 2 That's mine.                                            2 them or whatever, and that's when he said, you
 3      Q. Okay. You reference here in the                 3 know who respect -- you do you. I'll do me or
 4 second paragraph, second sentence: He, referring        4 something like that. That would have came after
 5 to Mr. Atkins, was carrying a sign with antigay         5 that.
 6 slogan written on it.                                   6       Q. It says he began to yell at the
 7           What was the antigay slogan?                  7 people at the event --
 8      A. I don't know. I would have                      8       A. Yes.
 9 written it specifically if I knew it.                   9       Q. -- followed by what we've
10      Q. Do you remember what was on his                10 described as your first interaction with Mr.
11 signs or sign, I should say, singular?                 11 Atkins. Did he yell before you interacted with
12      A. Only that I see it today. It                   12 him the first time?
13 appeared to have some kind of Bible -- I don't         13       A. Yes. I wouldn't have approached
14 know if it was a specific verse.                       14 him if he had been standing there quietly.
15      Q. Okay. Do you remember him saying               15 Again, I'm not looking for extra work to do, and
16 anything antigay while he was there?                   16 I'm not looking for conflict. I would not have
17           MR. CONLEY: Objection to form.               17 approached him had he not.
18      You can answer.                                   18       Q. The third paragraph says: Less
19      A. Like, specifically I don't                     19 than a minute later he resumed yelling derogatory
20 remember him saying, like, I hate you, you gay         20 comments to the people at the event.
21 people. However, when, you know, you're                21       A. Yes.
22 condemning people for their belief, I would            22       Q. What was the derogatory comment?
23 consider that to be antigay.                           23       A. Well, that was the -- whatever he
24      Q. What did he say that made you                  24 yelled, something about he yelled yo God or
25 think he was condemning people for their belief?       25 something like that. I don't remember what he

                                                                                         31 (Pages 118 - 121)
                                    Veritext Legal Solutions Plaintiff's App. 083
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 85 of 116


                                             Page 122                                               Page 124
 1 said.                                             1 each other, but they chose not to take it any
 2       Q. Why did you think the comment "yo 2 further. Why push it to the point where this
 3 God is not" is derogatory?                        3 happens? That's what I don't understand.
 4       A. Well, I may have not heard him           4       Q. So if he had stood there and held
 5 correctly when he said it. It's easy to hear      5 his sign and not spoken up, he would not have
 6 now. There was no -- I had not turned my body 6 been arrested. Is that correct?
 7 cam footage on yet, so there was no footage to    7           MR. CONLEY: Objection to form.
 8 review. That may have just been the way that I 8          You can answer.
 9 interpreted it.                                   9       A. Partially. He could speak up.
10       Q. What did you think he said at the       10 Just don't speak up in language that's designed
11 time?                                            11 to get a negative reaction from the crowd that's
12       A. I don't even know. All I know           12 there which I thought I made clear to all of
13 that he was yelling something I know -- he's     13 them.
14 yelling something towards the people at the      14       Q. Okay. I'm going to turn you now
15 event, and he's -- I know he's not yelling yay   15 to Reading 8, and I'll represent to you this is
16 for any kind of support.                         16 the affidavit of probable cause from the criminal
17       Q. If he had been yelling in               17 complaint you filed. Let me know if you need a
18 support, would you have arrested him?            18 second to review it, but I'm just going to ask,
19       A. If he had been yelling in               19 you changed the language a little bit in the
20 support? Well, no. Then he's not disrupting the 20 second paragraph from your narrative to this
21 event.                                           21 affidavit. The second sentence: He was carrying
22       Q. There was a time where he was           22 a sign with a slogan written on it.
23 sitting on the sidewalk after you had put him in 23           Why did you revise the language
24 cuffs?                                           24 from an antigay slogan to just a slogan in the
25       A. Yes.                                    25 affidavit?
                                             Page 123                                               Page 125
 1       Q. And you walked him over next to         1       A. Well, two reasons. Number one, I
 2 the building, and you said something along the   2 don't like the cut-and-paste narrative into the
 3 lines of all you had to do was keep your mouth   3 affidavit which too often our officers do. The
 4 shut. Do you recall saying that?                 4 second reason is, I write this first, the RMS
 5       A. Yes. I do.                              5 report or -- I'm sorry. It used to be called
 6       Q. And is it accurate that if he had       6 RMS, but our internal report.
 7 not spoken, you would not have arrested him?     7       Q. When you say "this," I'm going to
 8       A. No. That's not accurate.                8 stop you. You're referring to Reading 3?
 9           MR. CONLEY: Objection to form.         9       A. Yes, sir. Yes. Reading 3. I'm
10       A. He's free to speak. The specific       10 sorry. I wrote this first, and at that I do the
11 instructions were don't disrupt this event, and 11 affidavit. Now, our computer system -- I'm
12 to me, this is a simple thing. It's a simple    12 sorry. Our computer system had changed from the
13 thing. Why do we have to take it to this level? 13 time that I was promoted to this event, and I was
14 Why does it have to get pushed this far?        14 not -- and like I said before, sergeants don't
15       Q. What do you mean pushed this far? 15 often do charges. I was not very proficient in
16       A. Why does this have to be taken to      16 this system, so I had to get -- which is another
17 the level of an arrest? Why? Why couldn't you 17 reason I was frustrated because I knew this was
18 just -- you stand there. You're holding a sign. 18 going to happen. I had to get a patrolman help
19 You're already -- people can see you're against 19 me do this.
20 what's going on. Your opinion and your concern 20            And by the time somebody was
21 is noted. I talked to him. Please stop. Don't   21 available -- it wasn't that long -- and walked me
22 do this. Don't disrupt this event.              22 through this system, by the time I got here, I
23           If he had just stood there, held      23 had more time to think about what went on, and I
24 his sign. The other guys were standing there    24 realized, you know what? I can't specifically
25 holding their sign. They were talking amongst 25 recall what was written on the sign. Therefore,
                                                                                    32 (Pages 122 - 125)
                                   Veritext Legal Solutions Plaintiff's App. 084
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 86 of 116


                                              Page 126                                                Page 128
 1 this report, which I may have to testify to some       1 What was the reason you substantiated a
 2 day in court, I'm not going to write antigay           2 misdemeanor here instead of a summary?
 3 slogan because I can't specifically remember what      3      A. The last three words here,
 4 the slogan was. That's why I took that out.            4 request to desist. That's what I based it on.
 5       Q. The last line says: I                         5      Q. It was based on the initial
 6 respectfully request Atkins be arraigned for           6 interaction you had with Mr. Atkins where you
 7 disorderly conduct (M3).                               7 asked him not to yell?
 8       A. Yes.                                          8      A. Yes. I would not just go off and
 9       Q. The decision to charge a                      9 arrest somebody. Certainly -- well, in this
10 misdemeanor was your decision, correct?               10 circumstance, it certainly didn't warrant it from
11       A. Yes.                                         11 my point of view, so the request to desist is
12       Q. Did you run that by anybody else?            12 what I used to make that determination.
13       A. I did. And that's normally --                13      Q. You didn't have a device on you
14 for a low-level offense like this, that's not         14 on June 3rd to measure volume, did you?
15 normally something that we would do. We normally      15      A. No.
16 wouldn't check with somebody.                         16      Q. You're not measuring decibels or
17           When I was -- when we were                  17 anything else?
18 escorting Mr. Atkins after he was handcuffed to       18      A. No. I don't know that we even
19 Cedar Street or probably more after when we were      19 have those.
20 actually on Cedar Street, I'm sorry, waiting for      20      Q. There's no policy in Reading
21 the wagon, I started to think about the charges.      21 about how loud someone can be on the street
22 Is this going to be a summary or a misdemeanor?       22 during daylight hours, is there?
23 I had been -- I've been doing this for a long         23      A. No. That would be kind of hard
24 time, and I've charged disorderly conduct a lot.      24 to monitor.
25 I know that this is borderline at best. I get         25      Q. And there's no policy at
                                              Page 127                                                Page 129
 1 that. And this very easily could have been a           1 permitted events about the distance people have
 2 summary. And my inclination was this is going to       2 to be for a counterprotest from the permitted
 3 be a summary offense.                                  3 event?
 4            It did not change what happened             4        A. That -- no. There's not. That
 5 to him that day very much. He didn't have an ID        5 would be also very difficult, and this is not
 6 on him. He was still going to go -- I didn't           6 something -- this is the first time in my career
 7 want to cite and release him, release him right        7 that I've ever dealt with a
 8 back into the crowd. He didn't have an ID. He          8 protester/counterprotester situation, so it's not
 9 was still going to go to central processing which      9 something that comes up.
10 is where he would have been released from.            10        Q. Have you ever received any
11            I went inside, and I talked to             11 training on dealing with counterprotestors or
12 the shift commander that day. The shift               12 protesters?
13 commander is normally a lieutenant. However, if       13        A. Yes.
14 a lieutenant is off, a sergeant fills in that         14        Q. When was that?
15 role. In this case, it was Sergeant Mangus. I         15        A. I don't remember the exact year.
16 said, what do you think about this? This is what      16 I believe it was the spring of '19. Now, that
17 I think I want to do. He said, I think you            17 training took place at Alvernia, and it was a
18 should charge the misdemeanor, and it can get         18 little bit different in that we were dealing
19 pled down to a summary. I'm like -- I said,           19 with -- we have a large amount of police
20 well, okay. I'll charge the misdemeanor, and          20 officers, and we're dealing with protesters.
21 that's how that was decided.                          21             It wasn't this small police
22       Q. What were the factors -- let me              22 officers which we have which only three at an
23 back up. I'm going to hand you Section 5503. We       23 event and then a protester shows up. So it
24 talked earlier about the idea of repeated conduct     24 wasn't really geared towards what the pride thing
25 being a reason to charge disorderly conduct.          25 was. It was geared towards, like, we have a
                                                                                       33 (Pages 126 - 129)
                                   Veritext Legal Solutions Plaintiff's App. 085
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 87 of 116


                                               Page 130                                                   Page 132
 1 large police. We have 30 police officers, and           1       A. No. No.
 2 we're going to take care of this in riot gear.          2            MR. READY: Thank you. That's
 3       Q. We had reference yesterday from                3       all the questions I have.
 4 Chief Tornielli to an email that was sent out in        4            MR. CONLEY: I'm going to have
 5 2020 or 2021 to the department on how to deal           5       some cross. I guess redirect.
 6 with protests. Do you recall receiving that             6            (A short break was taken.)
 7 email?                                                  7                 ***
 8       A. I don't remember what he said                  8               EXAMINATION
 9 about it initially. The one -- the one I'm              9 BY MR. CONLEY:
10 thinking of is the one after this event where he       10       Q. Sergeant McClure, I just want to
11 said, hey, roll your body cameras the whole time.      11 go back and clarify some of the things that you
12       Q. Okay. And you don't remember any              12 testified about today. Do you recall testifying
13 other emails from the chief or from the Reading        13 about your training at the academy regarding the
14 Police Department about how to deal with               14 First Amendment?
15 protests?                                              15       A. Yes.
16       A. I don't recall one, although it               16       Q. And I believe that you testified
17 seems likely that one would have come out in the       17 that you couldn't recall specifically your
18 wake of -- in the aftermath of the George Floyd        18 training. Is that correct?
19 incident because we did have some issues after         19       A. Yes.
20 that, but, again, it was completely different          20       Q. But I want to go a little bit
21 than this in that there was no counterprotestors.      21 beyond that. You understand that the First
22       Q. Okay. Just give me one sec.                   22 Amendment provides that you as a police officer
23 Chief Tornielli yesterday said that he wasn't          23 can't discriminate based upon viewpoint, correct?
24 sure if anything had occurred before the videos        24       A. Yes.
25 that we watched today between you and Mr. Atkins.      25       Q. But you do have discretion to
                                               Page 131                                                   Page 133
 1 Is there anything that was not caught on video          1 place reasonable time, place and manner
 2 between you and Mr. Atkins that you think bears         2 restrictions on certain types of speech. Is that
 3 on your decision to arrest or bears on the              3 right?
 4 situation?                                              4       A. Yes.
 5       A. Well, the only thing or the thing              5       Q. Is that within your understanding
 6 that stands out to me is the vantage point of           6 and training?
 7 that YouTube video, the person who was filming          7       A. Yes, sir.
 8 it, the volume level doesn't -- the microphone          8       Q. Okay. Applying that forward,
 9 doesn't really pick up our initial interaction,         9 when you gave some direction to Damon Atkins
10 what he said that led me to walk over there, and,      10 about not disrupting the event, was that within a
11 again, I would not have walked over there without      11 reasonable time, place and manner restriction?
12 a reason. I'm not that -- I'm not ambitious, I         12           MR. READY: Object to form.
13 guess. I don't know.                                   13       Q. You can answer.
14       Q. And you don't recall what he                  14       A. Yes.
15 said?                                                  15       Q. Okay. And then he didn't follow
16       A. No. I don't recall specifically.              16 your directive. Is that correct?
17       Q. Is there anything else that was               17       A. Yes.
18 not picked up on video or audio that you think         18       Q. Was that part of the reason that
19 bears on this situation?                               19 you arrested him for disorderly conduct?
20       A. That's all I can think of right               20       A. Yes.
21 now.                                                   21       Q. The content of his speech was
22       Q. Okay. Is there anything that's                22 irrelevant to the reason that you arrested him
23 not listed in your affidavit of probable cause         23 for disorderly conduct. Is that correct?
24 that you believe gave you probable cause for this      24       A. Well, I felt the content of his
25 arrest?                                                25 speech was designed to antagonize the crowd,
                                                                                         34 (Pages 130 - 133)
                                    Veritext Legal Solutions Plaintiff's App. 086
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 88 of 116


                                               Page 134                                                 Page 136
 1 which is why he was arrested.                           1       have been an error in my office. Reading
 2       Q. Okay. I should clarify. It                     2       16 not confidential is the one I'm
 3 wasn't because of his viewpoint?                        3       referring to. It's not the photograph of
 4       A. No.                                            4       his license.
 5       Q. I think there was some testimony               5            MR. READY: I got it now. Thank
 6 about whether you had reviewed all the policies         6       you.
 7 and procedures that were shown to you today. Do         7 BY MR. CONLEY:
 8 you recall that?                                        8       Q. You testified about that you
 9       A. Yes.                                           9 should have had your body camera on earlier
10       Q. And I think at one point you said             10 before your first interaction with who we now
11 that you couldn't recall reviewing them or all of      11 understand at least to be Matthew Wear or the man
12 them. I just want to clarify. You reviewed them        12 taking the YouTube video. You mentioned that in
13 upon receipt. Is that right?                           13 hindsight you wanted to have it on earlier?
14       A. Yes. New updated general orders               14       A. Yes.
15 which are given out a single general order at a        15       Q. Can you explain that to me why
16 time maybe a couple times a year are reviewed          16 you would want to have it on earlier?
17 upon receipt. The general orders are given to us       17       A. Well, to capture -- like I said,
18 at the time I started in a very large binder, and      18 I turned it on within policy at the time.
19 you're given it to an orientation, say read this.      19 Looking back on the event and all that transpired
20 Like, the ones that we -- that apply to us on a        20 afterwards, I wish I would have had it on from
21 day-to-day basis were gone over with us. The           21 the entire time from the very first interaction
22 other instructions were to read the rest.              22 just to give a better idea to everyone involved
23       Q. Okay. So when you said that you               23 that, hey, these warnings had taken place to
24 don't recall reviewing them, you were talking          24 other people, and they complied. Just to give a
25 about voluntarily going back and re-reviewing          25 more accurate, complete picture.
                                               Page 135                                                 Page 137
 1 them. Is that about right?                              1      Q. Okay.
 2       A. Yes.                                           2           MR. CONLEY: I apologize. I just
 3       Q. Okay. Just for purposes of the                 3      need to take a quick break.
 4 record, I believe that you were referred to             4           (A short break was taken.)
 5 Reading 18, if you want to turn to that.                5 BY MR. CONLEY:
 6       A. Yes.                                           6      Q. There was some testimony about
 7       Q. And I believe counsel questioned               7 you saying, quote, this is not a thing. Do you
 8 you about this, referencing at least the permit.        8 recall that?
 9 Do you recall that?                                     9      A. Yes.
10       A. Yes.                                          10      Q. Is that something that you use to
11       Q. Is that actually the permit or is             11 diffuse a situation?
12 that the permit application?                           12      A. Yes. I use that phrase a lot.
13       A. Eighteen is not the permit                    13      Q. And as a police officer, you
14 itself. No.                                            14 know, is part of your job to diffuse potential
15       Q. Okay. If you turn to 16, Reading              15 situations before they arise?
16 16, is that the permit itself?                         16      A. Sure. Our department, and I'm
17       A. Yes. That's the permit.                       17 sure most police departments or any law
18       Q. Okay.                                         18 enforcement agency, is going to encourage people
19            MR. READY: I'm sorry. Can you               19 to de-escalate situations.
20       say the number you said?                         20      Q. And is that something that you do
21            MR. CONLEY: Reading 16.                     21 based on your training and years of experience?
22            MR. READY: Reading 16.                      22      A. Yes.
23            MR. CONLEY: Yes. There's two                23      Q. Okay. There was some testimony
24       Reading sixteens. There's Reading 16-A           24 about whether you asked the people involved in
25       confidential. I apologize. That must             25 the pride celebration specifically not to harass

                                                                                        35 (Pages 134 - 137)
                                    Veritext Legal Solutions Plaintiff's App. 087
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 89 of 116


                                               Page 138                                                Page 140
 1 others or to cross the street. Was there any      1       A. That is true.
 2 reason for you to inform the people at the pride 2        Q. Sometimes I have a hard day, and
 3 event not to harass others or cross the street?   3 I get frustrated, but nobody is viewing body
 4       A. No. No.                                  4 camera footage of me having a frustrating day.
 5       Q. I believe there was also some            5 That's something that you have to deal with. Is
 6 testimony regarding -- or at least counsel asked 6 that right?
 7 you about the content of what Mr. Atkins was      7       A. Yes.
 8 saying in the context of whether you would have 8         Q. Okay. And just because you might
 9 arrested him, and we went over that earlier. I    9 be frustrated, that doesn't necessarily mean that
10 just wanted to touch base with you on one thing. 10 you have violated somebody's rights. Is that
11 If he had been -- I'm sorry. Let me strike that. 11 correct?
12            What I'm referring to is the          12            MR. READY: Object to form.
13 content of the pride event.                      13       Q. You can answer. Sorry.
14       A. Yes.                                    14       A. That's correct. That's not going
15       Q. And you were asked about                15 to influence my decision-making. Some of the
16 providing services to that pride event. If the   16 things that I said, specifically shut up isn't
17 event was a, quote, I hate police, end quote,    17 something I -- would not normally say, no, but it
18 event, would the city, if it had permitted it,   18 does not affect my decision-making or deciding to
19 would you have provided the same services?       19 make an arrest. That's got to maintain -- that's
20       A. Well, we would have probably            20 got to stay clear at all times.
21 provided more services because we would be       21       Q. And specifically regarding saying
22 expecting problems. Our number one thing in 22 shut up, I believe that was directed towards Mr.
23 traffic that the traffic unit is in charge of    23 Wear. Is that correct?
24 with these events is traffic itself. The         24       A. Yes.
25 security aspect -- I hate to say it's secondary  25       Q. And was he speaking over you at
                                               Page 139                                                Page 141
 1 because it's always -- that's always present in         1 that time?
 2 what we do, but we're tasked with these events          2       A. Yes.
 3 for the traffic reason.                                 3       Q. And Mr. Atkins, you watched some
 4       Q. Okay. My question is more about                4 of the video, but I'm asking from your
 5 the purpose and content of a permitted event.           5 perspective, when you approached him and you were
 6 That doesn't change whether the city allows the         6 discussing with him, was he speaking over you?
 7 event. Is that right?                                   7       A. Yes. Yeah. And that's common in
 8       A. It may. If there was a group                   8 these situations where people don't want
 9 that was -- had a history of violence, like, say,       9 to -- people don't want to listen to what the
10 for instance, a terrorist organization, like,          10 police say, and they just keep talking, and that
11 wanted to come into town, no. They would not be        11 can be -- that can be frustrating.
12 allowed a permit.                                      12       Q. You were asked some questions
13       Q. Okay. But based upon a                        13 about whether you spoke to any people at the
14 viewpoint, the city does not change its practice?      14 pride event or anybody else about whether they
15       A. No.                                           15 were feeling harassed by David Atkins. Do you
16       Q. Okay. You were asked some                     16 recall that testimony?
17 questions about becoming frustrated. Do you            17       A. Yes.
18 recall that testimony?                                 18       Q. Do you as a police officer
19       A. Yes.                                          19 require permission or approval from third parties
20       Q. Is it fair to say that your                   20 such as citizens before you make an arrest?
21 orders had not been followed that day?                 21       A. In the case of disorderly
22       A. Only regard with -- to Mr.                    22 conduct, no. When we cite disorderly conduct,
23 Atkins.                                                23 there has to be a victim. We use City of Reading
24       Q. Sometimes police officers have                24 as a victim. As far as interviewing other people
25 hard days. Is that fair?                               25 involved, disorderly conduct is such a low-level

                                                                                       36 (Pages 138 - 141)
                                    Veritext Legal Solutions Plaintiff's App. 088
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 90 of 116


                                              Page 142                                                  Page 144
 1 offense that it would not be -- I've never even        1       Q. And you were asked a lot of
 2 seen it done where people would do any                 2 questions about the video taken by Matthew Wear.
 3 interviewing of other people present.                  3 Were you ever standing directly where Matthew
 4 Interviewing witnesses is something you would do       4 Wear was standing while he was taking those
 5 for either a major arrest or perhaps something         5 videos?
 6 like a car crash, but not for low-level offenses       6       A. No. I wasn't.
 7 like this.                                             7       Q. So those videos don't reflect
 8       Q. Suffice it to say, you had                    8 your perspective of the scene, do they?
 9 probable cause to arrest without interviewing          9       A. No.
10 witnesses?                                            10       Q. Okay. Do you know whether what
11       A. Yes.                                         11 Matthew Wear heard and what his camera or
12       Q. Okay. You were asked some                    12 recording device heard was the same as what you
13 questions about the volume of the speech in           13 heard?
14 relation to some of those videos that you had         14       A. No.
15 seen today. Do you have any information or            15       Q. Would you have any way of knowing
16 knowledge about the quality -- let me break that      16 that?
17 up.                                                   17       A. No. I wouldn't.
18            Let's start with the cell phone            18       Q. I want to talk briefly again
19 video or I believe it was cell phone video, the       19 about the perspective of a body camera. The
20 video taken by Mr. Wear. Do you have any              20 camera lens of a body camera or the body camera
21 knowledge or information about the quality of         21 that you were wearing, is it a fish-eye camera?
22 that recording device?                                22       A. I'm not sure what that means.
23       A. I do not.                                    23       Q. Does it capture a broader -- it
24       Q. Do you have any knowledge or                 24 changes the perspective so it captures the
25 information about whether that recording device       25 broader area?
                                              Page 143                                                  Page 145
 1 accurately picks up volume?                            1       A. No. In fact, they're designed to
 2      A. I do not.                                      2 capture a narrower --
 3      Q. Do you have any information about              3            (Brief interruption.)
 4 whether that recording device was tampered with        4            (A short break was taken.)
 5 in any way before the video was uploaded?              5            MR. CONLEY: Would you read back
 6      A. I do not.                                      6       the question, and if you want to start
 7      Q. Do you have any knowledge or                   7       over with your answer.
 8 information about whether the YouTube video that       8            (The court reporter read the last
 9 you saw, whether the quality of the volume and         9       question and answer from the record as
10 recording was affected by the fact that it was        10       requested.)
11 uploaded to the internet?                             11            THE WITNESS: Right. The body
12      A. I do not.                                     12       cameras as we were told by the company
13      Q. Okay. Do you have any -- let me               13       that makes them when we first got them,
14 ask you this: From your perspective, absent           14       which I think was '19 or '20, that the
15 viewing a video of the event that is not from         15       perspective is narrower than your field
16 your perspective, was Mr. Atkins yelling? After       16       of vision.
17 you had first spoken to him, was he yelling?          17 BY MR. CONLEY:
18      A. Yes.                                          18       Q. Okay. Does it affect distance,
19      Q. Okay. And regardless of what                  19 the perception of distance?
20 somebody else might interpret a third-party           20       A. Yes. They do affect perception
21 video, from your perspective, the officer on the      21 of distance and things, buildings. You know, as
22 scene, he was being disorderly?                       22 we can see on there, City Hall appears distorted.
23      A. Yes.                                          23 It appears a little bent at the top, and also
24      Q. And he was ignoring your orders?              24 just because they're not at eye level. There's
25      A. Yes.                                          25 no way for us to wear them that way, and most of

                                                                                        37 (Pages 142 - 145)
                                   Veritext Legal Solutions Plaintiff's App. 089
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 91 of 116


                                             Page 146                                                  Page 148
 1 us wear them pretty much in the center of our         1 side that they were on. I was not there. But if
 2 chest.                                                2 they're standing, like, in front of City Hall,
 3      Q. And you said that City Hall                   3 and they're talking, you know, they're saying
 4 appeared bent at the top in the body camera           4 what they say, but they're saying it, like, in
 5 footage. I assume it goes without saying, but         5 front of the doors and not allowing people to go
 6 I'm going to ask: Is City Hall bent at the top        6 in the doors or disrupting, you know, or if
 7 in reality?                                           7 they're in the street disrupting traffic or just
 8      A. Not to my knowledge.                          8 disrupting the normal flow of events at City Hall
 9      Q. Okay. Did you see on the YouTube              9 or if they went to City Hall inside itself and
10 video that you viewed taken by Matthew Wear how      10 started to do that, there would certainly be
11 long that video was?                                 11 restrictions on that, so yes. There can be
12      A. It was five minutes, 25 seconds.             12 certain restrictions.
13      Q. And would you agree with me that             13       Q. You were asked about -- you were
14 Attorney Ready stopped it at four minutes and 57     14 asked about whether frustration affected your
15 seconds?                                             15 decisions, and you said it did when you said shut
16      A. Yes. I remember it was four --               16 up. Were there any other times throughout the
17 it was almost five minutes.                          17 course of this day that frustration affected your
18      Q. So you were not shown the entire             18 decisions and your interactions with the
19 video?                                               19 counterprotestors?
20      A. That's correct.                              20            MR. CONLEY: Objection to form.
21      Q. Okay. Have you seen any other                21       Go ahead.
22 videos, YouTube videos from Matthew Wear and         22       A. My decision-making, no. Some of
23 Barely Preacher Man other than the one you saw       23 the things -- I want to say the things I said are
24 today?                                               24 fairly tame compared to my co-workers, but some
25      A. No.                                          25 of the things I said were not as well thought out
                                             Page 147                                                  Page 149
 1             MR. CONLEY: All right. That's             1 as -- I'm usually a little more deliberate when I
 2       all I have. Thank you.                          2 speak out in the street. And just all the things
 3             MR. READY: A couple follow-up             3 that were going on that day were clamant to a
 4       questions.                                      4 level of frustration, but, nevertheless, you
 5                 ***                                   5 cannot allow frustration to cloud your judgment
 6              RE-EXAMINATION                           6 in decision-making processes.
 7 BY MR. READY:                                         7       Q. Did any organizers of the event
 8       Q. What's your understanding of                 8 or attendees of the event tell you during or
 9 time, place and manner restrictions?                  9 after the event that the event was disrupted by
10       A. Well, there's                               10 any of the counterprotestors?
11 certainly -- certain things you could say could      11       A. No. No. I did not get any
12 be affected by, for instance, the time of day.       12 feedback that day.
13 Could you stand on the street corner and play        13       Q. Okay. How about after that day?
14 music? We have a fellow at 6th and Penn who does     14       A. Many, many, many months after,
15 that all day long and dances to it.                  15 somebody involved in this group had said we thank
16             Now, if this were happening at           16 you for taking the action that you did.
17 night when people are making a complaint about       17       Q. Who was that?
18 the noise, certainly that's going to -- that's       18       A. That was Enrique Castro.
19 going to affect that. In the daytime we allow it     19       Q. And did he tell you that the
20 to go on. At night after hours, people are going     20 events had not started on time or had not
21 to have more complaints, so there will be            21 proceeded on schedule or had not been able to do
22 restrictions on noise.                               22 something because of any of the
23             Distance, again, for instance,           23 counterprotestors?
24 if -- people came to City Hall last week to          24       A. No. No. It was very brief. It
25 protest about Israel, and I don't recall which       25 was him saying that one sentence.

                                                                                       38 (Pages 146 - 149)
                                   Veritext Legal Solutions Plaintiff's App. 090
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 92 of 116


                                               Page 150                                                            Page 152
 1       Q. Did he see you somewhere?                      1      A. I can't think of anything right
 2       A. Yes. We had a meeting for his                  2 now.
 3 plans for this summer's pride event.                    3      Q. Okay. All right.
 4       Q. You were asked about the yelling               4           MR. READY: That's all I have.
 5 after you had your first confrontation with Mr.         5           MR. CONLEY: I've got nothing
 6 Atkins.                                                 6      else. Thank you. We'll waive read and
 7           (Brief interruption.)                         7      sign.
 8       Q. You were asked about what                      8           (Deposition was concluded at
 9 happened after your first interaction with Mr.          9      12:18 p.m.)
10 Atkins that day?                                       10
11       A. Yes.                                          11
12       Q. And there was some discussion                 12
13 with your counsel just now about the yelling. I        13
14 just want to confirm, other than the phrase "yo        14
15 God is not," did you hear Mr. Atkins say anything      15
16 else after your initial warning to him?                16
17       A. Yes. The stuff he said to me as               17
18 I was walking away, which I thought he's got a         18
19 problem with me. He's talking to me. That's            19
20 something we deal with every day, so we can't let      20
21 that affect...                                         21
22       Q. Other than that, you didn't hear              22
23 him say anything else toward the protesters?           23
24       A. No.                                           24
25       Q. Okay. I'm going to show you the               25
                                               Page 151                                                            Page 153
                                                           1            CERTIFICATE
 1 video, the YouTube video we have been watching.         2
 2 I'm going to start it at 4:57.                              COMMONWEALTH OF PENNSYLVANIA )
                                                           3               )SS:
 3            (Video being played.)                            COUNTY OF MONTGOMERY    )
 4       Q. Okay. You've seen the whole                    4
                                                           5
 5 video at this point, correct?                                         I, Lauren Buchak, Notary Public,
 6       A. Yes.                                           6 Registered Merit Reporter and Certified Realtime
                                                             Reporter, do hereby certify that prior to the
 7       Q. You've seen the whole video at                 7 commencement of the examination, BRADLEY T.
 8 this point. Is there anything in this video that          McCLURE was duly sworn or affirmed by me to
                                                           8 testify to the truth, the whole truth and nothing
 9 you believe is not an accurate reflection of what         but the truth.
10 happened that day?                                      9
                                                                         I DO FURTHER CERTIFY that the
11            MR. CONLEY: Objection to form.              10 foregoing is a verbatim transcript of the
12       A. Other than what I said before, it                testimony as taken stenographically by me at the
                                                          11 time, place and on the date hereinbefore set
13 doesn't pick up what he said, Mr. Atkins is who           forth, to the best of my ability.
14 I'm referring to, what the plaintiff said that         12
                                                                         I DO FURTHER CERTIFY that I am
15 led me to talk to him in the first place.              13 neither a relative nor employee nor attorney nor
16       Q. Okay. Anything else that you                     counsel of any of the parties to this action, and
                                                          14 that I am neither a relative nor employee of such
17 think is not accurately reflected in that video?          attorney or counsel, and that I am not
18       A. No.                                           15 financially interested in the action.
                                                          16
19       Q. Is there anything that we have                17
20 not discussed today that you think sheds               18
                                                                <%758,Signature%>
21 additional light on why you arrested Mr. Atkins        19       LAUREN A. BUCHAK, RMR, CRR
22 or justifies your actions that we have not asked       20       Notary ID Number: 1115041
                                                          21       Notary Expiration: February 20, 2028
23 you about?                                             22       Dated: April 8, 2024
24            MR. CONLEY: Objection to form,              23
                                                          24
25       but you can answer.                              25

                                                                                                      39 (Pages 150 - 153)
                                    Veritext Legal Solutions Plaintiff's App. 091
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 93 of 116
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 94 of 116
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 95 of 116
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 96 of 116
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 97 of 116
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 98 of 116




     MP4 Video File, Bates No. Reading 0055
McClure Body Cam (approx. 64.4 MB) submitted
to Judge Gallagher’s Chambers via Thumb Drive
               and DropBox Link




                                                 Plaintiff's App. 097
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 99 of 116




     MP4 Video File, Bates No. Reading 0056
McClure Body Cam (approx. 127 MB) submitted
to Judge Gallagher’s Chambers via Thumb Drive
               and DropBox Link




                                                 Plaintiff's App. 098
  Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 100 of 116




AVI Video File, Bates No. Reading 0059 Building
 Footage (approx. 1.47 GB) submitted to Judge
 Gallagher’s Chambers via Thumb Drive and
                 DropBox Link




                                                  Plaintiff's App. 099
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 101 of 116




                                                  Plaintiff's App. 100
                           R E A DI N G 0 0 0 1
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 102 of 116




                                                  Plaintiff's App. 101
                           R E A DI N G 0 0 0 2
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 103 of 116




                                                  Plaintiff's App. 102
                           R E A DI N G 0 0 0 3
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 104 of 116




                                                  Plaintiff's App. 103
                           R E A DI N G 0 0 0 4
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 105 of 116




                                                  Plaintiff's App. 104
                           R E A DI N G 0 0 0 5
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 106 of 116




                                                  Plaintiff's App. 105
                           R E A DI N G 0 0 0 6
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 107 of 116




                                                  Plaintiff's App. 106
                           R E A DI N G 0 0 0 7
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 108 of 116




                                                  Plaintiff's App. 107
                           R E A DI N G 0 0 0 8
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 109 of 116




                                                  Plaintiff's App. 108
                           R E A DI N G 0 0 0 9
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 110 of 116




                                                  Plaintiff's App. 109
                           R E A DI N G 0 0 1 0
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 111 of 116




                                                  Plaintiff's App. 110
                           R E A DI N G 0 0 1 1
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 112 of 116




                                                  Plaintiff's App. 111
                           R E A DI N G 0 0 1 2
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 113 of 116




                                                  Plaintiff's App. 112
                           R E A DI N G 0 0 1 3
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 114 of 116




                                                  Plaintiff's App. 113
                           R E A DI N G 0 0 1 4
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 115 of 116




                                                  Plaintiff's App. 114
                           R E A DI N G 0 0 1 5
Case 5:23-cv-02732-JMG Document 25-4 Filed 05/17/24 Page 116 of 116
